             REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 1 of 155




            EXHIBIT 3
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 2 of 155


                           Toxicology Consultants & Assessment Specialists, LLC
                                                  6450 Pine Avenue, Sanibel, FL 33957
       TCAS                                     29 Fennell Street, Skaneateles, NY 13152
                                    (239) 472-2436 [FL] (315) 685-2345 [NY] (800) 308-0080 U.S./CA
                                E-mail: drsawyer@experttoxicologist.com & Website: experttoxicologist.com
           ____________________________________________________________________________________
           Toxic Exposures · Environmental Testing · Risk Assessment · Forensic Toxicology · Causation Evaluation




December 12, 2019


David J. Diamond, Esq.
Goldberg & Osborne, LLP
698 East Wetmore Road
Suite 200
Tucson, AZ 85705


Re: Jamie Alvarez Calderon v. Monsanto Co.
Dear Attorney Diamond:
Per your request with regard to this matter, I have reviewed the complete list of pertinent
documents as compiled in Appendix A. Based upon the information provided and the
application of generally-accepted toxicological methodology and referenced sources as
cited herein, I have stated my opinions in this matter to reasonable toxicological certainty.
                                      REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
         Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 3 of 155

Alvarez vs. Monsanto
December 12, 2019
Page 2

Contents
A. Plaintiff Background Summary ................................................................................................................ 4
     NHL Diagnosis and Pathology.............................................................................................................. 4
     Family Medical History ......................................................................................................................... 5
     Employment History ............................................................................................................................. 5
     History of Tobacco, Alcohol and Drug Use .......................................................................................... 5
   Exposure Factors...................................................................................................................................... 6
     Type of Roundup® Product Used ........................................................................................................ 7
     Additional Products Evaluated ............................................................................................................. 7
     Timeframe of Exposures and Exposure-Day Calculations................................................................. 13
     NHL Latency Interval .......................................................................................................................... 14
   Glyphosate Human NHL Studies............................................................................................................ 14
     Summary of Epidemiological Studies ................................................................................................. 19
     The use of the Exposure Days Metric in the Glyphosate Epidemiological Studies............................ 20
   Personal Protective Equipment (PPE) and Measured Dermal Exposure Levels ................................... 20
     Penetration of Glyphosate through Clothing ...................................................................................... 20
     Lack of Personal Protective Equipment (PPE)................................................................................... 21
     Dermal Exposure of Glyphosate Applicators...................................................................................... 22
     Example of Roundup Exposure of 1,4-dioxane (no gloves, short sleeves) ....................................... 24
     Omission of PPE Labeling Recommendations by Monsanto ............................................................. 26
     Key Points Pertaining to Exposed Body Parts ................................................................................... 28
B. Glyphosate Exposure & Toxicity............................................................................................................ 29
   Monsanto’s Glyphosate Biomonitoring and Dose Measurement Reliability ........................................... 29
   Glyphosate (Roundup) History and Use................................................................................................. 31
     Contaminants within Roundup (Surfactants, Adjuvants and Co-formulants) ..................................... 33
   Carcinogenic Substances in Roundup ................................................................................................... 36
     Cancer or Tumor Promotion ............................................................................................................... 38
   Roundup and Glyphosate Genotoxicity .................................................................................................. 42
     Genotoxic Agents, Additives and Inadequately Studied Chemicals .................................................. 42
     Studies Demonstrating Genotoxicity and Mutagenic Effects of Glyphosate ...................................... 43
     Prasad Study: Chromosomal Aberrations and Micronuclei in Bone Marrow Cells ............................ 50
     Genotoxicity of Roundup, Glyphosate and POEA/Tallowamine (POEA) in Fish: .............................. 52
     Recent Genotoxic Study of Pesticides (2019).................................................................................... 54
     Modes of Action and Safety Considerations ...................................................................................... 55
   Glyphosate (Roundup) Formulations: Chemical and Physical Information............................................ 56
   Toxicological Considerations of Exposure and Dose ............................................................................. 61
     Systemic Dose.................................................................................................................................... 61
     Routes of Exposure ............................................................................................................................ 62
     Ingestion ............................................................................................................................................. 62
     Inhalation ............................................................................................................................................ 62
     Dermal Absorption.............................................................................................................................. 63
        Mechanisms of Absorption............................................................................................................. 63
        The Dermal Barrier......................................................................................................................... 63
        Percutaneous Absorption of Glyphosate ....................................................................................... 66
        Percutaneous Absorption Models .................................................................................................. 67
        Dermal Absorption In Vivo Measurement Methods ....................................................................... 68
        Dermal Absorption In Vitro Measurement Methods ....................................................................... 68
        Other Measurement Models and Methods..................................................................................... 69
     Dosing Techniques and Measurement Considerations ..................................................................... 69
                                     REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
         Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 4 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 3

       In Vitro Dermal Absorption of Herbicides through Rat versus Human Skin .................................. 71
       “Triple Pack” Methodology ............................................................................................................. 71
    Dermal Absorption Correspondence Between Monsanto and DTL Laboratory ................................. 73
    DTL Laboratory Human Epidermis Preparation Methods .................................................................. 73
    Dermal Absorption and Pharmacokinetic Studies of Glyphosate....................................................... 75
       Models Used to Measure Glyphosate Dermal Absorption ............................................................. 75
       Maibach Study (1983) .................................................................................................................... 75
       Wester, et al., Study (1991) ........................................................................................................... 78
       Concern of Cross-Contamination in the Wester, et al., Study (1991)............................................ 81
    Review of Monsanto Studies .............................................................................................................. 83
       Monsanto in Vitro Absorption Study of Glyphosate by DTL (2010) - (MON 79545) 450 g/L
       Glyphosate SL Formulation (MON 79545)..................................................................................... 83
          Tape stripping ............................................................................................................................ 85
       Monsanto in Vitro Absorption Study of Glyphosate by DTL (2010) - (MON 52276) ...................... 87
       Monsanto in Vitro Absorption Study of Glyphosate by DTL (2010) - (MON 79351) ...................... 87
       Monsanto in Vitro Absorption Study of Glyphosate by DTL (2015) - (MON 76829) 72 g/L
       Glyphosate Gel Formulation .......................................................................................................... 88
       Monsanto in Vitro Absorption Study of Glyphosate by DTL (2015) - (MON 76258) 7.2g/L
       Glyphosate Gel Formulation .......................................................................................................... 89
       Monsanto in Vitro Absorption Study of Glyphosate by DTL (2016) - (MON 76952) 500 g/L
       Glyphosate SL Formulation ........................................................................................................... 91
       Monsanto in Vitro Absorption Study of Glyphosate by DTL (2015) - (MON 76879) 360 g/L
       Glyphosate SL Formulation ........................................................................................................... 93
    Effects of Temperature on Skin Used in Laboratory Experiments ..................................................... 95
    Studies, Reviews & Articles Impacted by Wester and Maibach Studies.......................................... 102
    Regulatory Guidance on Dermal Absorption and Recovery ............................................................ 106
    Monsanto Communications with Respect to Pharmacokinetics....................................................... 107
    Factors Intensifying Dermal Absorption of Glyphosate .................................................................... 111
       Co-Formulants ............................................................................................................................. 112
       Surfactants ................................................................................................................................... 114
       Indirect Disclosures of Surfactant and Co-Formulant Toxicity..................................................... 115
       Examples of Surfactant and Co-Formulant Toxicity .................................................................... 117
       Regulatory Considerations Based on Surfactant and Co-Formulant Toxicity ............................. 117
       Monsanto TNO Dermal Penetration Study with Co-Formulant Cocoamine ................................ 118
          Humectants.............................................................................................................................. 123
          Adjuvants ................................................................................................................................. 123
          Enhanced Absorption Due to Skin Damage ............................................................................ 124
          Glyphosate’s Role in Skin Damage ......................................................................................... 125
       Other Factors Increasing Dermal Absorption............................................................................... 125
C. Toxicological Assessment of Glyphosate Exposures.......................................................................... 128
  Non-Hodgkin’s Lymphoma Latency Estimates..................................................................................... 128
  Summary of Objective Toxicological Factors ....................................................................................... 130
    Evidential Considerations ................................................................................................................. 130
  Summary and Conclusions................................................................................................................... 133
Appendix A: Documents............................................................................................................................ 134
                           REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
        Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 5 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 4

A. Plaintiff Background Summary
Mr. Jaime Alvarez (Calderon) was born on                          , in Mexico City, Mexico,
and is presently 65 years of age. Mr. Alvarez immigrated to the U.S. in 1979. He has four
children and is divorced from his former wife but retains close familial ties.




Mr. Alvarez was diagnosed with Stage IV DLBCL




1   Deposition of Jaime Alvarez (Calderon), July 18, 2019, pg. 35
                       REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
          Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 6 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 5

Family Medical History



                                                   . Mr. Alvarez’s medical history indicates
no incidences of Epstein-Barr virus, diabetes, arthritis, lupus, hepatitis B or C, exposures
to radiation or other potential confounding diseases or conditions. Table 1 below provides
a detailed summary of other potential exposures.
                                                                                  He
has no pre-NHL history of HIV, immunosuppression, carcinogenic pharmaceuticals, long-
term steroid use or organ transplant immunosuppressive drugs. His recent medical
records note the following conditions:
      x




Employment History
When Mr. Alvarez first arrived in the U.S., he began working as a dishwasher in a
restaurant at the Silverado Country Club in Napa Valley, California. He retained this
position for 3-4 years after which he moved to Idaho and worked picking potatoes for a
season.2 Upon his return to California, he briefly worked as a dishwasher, then found new
employment working for Sutter Home Winery in St. Helena. After a brief period washing
wine bottles, Mr. Alvarez was assigned to perform landscaping and ground maintenance
duties in 1986.3 He has remained at this position throughout his career, eventually
receiving a promotion to Supervisor (although he still performed the same duties as
before).

History of Tobacco, Alcohol and Drug Use
Mr. Alvarez                                                     .4




2   Id., pg. 8.
3   Id., pg. 11.
4   Id., pgs. 33-34.
5
                           REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
        Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 7 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 6


                         He reported no use of illegal drugs or narcotics.

Exposure Factors
Note: When Mr. Alvarez arrived in the U.S., he could not speak or read English. He has
since learned English but his command of the language is only moderate and this is
evident in his deposition. Thus, a conservative approach has been applied in assessing
Mr. Alvarez’s testimony with respect to calculating exposure to avoid assumptions or
misinterpretations. Mr. Alvarez was also asked by counsel to review his Plaintiff Fact
Sheet (PFS) responses with respect to his job requirements, application intervals and
frequencies of exposure. Mr. Alvarez testified that the PFS is accurate to the best of his
ability.7

Mr. Alvarez sprayed Roundup® occupationally for a period of some 31 years, performing
essentially the same job each time (primarily spraying fence lines) at different locations
and under varying circumstances. He did not use Roundup® at home and all of his
exposures were incurred in the course of performing his occupational duties. In reviewing
his deposition testimony and PFS, it was possible to assemble an exposure history based
upon responses to questions concerning his recalled Roundup® application frequencies,
durations and intervals. Per his PFS,8 Mr. Alvarez stated, “I sprayed every 2 days for
approximately 4 hours a day during the spring months. Less frequently in the summer
and fall months. Considerably less during winter months. I sprayed Roundup® using a 3
gallon backpack sprayer on the winery’s properties: Ranch House 1986 -2010 (appx. 40
acre fence line to spray and appx. 4 acres to landscape and spray); Main Street (appx.
77 acres to spray fence line and 20 acres to landscape and spray); Napa Cellars (appx.
5 acres to spray fence line and 2 acres to landscape and spray); Hoffman Lane/Joel Gott
since appx. 2010 (appx. 10 acres fence line to spray and 3 acres to landscape and spray);
Green Island Road Warehouse property (appx. 2.5 acres to spray fence line, landscape
and spray)." Mr. Alvarez also testified in deposition, ”I work sometimes in the ranch for
four hours, and the same to work in the owner's house another four hours, and that's my
eight hours a day work.9 Thus, with allowance for travel from one job site to another with
reasonable time for lunch, it is conceivable that Mr. Alvarez’s “½ day” of mixing and


6   Deposition of Jaime Alvarez (Calderon), July 18, 2019, pg. 60.
7   Id., pgs. 39-40.
8   Jaime Alvarez (Calderon) Plaintiff Fact Sheet, pgs. 9-10.
9   Deposition of Jaime Alvarez (Calderon), July 18, 2019, pg. 18; lines 7-11.
                      REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
       Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 8 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 7

spraying was less than 4 hours, perhaps as low as 3 hours. Thus, 3-4 hours of mixing
and spraying represents a reasonable range that is more conservative than the actual
facts in the case.

It is also noteworthy that Mr. Alvarez stated in testimony that he regularly used the “mist”
setting on his sprayer nozzle,10 thus increasing the potential for increased dermal
exposure through airborne contact.

The following sections review the available exposure factors and relevant toxicological
considerations associated with Mr. Alvarez’s Roundup® application frequencies,
durations and intervals. These include the Roundup® product mixed and applied, the
manner in which it was applied, personal protective gear (PPG) worn during applications,
reported episodic “soaking” episodes and other concerns.

Type of Roundup® Product Used
Mr. Alvarez stated in deposition that he always purchased the Roundup® Concentrate
product which he then personally mixed with water prior to applications.11 He identified
the specific product used as “Roundup® Pro Max.” He purchased additional Roundup®
(via company credit card) approximately once per week during peak spraying intervals,
less frequently during slower application periods. He would purchase 2.5 gallons of
Roundup concentrate which would generally last about one week during peak spraying.
It was noted in deposition that his PFS stated he occasionally used “Roundup® Weed &
Grass Killer III” but Mr. Alvarez could not remember this with certainty.12

Additional Products Evaluated
Table 1 below examines the carcinogenic potential of other substances to which Mr.
Alvarez reported that he may have been exposed to.




10 Id., pg. 56.

11 Id., pg. 32.

12 Id., pg. 39.
             REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 9 of 155
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 10 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 9

                           Ingredients        Known to         Probable
        Name               (per MSDS)          Cause            Human              Comments
                                               NHL?           Carcinogen?
 Castrol GTX High        Distillates              No                No          MSDS reports no
 Mileage                 (petroleum),                                           carcinogens, but
                         hydrotreated                                           states that used
                         heavy paraffinic                                       engine oil may
                         50-75%                                                 contain hazardous
                         Distillates              No                No          components which
                         (petroleum),                                           have the potential
                         hydrotreated                                           to cause skin
                         heavy paraffinic                                       cancer.17
                         25-50%
                         Base oil- highly         No                No
                         refined <3%
 Stihl 2 Cycle Engine    Lubricant Base           No                No          MSDS reports no
 Oil                     Oil (Petroleum)                                        carcinogens.18
                         Highly Refined
                         Mineral Oils 85-
                         95%
                         2-Cycle Engine           No                No
                         Oil Additives
                         Mixture 5-15%
 Supertech Bug           Methanol 30%             No                No          MSDS reports no
 Remover                                                                        carcinogens.19
 Windshield Washer
 Fluid
 Peak                    Ethylene Glycol          No                No          MSDS reports no
 Antifreeze/Coolant      <50%                                                   carcinogens.20
                         Water <50%               No                No
                         Diethylene               No                No
                         Glycol <3%




17 “SDS: Castrol GTX High Mileage 5W-20.” BP Lubricants USA Inc., 2019.

  https://msdspds.castrol.com/ussds/amersdsf.nsf/Files/4A5FAE85BE9CF00D80258446005315F3/$File/
  2510235.pdf
18 “SDS: Stihl HP 2-Cycle Engine Oil.” Omni Specialty Packaging, LLC., 2015.

  https://www.stihlusa.com/WebContent/CMSFileLibrary/MSDS/STIHL2CYHP.pdf
19 “MSDS: -20 F Super Tech Windshield Washer Fluid.” Fox Packaging Company, 2005.

  https://www.onboces.org/cms/lib/NY02216875/Centricity/Shared/MSDS%20N_List/NAPA%20Windshiel
  d%20Wash%20Fluid%20-%2020F.pdf
20 “SDS: Peak ReadyUse 50/50 Prediluted Antifreeze & Coolant.” Old World Industries, LLC., 2012.

  https://peakauto.com/wp-content/uploads/2017/01/PEAK-ReadyUse-5050-Prediluted-Antifreeze-
  Coolant.pdf
              REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 11 of 155
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 12 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 11

                           Ingredients        Known to         Probable
        Name               (per MSDS)          Cause            Human               Comments
                                               NHL?           Carcinogen?
                         Titanium Oxide           No                No          has classified it as
                         10-20%                                                 Group 1:
                                                                                carcinogenic to
                         Quartz 5-10%             No               YES
                                                                                humans as it is a
                         2-Propanoic              No                No          known cause of
                         acid, 2-methyl-,                                       silicosis, a non-
                         methyl ester,                                          cancerous lung
                         polymer with                                           disease.
                         ethenylbenzene
                         and                                                    Titanium dioxide is
                         20ethylhexyl 2-                                        an IARC Group 2B:
                         propanoate 1-                                          possible human
                         5%                                                     carcinogen.23
                         Water 30-40%             No                No
                         Oxirane,                 No                No
                         methyl-,
                         polymer with
                         oxirane 1-5%
                         Styrene acrylic          No                No
                         copolymer 10-
                         20%
 Westpac Mineral         Calcium Sulfate          No                No          MSDS reports
 FastSet Setting         <85%                                                   crystalline silica is
 Compound                Calcium                  No                No          an IARC Group 1:
                         Carbonate                                              known human
                         <45%                                                   carcinogen.
                                                                                Titanium dioxide is
                         Perlite <8%              No                No          an IARC Group 2B
                         Attapulgite              No                No          possible human
                         Clay <5%                                               carcinogen.24
                                                                                However,
                                                                                crystalline silica is
                                                                                not listed in
                                                                                ingredients




23 “MSDS: Glidden Ultra-Hide Aquacrylic Gripper Primer-Sealer.” ICI Paints North America, 2007.

  https://images.homedepot-static.com/catalog/pdfImages/ab/ab0a96d4-5e52-4d64-bda3-
  a9b32b3caea8.pdf
24 “SDS: Setting Compounds.” Westpac Materials, 2017. https://www.westpacmaterials.com/wp-

  content/uploads/2018/02/SDS-Westpac-Setting-Compounds-2.pdf
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 13 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 12

In summary, differential assessment of the above chemical products as well as historical
exposures potentially received by Mr. Alvarez to other potential hazards including
Epstein-Barr virus, diabetes, arthritis, lupus, hepatitis B or C, exposures to radiation,
history of HIV, immunosuppression, carcinogenic pharmaceuticals, long-term steroid use
or organ transplant immunosuppressive drugs was negative. Additionally, Mr. Alvaez’s
                                  is insufficient to significantly increase his NHL risk.25 His
           has also nulled any significantly increased odds ratio.26

PPE & Exposure History
Mr. Alvarez stated in deposition27 that he typically wore rubber boots and gloves but wore
no other protective equipment such as goggles, protective covering or other PPG.
Generally, Mr. Alvarez wore either short- or long-sleeved (presumably cotton) shirts and
jeans while spraying.

Mr. Alvarez also stated in his PFS28 that he applied “No specific precautions for Roundup
use; however, often wore boots and gloves and coveralls to protect clothing. Backpack
sprayer burst on occasions and drenched back side and clothing in Roundup® which
soaked through to skin. Skin was also exposed when mixing concentrate and spraying.”

In clarifying his PFS statements in deposition testimony, Mr. Alvarez stated that whenever
his backpack sprayer malfunctioned, “The hose that the spray come out and with the
pressure that it has, the container, it's like a fountain. It go all the way up and it get in my
head, in my neck, everywhere.”29

Mr. Alvarez noted that such “drenching” episodes occurred on more than one occasion.
This seemingly occurred as a result of other workers failing to properly reconnect or
secure the hose to the sprayer following washing or maintenance.30 Mr. Alvarez stated
that when this happened, he would “Go to the bathroom and wash it out, just wash my
face.” He did not state whether he changed into dry clothing after such drenchings. More



25 Taborelli, et al., “The dose-response relationship between tobacco smoking and the risk of lymphoma:

  a case-control study”, 2017, BMC Cancer, Vol. 17, pgs. 421-430.
26 Deposition of Jaime Alvarez (Calderon), July 18, 2019, pg. 18.

27 Id., pg. 41-42.

28 Jaime Alvarez (Calderon) Plaintiff Fact Sheet, pg. 10.

29 Deposition of Jaime Alvarez (Calderon), July 18, 2019, pg. 42

30 Id., pgs. 43-44.
              REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 14 of 155
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 15 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 14

NHL Latency Interval
On the basis of his first reported exposure to Roundup®, Mr. Alvarez’s latency interval to
date of diagnosis was approximately 28 years (1986-2014).

Glyphosate Human NHL Studies
My toxicological opinions are based, in part, on six (6) primary epidemiological studies
that provide objective data based on dose metrics and provide evidence with respect to
several prongs of the Bradford Hill criteria. My toxicological opinion is grounded in animal
experimental evidence, in vitro human studies and human epidemiological studies as
summarized within this report. Specifically, I have assessed dose response, temporality,
strength of association and consistency, latency period, coherence (demonstrated by
molecular-based studies in different scenarios) and experimental data from animal
studies, and plausible biological and toxicological mechanisms.

The six primary epidemiological studies include Eriksson, et al., 2008,32 McDuffie, et al.,
2001,33 Andreotti, et al., 2018,34 Leon, et al., 201935, Zhang, et al., 201936 and Pahwa, et
al., 2019.37 My toxicological focus on these studies is on study design, statistical power,
exposure thresholds at different odds ratios, etc. I am using these study results in my
toxicological assessment in conjunction with generally-accepted, peer-reviewed studies
on genotoxicity (including direct human studies) mechanisms of action (promotion, etc.)
absorption, distribution, metabolism and excretion (ADME), etc. In general, I have relied
on studies that have documented the various aspects of the Bradford Hill criteria at or in
excess of the 95% confidence threshold. However, as stated above, I am deferring to the



32 Eriksson, M., et al., “Pesticide exposure as risk factor for non-Hodgkin lymphoma including

  histopathological subgroup analysis,” 2008, International Journal Cancer, Vol.123, pp. 1657 – 1663.
33 McDuffie H., et al., “Non-Hodgkin’s lymphoma and specific pesticide exposures in men: Cross-Canada

  study of pesticides and health,” 2001, Cancer Epidemiology, Biomarkers & Prevention, Vol.10, pp. 1155
  – 1163.
34 Andreotti, G., et al., “Glyphosate Use and Cancer Incidence in the Agricultural Health Study,” 2018,

  JNCI J Natl Cancer Inst., Vol.110 (5), doi: 10.1093/jnci/djx233.
35 Leon, Maria, et al., “Pesticide use and risk of non-Hodgkin lymphoid malignancies in agricultural

  cohorts from France, Norway and the USA, “2019, International Journal of Epidemiology, pp. 1–17.
36 Zhang, L., et al., “Exposure to Glyphosate Based Herbicides and Risk for Non-Hodgkin Lymphoma: A

  Meta-Analysis and Supporting Evidence,” July-September 2019, Mutation Research/Reviews in
  Mutation Research, Volume 781, pp. 186-206. https://doi.org/10.1016/j.mrrev.2019.02.001.
37 Pahwa, M. et al. Glyphosate use and associations with non-Hodgkin lymphoma major histological sub-

  types: findings from the North American Pooled Project. Scand J Work Environ Health, 2019 Jun 27. pii:
  3830. doi:10.5271/sjweh.3830
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 16 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 15

epidemiologist with respect to the internal statistical designs and meta-analysis bio-
statistical methodologies employed within each study.

Summaries of these six studies are provided below:

1. Eriksson, M., et al., 2008 study:38 This is a peer-reviewed, case-control study of
   exposure to pesticides as a risk factor for non-Hodgkin’s lymphoma (NHL) in cases in
   Sweden between 1999 and 2002. Different exposure levels were classified according
   to days of exposure.

    In this study, the association of glyphosate exposure with non-Hodgkin’s lymphoma
    followed a dose response pattern with an odds ratio (OR) of 1.69 for 10 days of
    exposure or less, and 2.36 for greater than 10 days of exposure.

    The human epidemiological studies have demonstrated statistically significant
    increased rates of NHL associated with glyphosate exposure. These studies include
    several different “exposure day” thresholds: “ever/never,” greater than one day and
    <10 days and greater than 10 days.

2. McDuffie, H. et al., 2001:39 This is a Canadian case-control study which investigated
   the association of specific pesticides and non-Hodgkin’s lymphoma that created dose-
   response levels based on days/year of personally mixing or applying herbicides. The
   study revealed that glyphosate exposures between >0 and ≤ 2 days per year had an
   NHL odds ratio (OR) of 1.0 while exposures greater than 2 days of exposure per year
   had a NHL odds ratio of 2.12.

    The published McDuffie, et al., study presented “Table 6” in which glyphosate
    exposure was stratified according to “unexposed,” “>0 and <2 days,” and “>2 days” of
    per year exposure. The study documented statistically significant dose-responses: an
    odds ratio of 2.12 (1.20–3.73) for the “>2 days” per year group which was statistically
    significant.




38 Eriksson, M., et al., “Pesticide exposure as risk factor for non-Hodgkin lymphoma including

  histopathological subgroup analysis,” 2008, International Journal Cancer, Vol.123, pp. 1657 – 1663.
39 McDuffie H., et al., “Non-Hodgkin’s lymphoma and specific pesticide exposures in men: Cross-Canada

  study of pesticides and health,” 2001, Cancer Epidemiology, Biomarkers & Prevention, Vol.10, pp. 1155
  – 1163.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
         Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 17 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 16

3. Andreotti, G., et al., 2018:40 The “Agricultural Health Study” (AHS) is an ongoing
   cohort study which includes 54,251 licensed pesticide applicators from Iowa and North
   Carolina with 82.8% reporting use of glyphosate. The study is funded by the National
   Cancer Institute and the National Institute of Environmental Health.41 An updated
   evaluation of glyphosate and cancer risk was conducted in the AHS 42 and included
   cancer incidences through 2012 in North Carolina and 2013 in Iowa. The reported
   lifetime days’ frequency of pesticide application is shown in Table 4.


                                                 Table 4
         Demographics of “Agricultural Health Study”43 Cohort (Applicators n = 54,251)
    Lifetime days of glyphosate use (Quartiles)            Lifetime days of glyphosate use (Tertiles)
                      1 – 13.74                                              1 – 19.9
                    13.75 – 38.74                                           20 – 61.9
                    38.75 – 108.4                                             ≥ 62.0
                       ≥ 108.5



     Exposure days can be compared to Table 4 with the corresponding quartiles or tertiles
     of the Agricultural Health Study to determine if his exposure was consistent with that
     of these applicators. The Agricultural Health Study did not find a statistically elevated
     risk of NHL, however, the study is useful with respect to comparison of other
     epidemiological studies.

4. Leon, et al, 2019:44 In this analysis combining data from >300,000 farmers or
   agricultural workers from France, Norway and the USA and accruing more than 3.5
   million person-years under risk, the possible association between pesticide use and
   the risk of lymphoid malignancies was investigated. Specifically, the authors
   investigated the relationship of the “ever use” of 14 selected pesticide chemical groups
   and 33 individual active chemical ingredients with non-Hodgkin lymphoid
   malignancies (NHL). Pesticide use was derived from self-reported history of crops

40 Andreotti, G., et al., “Glyphosate Use and Cancer Incidence in the Agricultural Health Study,” 2018,

  JNCI J Natl Cancer Inst., Vol.110 (5), doi: 10.1093/jnci/djx233.
41 Id.

42 Id.

43 Id.

44 Leon, Maria, et al., “Pesticide use and risk of non-Hodgkin lymphoid malignancies in agricultural

  cohorts from France, Norway and the USA,“ 2019, International Journal of Epidemiology, pp. 1–17.
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 18 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 17

   cultivated combined with crop-exposure matrices (France and Norway) or self-
   reported lifetime use of active ingredients (USA). Cox regression models were used
   to estimate cohort specific hazard ratios (HRs) and 95% confidence intervals (CIs)
   which were combined using random effects meta-analysis to calculate meta-hrs.

   During follow-up, 2,430 NHL cases were diagnosed in 316,270 farmers accruing
   3,574,815 person-years under risk. Moderately elevated meta-HRs were seen for NHL
   overall or certain subtypes with use of specific pesticides compared with “never” use
   of the same pesticides. In particular, elevated hazard ratios of diffuse large B-cell
   lymphoma (DLBCL) were seen with glyphosate use (1.36, CI: 1.00–1.85). It is
   noteworthy that although this study found no association between risk of all types of
   NHL overall and ever use of glyphosate, there was a statistically elevated risk for
   DLBCL (the most common type of NHL).

5. Zhang, L., et al (2019):45 The Zhang, et al., study is a meta-analysis design that
   included the most recent update of the Agricultural Health Study (AHS) cohort
   published in 2018 along with five case-control studies. The study reported that
   glyphosate-based herbicide (GBH) exposure is associated with increased risk of NHL
   in humans. Using the highest exposure groups when available in each study, they
   further reported that the overall meta-relative risk (meta-RR) of NHL in GBH-exposed
   individuals was increased by 41% (meta-RR = 1.41, 95% CI, confidence interval:
   1.13̽1.75). For comparison, a secondary meta-analysis using high-exposure groups
   with the earlier AHS (2005) determined a meta-RR for NHL of 1.45 (95% CI: 1.11̽
   1.91) which was higher than the meta-RRs reported previously.

6. Pahwa, M. et al. (2019):46 In a 2019 study, the associations between glyphosate use
   and NHL incidence, overall, and by histological sub-type, were evaluated in a pooled
   analysis of case-control studies. NHL cases were recruited from cancer registries and
   hospitals in four states between 1991 and 1994, as well as six Canadian provinces.
   This analysis included 5,131 controls and 1,690 cases of NHL; 647 diffuse large B-
   cell lymphoma, 468 follicular lymphoma, 171 small lymphocytic lymphoma and 404
   other sub-types. The authors found that subjects who had ever used glyphosate had

45 Zhang, L., et al., “Exposure to Glyphosate Based Herbicides and Risk for Non-Hodgkin Lymphoma:   A
  Meta-Analysis and Supporting Evidence,” July-September 2019, Mutation Research/Reviews in
  Mutation Research, Volume 781, pp. 186-206. https://doi.org/10.1016/j.mrrev.2019.02.001.
46 Pahwa, M. et al. Glyphosate use and associations with non-Hodgkin lymphoma major histological sub-

  types: findings from the North American Pooled Project. Scand J Work Environ Health, 2019 Jun 27. pii:
  3830. doi:10.5271/sjweh.3830
                        REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 19 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 18

   an excess of NHL overall (OR 1.43, 95% CI 1.11-1.83). After adjustment for other
   pesticides, the OR for NHL overall with "ever use" was 1.13 (95% CI 0.84-1.51) with
   a statistically-significant association for handling glyphosate more than two days per
   year (OR 1.73, 95% CI 1.02-2.94, P-trend=0.2). In pesticide-adjusted NHL sub-type
   analyses, the ordinal measure of lifetime-days was statistically significant (P=0.03) for
   small lymphocytic lymphoma (SLL) and associations were elevated, but not
   statistically significant, for “ever years” or “days/year” of use. The authors also showed
   that subjects handling glyphosate more than two days per year had an excess of
   DLBCL (OR 2.14, 95% CI 1.07-4.28).

   Mr. Alvarez’s 546 exposure days clearly exceeded the dose-metrics thresholds as
   summarized in Table 5 and are consistent with results reported from prior meta-
   analyses that reveal increased ORs (risk). The authors caution on the interpretation
   of the numerical risk estimates because of the heterogeneity between the studies.
   Animal (and some human in vivo and in vitro) evidence from the studies of glyphosate-
   exposed mice also support the human epidemiological and mechanistic studies of
   glyphosate-induced DNA repair mechanism inhibition, immune-suppression,
   genotoxicity, endocrine disruption, genetic alterations and oxidative stress that
   provide consistent and coherent plausible links between glyphosate exposure and
   NHL development. Pahwa, et al., conclude “The overall evidence from human, animal
   and mechanistic studies presented here supports a compelling link between
   exposures to GBHs47 and increased risk for NHL.”




47 Glyphosate-based herbicides.
                             REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 20 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 19

Summary of Epidemiological Studies
Table 5 shows the various exposure parameters and assessment metrics for the six (6)
epidemiological studies noted herein.

                                                  Table 5
                Exposure Parameters for Six Referenced Epidemiological Studies48

                                                               Exposure Parameters

                                                Metrics
 Study              Type of study           (dose intervals)       Cut-off between Cases and Controls
 McDuffie, H.       Case-control              Unexposed            Cases were diagnosed with STS, HD,
 et al., 2001       study of men in      >0 days and ≤2 days       NHL or MM between 9/1/1991 and
                    six Canadian                                   12/31/1994. Controls did not have NHL
                                             >2 days/year
                    provinces.                                     diagnoses.
 Eriksson, M.,      Case-control               ≤ 10 days           Controls were newly diagnosed NHL
 et al., 2008       study of men and           >10 days            patients aged 18-74 years. Controls
                    women in                                       were randomly selected from the
                    Sweden                                         population registry.
 Andreotti, G.,     Prospective                Never use           Cases reported ever use of glyphosate.
 et al., 2018       cohort study of     Quartiles ranging from     Reference subjects may have used any
                    pesticide           1 day to ≥ 108.5 days      other pesticides.
                    applicators
                                        Tertiles ranging from 1
                                          day to ≥ 62.0 days
 Leon, et al,       Pooled analysis             Ever use           Cases reported ever use of glyphosate.
 2019               of three                                       Reference subjects may have used any
                    agricultural                                   other pesticides.
                    worker cohorts
 Zhang, et al.,     Meta-analysis               Ever use           6 studies included in primary analysis:
 2019                                                              one cohort and five case-control.
 Pahwa, M. et       Case-control                2 days/year        Subjects handling glyphosate more than
 al., 2019          study                                          two days/year had an excess of DLBCL
                                                                   (OR 2.14, 95% CI 1.07-4.28.




48 All studies in the table revealed statistically significant increased rates of some type of NHL, except

  Andreotti, et al., 2018.
                        REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 21 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 20

The use of the Exposure Days Metric in the Glyphosate Epidemiological Studies
The results of the “Exposure Day" calculations based on validated, reported exposure
intervals in the above tables reveal cumulative exposures and various threshold metric
cut-offs at which certain odds ratios or risk ratios occur. That is, Mr. Alvarez’s exposures
when compared to the “ever exposed” threshold, the “>0 and ≤ 2 days” threshold, the “>2
days per year” threshold, “10 days of exposure or less,” and “10 or more hours per year”
greatly exceeded all available exposure thresholds within the studies. Additionally, Mr.
Alvarez’s exposures where at the extreme upper tertials and quartiles of the Agricultural
Health Study. Clearly, Mr. Alvarez’s exposure-days were sufficient to exceed all threshold
parameters of the 6 referenced studies associated with statistically significant increased
odds ratios (ORs).

Personal Protective Equipment (PPE) and Measured Dermal Exposure Levels
It is generally recognized that personal protective equipment (PPE) constitutes an
essential part of safe preparation, application and handling of potentially hazardous
substances. With the exception of eye exposure warnings, the Roundup label has not
provided sufficient toxicological warning information and PPE requirements. Liquid
aerosol from an herbicide such as Roundup can be absorbed by exposed skin and/or by
penetrating through clothing which comes into prolonged contact with skin. Such dermal
absorption routes have been previously assessed in toxicological dose assessment
studies (including studies by Monsanto).

Quantification of these routes of exposure must be based on objective, factual information
to determine the dose contributed by each defined route. For example, early studies as
cited by Machado-Neto, et al., of knapsack sprayers reveal that hands presented only 10
to 25% and legs 25 to 85% of the total dermal exposure route.49

Penetration of Glyphosate through Clothing
Studies using gauze patches on the inside and outside of garments (paired patches) such
as pants, shirts, etc., have been conducted to determine the penetration of glyphosate
through clothing. Such studies use laboratory analyses to measure glyphosate or
surrogate markers on each side of the fabric to determine the percent penetration.




49 Van Hemmen, 1992 in Machado-Neto, et al., “Safety of Working Conditions of Glyphosate Applicators

  on Eucalyptus Forests Using Knapsack and Tractor Powered Sprayers” 2000, Bull. Environ. Contam.
  Toxicol. , Vol. 64, pp. 309-315.
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 22 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 21

A study of highly-protected glyphosate applicators concluded “Nevertheless, average
values for all paired patches showed an average of 22.9% of the glyphosate deposited
on worker clothing might be expected to penetrate through it.”50

The applicators in this study wore protective clothing that consisted of a protective suit,
rubber gloves and boots. Spraying was performed by placing a metal cylindrical shield on
the end of the wand (a spray chamber) around each seedling and then releasing only
about 0.5 ml per spray which targeted the weeds without drift; thus, protecting nearby
seedlings. Glyphosate deposition was analyzed from paired glyphosate collection
patches on the outside and inside of the clothing worn by workers.

Lack of Personal Protective Equipment (PPE)
The presence of systemic glyphosate in humans has been well documented and
previously reported.51 Acquavella, et al., performed biomonitoring of 48 farmers, their
spouses and 79 children (4-18 years) for glyphosate in urine the day before as well as
one and three days after glyphosate application (tractor and boom). They reported
detectable levels of glyphosate in urine on the day of application in sixty percent of the
farmers (geometric mean was 3 ppb; the maximum value was 233 ppb and the highest
estimated systemic dose was 0.004 mg/kg). The maximum value of 233 μg/L was from
a farmer whose teenage son also had the highest urinary concentration of 29 μg/L among
children. Farmers who did not use rubber gloves had five times more glyphosate in their
urine than those wearing protective gloves.

Various glyphosate-based formulas were used with various surfactants and/or salts. The
proportions of participants with detectable urinary glyphosate differed between the two
states: 87% detection rate in South Carolina; 36% in Minnesota. The urine concentrations
were similarly different: 7.9 μg/L on day of application in South Carolina; 1.4 μg/L on day
of application in Minnesota. The proportion of applicators wearing rubber gloves in
Minnesota (96%) was much greater than that in South Carolina (43%) suggesting that the
use of gloves is responsible for the differences seen. It is interesting to note that a similar
proportion of glove-wearing applicators was reported by Alavanja, et al., in 1999: 39% in
North Carolina; 76% in Iowa.


50 Lavy, T. et al., “Conifer Seedling Nursery Worker Exposure to Glyphosate,” 1992, Arch. Environ.

  Contamin. Toxicolo. Vol.22, pp. 6-13.
51 Acquavella JF, Alexander BH, Mandel JS, Gustin C, Baker B, et al., “Glyphosate biomonitoring for

  farmers and their families: results from the Farm Family Exposure Study,” 2004, Environ Health
  Perspect 112, pp. 321-326.
                            REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
        Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 23 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 22

A study of farmers’ application of pesticides (mostly glyphosate-based formulations) in
the Nanumba area documented that a typical farmer’s usage of pesticides did not follow
safe practices. Of 100 farmers, only 55% indicated that they checked pesticide label
information while 42% indicated that they used pesticides without checking labels.
Modeled farmer exposure to glyphosate was noted to be 0.3 mg/kg/BW/day on average
(0.7 mg/kgBW/day 95th percentile) when full personal protective equipment (PPE) was
used and an average of 4.2 (8.1 – 95th percentile) mg/kgBW/day when PPE was not
used. It is noteworthy that 90% of the farmers reported to have never used masks, face
shields, goggles or full respirators; less than 30% of the farmers reported using
impermeable clothing. In terms of pesticide sprayed, farmers’ dosing ranged widely
including 9% of the farmers applying high doses between 7 and 12 L/ha and 3% of the
farmers applying doses as high as 13 - 15 L/ha. These extremely high doses of herbicide
were reported by those who use it for both land clearing and weeding.52

According to Wumbei, et al., (2019) human exposure to herbicides can occur due to
accidents while mixing, loading or applying pesticides or contact with treated crops during
field re-entry. The study notes that the risk of harm to the farmer is greater during mixing
than during application. A quote by a farmer states “Some of us do not care about how
close they spray to water bodies. Some of us who farm along streams sometimes spray
directly into the streams and still drink from these streams, especially the rice farmers. In
fact, people are joking with the pesticides over here. Some people in the process of
preparing the spray solution will even put their finger into the solution and put it at the tip
of their tongue to know if the solution is strong enough to kill the weeds very well.”

Dermal Exposure of Glyphosate Applicators
The dermal contact exposure of glyphosate applicators was determined by Machado-
Neto, et al., 2000.53 In these studies, applications were conducted under different
scenarios, both with and without personnel protective equipment. Potential dermal
exposure was measured by the authors by the use of a copper fungicide added to the
Roundup spray solution as a surrogate metric. That is, Cu+2 cations were measured in
the laboratory from “Carefree” female sanitary pads placed on the exterior of the clothing.



52 Wumbei, A., et al., “Pesticides use and exposure among yam farmers in the Nanumba traditional area

     of Ghana,” 2019, Environmental Monitoring Assessment, 191:307, DOI: 10.1007/s10661-019-7449-5
53    Machado-Neto, et al., “Safety of Working Conditions of Glyphosate Applicators on Eucalyptus Forests
     Using Knapsack and Tractor Powered Sprayers,” 2000, Bull. Environ. Contam. Toxicol. Vol. 64, pp.
     309-315.
                            REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
        Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 24 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 23

These sanitary pads were externally affixed to eight defined areas of each worker’s body.
These included a) head, face and neck, b) arms and forearms, c) hands, d) thorax front,
e) thorax back, f) legs and front thigh, g) legs and back thigh, and h) feet. Personal dermal
exposure (PDE) in hands was directly measured by analysis of the cotton gloves used by
workers. Total body exposure via the dermal route (in units of mg/day of glyphosate) was
established with percentages determined for each of the eight different body areas with
and without PPE.

For “knapsack” (i.e., backpack) sprayers using a lever pump sprayer, total dermal
exposure measured 1,945.83 mg/day versus 253.90 mg/day with PPE. In calculation of
actual dermal exposures, penetration through fabric of the PPE (overalls and hoods) was
referenced at penetration values of 20%, 5% for boots, 1% for rubber gloves and 1% for
facial masks. Dermal absorption of 2% was then used by Machado-Neto, et al., to
calculate dosage.

Absorptions from 70-minute exposure periods were extrapolated to provide values equal
to absorption sustained in a theoretical work day.

Table 6 shows the proportion (%) distribution of personal dermal exposure (PDE) for
various body regions for glyphosate applicators using a lever-operated knapsack sprayer
as published in the 2000 Machado-Neto study.54

                                                  Table 6
                 Distribution of PDEs in Body Regions of Glyphosate Applicators
                                                               % of Body Regions
 Type            of    Glyphosate
 Sprayer              Concentration       A       B      C       D       E         F       G        H
 Lever-operated
                          0.48%         0.1%    0.5%    4.3%    1.6%    0.1%    44.6%     7.7%    41.1%
 Knapsack
                                       A = head + face + neck          E = thorax back
                                       B = arms + forearms             F = legs + front thigh
                                       C = hands                       G = legs + back thigh
                                       D = thorax front                H = feet




54    Machado-Neto, et al., “Safety of Working Conditions of Glyphosate Applicators on Eucalyptus Forests
     Using Knapsack and Tractor Powered Sprayers,” 2000, Bull. Environ. Contam. Toxicol. Vol. 64, pp.
     309-315.
                      REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 25 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 24

These results are significant in the current matter. The table notes that the highest
percentages of exposed body regions are (1) legs+front thigh and (2) feet. These areas
are very significant in cases where applications reported wearing flip flops and shorts
while spraying, especially after the initial clearing was completed.

Table 7 shows the published 2000 Machado-Neto study results of glyphosate dermal
exposure (in mg/day) expressed as “Potential” exposure and as “NCDE” (Not Controlled
Dermal Exposure). This table is also significant in the current matter as it clearly
demonstrates the potential difference in exposure between sprayers wearing personal
protective equipment and those not wearing such equipment. Sprayers who did not wear

                                           Table 7
  Potential Dermal Absorption (without any PPE) and Not Controlled Dermal Exposure
                     (NCDE) with Personal Protective Equipment
                                               Dermal Exposure (mg/day)
                           Glyphosate
 Type of Sprayer           Concentration       Total dermal exposure     Exposure with PPE
 Lever-operated Knapsack   0.48%               1,945.83                  253.90




Example of Roundup Exposure of 1,4-dioxane (no gloves, short sleeves)
Authored by Dr. William Heydens, Monsanto Senior Toxicologist, (Mon# MONGLY00154342
(Volume 1) and MONGLY00154381 (Volume 2)

In 1990, Monsanto submitted two reports (risk assessments) in support of glyphosate
registration in Canada and the U.S. These assessments were prepared to address
concerns that arose when 1,4-dioxane (a contaminant in Roundup which is a substance
characterized by IARC as "possibly carcinogenic to humans") was detected in Canada’s
Roundup (Vision Herbicide) in 1989.

Volume 1 of their assessment, "Cancer Risk Assessment for Agricultural and Forestry
Applications of Herbicide Surfactant Containing 1,4-Dioxane,” was prepared for and
submitted to Health and Welfare Canada and Agriculture Canada. Volume 2 of their
assessment, "Cancer Risk Assessment for Agricultural and Roadside Applications of
                           REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
        Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 26 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 25

Herbicide Surfactant Containing 1,4-Dioxane,” was prepared “to address concerns more
specific to California”55 and was submitted to CDFA.56

To determine exposure, Monsanto examined 28 studies in the U.S. Environmental
Protection Agency's generic data base for base exposure data (i.e. pesticide active
ingredient, dermal deposition and inhalation exposure rates). Monsanto utilized the
reported median values for their assessments claiming they are more reliable estimates
of exposure than mean values and, therefore, yield more realistic assessments of risk.
Monsanto found that the mean exposure value was 2.8 times higher than the median for
workers with gloves and long sleeves and 2.2 times higher for workers without gloves and
long sleeves. Thus, only the mean values were utilized. Monsanto characterized these
results as a “worst-case” risk assessment for the U.S. (Volume 2).57

It is notable that in Monsanto’s “worst-case” scenario, the maximum concentration of
dioxane in the formulation is 23 ppm. In the Canadian assessment, however, Monsanto
reports that, after conducting extensive analyses on retained product samples located at
various Monsanto manufacturing and research technology locations, the mean 1,4-
dioxane concentration was 160 ± 56 ppm with a range of 56 - 307 ppm.
The reason for this seeming disparity is that just prior to their assessments,58 Monsanto
changed their formulation requirements such that no more than 23 ppm 1,4-dioxane
would be contained in the herbicide concentrate. The median exposure values Monsanto
published in their Volume 1 assessment for tractor boom application in both an open cab
and closed cab are presented in Table 8 below.

                                                 Table 8
                  Median Values for Combined Dermal and Inhalation Exposure
                                                            Exposure                   Exposure
                                                      (Open Loading/Mixing)    (Closed Loading/Mixing)
                                                        (μg/pound of active       (μg/pound of active
            Protective Clothing Worn                    ingredient applied)        ingredient applied)
 Long sleeves, gloves, long pants                             19.3                       1.9
 Short sleeves, no gloves, and long pants                     75.6                       7.6



55   Page 004 of 0029.
56   California Department of Food and Agriculture.
57    Monsanto noted this to be a “worst case approach” although they used a lower dose (23 ppm vs. 300
     ppm) of 1,4-dioxane in this assessment.
58   The time of the requirement change in Canada and/or US is not reported.
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 27 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 26

As shown in Table 5, the exposure in both cases is approximately four times greater for
workers wearing short-sleeved shirts without gloves than for workers wearing long
sleeves and gloves.

Monsanto’s Volume 2 risk assessment results for tractor boom application in an open cab
using an open transfer system were based on mean exposure values as given in Table
9. The exposure for applicators wearing short sleeves and no gloves is three times greater
than the exposure for applicators wearing long sleeves with gloves.

                                                Table 9
  Mean Values: Combined Dermal and Inhalation Exposure for “Worst Case Scenario”59
                                                   Exposure                         Exposure
 Protective Clothing Worn            (μg/pound of active ingredient applied)       (μg/kg/year)
 Short sleeves, no gloves                            165.7                            7.79
 Long sleeves and gloves                             54.47                            2.56


Again, these factors illustrate the profound difference in exposure between sprayers who
wore protective equipment and those who did not.

Omission of PPE Labeling Recommendations by Monsanto
Monsanto conducted a formal operator exposure assessment (MON 2139) and evaluated
exposure when spraying Roundup under UK conditions. A series of spray volume and
dose combinations were presented and assessed. As a consequence of the results, a
series of specific label recommendations were set forth in the Monsanto report.

Table 10 summarizes the published label recommendations as noted in the MON 2139
document and their resulting presence in actual Roundup product label(s):




59 Tractor boom application with an open cab and open loading/mixing conditions.
              REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 28 of 155
                      REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 29 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 28

The published results are shown in Figure 1 below.




     Figure 1: “Table 7” from Monsanto MON 2139 Study Showing Results of Exposure Tests

Key Points Pertaining to Exposed Body Parts
x   The ug/cm2 exposure to glyphosate reveals significant exposure to nearly all body
    areas (except forehead and head which were not consistently exposed).
x   POEM model includes stated exposure percentages for different parts of the body in
    peer-reviewed literature for applicators and in Monsanto’s own in-house studies.
x   Monsanto employees were protected with PPE in all exposed body areas stated
    during their tests, but consumers are not protected because the product label provides
    no such instructions (in spite of the fact that Monsanto’s own report recommended
    specific warnings).
x   In earlier reports submitted in the Monsanto litigation matters, Dr. Sullivan (an expert
    retained by Monsanto) has only calculated leg and hand exposures. More recently,
    Monsanto’s expert Dr. LeBeau (report dated 9-3-2019) also failed to include other
    body areas. All other exposed areas were ignored. This represents a gross deviation
    from accepted assessment methodology.
                       REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 30 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 29



B. Glyphosate Exposure & Toxicity
Exposure models have been developed in the last 20 years that are used to estimate the
exposure dose of professional operators to biocides during application. The accuracy of
these models’ ability to assess actual exposure is primarily determined by the
pharmacokinetic studies and assumptions used in developing the model (such as dermal
absorption rate and other variables).

PK models (pharmacokinetic models) simulate the absorption, distribution, metabolism
and excretion (ADME) within a living system. Biomonitoring and dosimetry data are
combined with PK models to reconstruct or estimate the exposure dose. It is, therefore,
essential to have a good understanding of the pharmacokinetics to ensure a good
estimate of the exposure dose.

Monsanto’s Glyphosate Biomonitoring and Dose Measurement Reliability
Monsanto has officially postured its glyphosate formulations as “trade secrets” (and thus
remain unpublished). As a consequence, the general scientific community has had
minimal opportunity to assess the toxicity of the various glyphosate product formulations,
many of which contain surfactants and other substances. This is perhaps a peculiar
position in which to find the world’s most ubiquitous herbicide, but it is nevertheless a fact.
It is also a substantial limitation for toxicological assessment.

As a consequence of non-disclosures, there are discrepancies and differences of opinion
as to the pharmacokinetics (or ADME) of glyphosate which have not been entirely
assessed in the peer-reviewed literature.

However, Monsanto has conducted some limited in-house studies and internal Monsanto
communications recognize the limitations of these studies. As              , the head
of Monsanto’s Regulatory Affairs Unit, wrote:

“ADME has always been the weak link in our argument…we have not got rid of that problem.”60




60 MONGLY02221147.
                             REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
        Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 31 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 30

When assumptions in a critical, Monsanto-contracted pharmacokinetics study were
questioned by Spanish regulators, Monsanto corporate employee,                ,
wrote,

 “Even though we can absorb additional 'uncertainty factors' in our risk assessment based on
 our biomonitoring results, I feel uncomfortable with this discussion. This approach by Spain sets
 a precedent and contradicts the fact that we always claimed to fully understand the glyphosate
 pharmacokinetics.”61


Additional information is contained within an unpublished Monsanto study in which the
percentage of dermal absorption was shown to be as high as 10% (TNO rat skin study).
Since dermal exposure is the most significant route of exposure, a small change in the
percentage of dermal exposure can have a great effect on the overall exposure.
Monsanto acknowledges this fact directly in a July 2001 draft:

“One of the product specific parameters that can make a big difference in the exposure
assessment is the dermal uptake factor which is the fraction of the amount of active ingredient on
the skin surface that is absorbed by the skin tissue.”62


In an August 16, 2011, email regarding dermal absorption,                                        wrote:

“In Europe, we are getting prepared to submit MON 79991 (720 g/kg) for approval under the new
Reg 1107/2009. We ran the UKPOEM model using a dermal penetration value of 3% and do not
pass when applying 3.6 kg/ha for the tractor-mounted sprayer. I am aware of the set of studies
that you ran on dermal absorption using pure K-salt and IPA-salt and also MON 52276 and MON
79351 which showed dermal absorption values of 1%. Putting 1% in the model, we get a good
result, so will need to show that the 1% dermal absorption numbers are equally valid for the MON
79991 formulation.”63




61 MONGLY02155829.

62                       July 2001, Confidential draft, “Clustering glyphosate formulations with regard to the
     testing for dermal uptake.”
63 MONGLY04107779.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 32 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 31

Glyphosate (Roundup) History and Use
Glyphosate is the active ingredient in various Roundup herbicide formulations. The
Monsanto Company discovered the herbicide activity of glyphosate in 1970 and initiated
sales and distribution for weed control in 1974. Glyphosate is not selective and is used
on food and non-food crops. Over the subsequent four decades, glyphosate use as an
herbicide has greatly expanded. It is used in agriculture, forestry, industrial right-of-ways
and in residential applications worldwide.

Glyphosate’s use in agriculture has been further expanded by the development of
genetically-modified plants that are tolerant to glyphosate treatment (Roundup-
Ready®).64 This has significantly increased the use of glyphosate on these crops for weed
control with no concern for crop injury.65 As a result, genetically-modified crops contain
far more glyphosate residue than conventional crops.

The introduction of glyphosate-resistant (GR) crops in 1996 and the expiration of the
glyphosate patent have resulted in its ubiquitous use today characterized by a 15-fold
global increase since the mid-1990s.66

According to glyphosate pesticide registration, in 1993, approximately 13 to 20 million
acres of land had been treated with 18.7 million pounds of glyphosate and used mostly
on hay/pasture, soybeans and corn.67 According to the U.S. Geological Survey, in 2014,
300 million pounds of glyphosate were used on agricultural land in the U.S. Since 1974,
over 3.5 billion pounds of glyphosate have been applied in the US.68




64 Williams, G. et al.,
                      Safety evaluation and risk assessment of the herbicide Roundup and its active
  ingredient, glyphosate, for humans,” 2000, Regulatory Toxicology and Pharmacology, Vol.31, pg. 117-
  165.
65 Duke, S. S., “Encyclopedia of Agrochemicals,” 2003, John Wiley & Sons.

66 Benbrook, C.M., “Trends in glyphosate herbicide use in the United States and globally,” 2016

  Environmental Sciences Europe. 28:3.
67 U.S. EPA, “Registration eligibility decision-facts: Glyphosate,” 1993 United States Environmental

  Protection Agency, Prevention, Pesticides and Toxic Substances (7508W), EPA-738-F-93-011.
68 Benbrook, C.M., “Trends in glyphosate herbicide use in the United States and globally,” 2016,

  Environmental Sciences Europe. 28:3.
                     REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 33 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 32

    Roundup Pro Concentrate label (2006) similar to that used by Mr. Alvarez
                           REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
         Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 34 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 33



Contaminants within Roundup (Surfactants, Adjuvants and Co-formulants)
A 2017 toxicological study69 by Tarazona, et al., reviewed the scientific basis of
glyphosate’s carcinogenic classification and offered the following guidance with respect
to contaminants in glyphosate and Roundup surfactants, adjuvants and co-formulants:

“Surfactants are frequently used in herbicide formulations including glyphosate. Polyethoxylated
tallowamines are several orders of magnitude more cytotoxic than glyphosate (Mesnage, et al., 2013); the
mode of action is cell death with inhibition of the mitochondrial succinate dehydrogenase activity and
membrane damage leading to necrosis. This mode of action is different from glyphosate while similar to
that observed for glyphosate-based formulations (Benachour and Seralini, 2009). These tallowamines also
produce oxidative and DNA damage (Nobels, et al., 2011), and increase the apoptotic potential of
glyphosate (Kim, et al., 2013). Other surfactants as well as solvents used in pesticides formulations are
cytotoxic and possibly genotoxic (Nobels, et al., 2011).”


It will be seen in the following data tables that a variety of substances have been added
to the product to increase or enhance absorption. Unfortunately, it has not been possible
to assess the actual constituent components of Roundup surfactants because (in the
U.S.) such mixtures are protected as “proprietary” formulations. For example, the label
on Roundup Original Max herbicide (which contains a proprietary surfactant) merely
states “Other Ingredients: 51.3%.” In other words, more than half of the volume of the
product consists of water and unknown substances.

Without good information, substance toxicity cannot be scientifically or toxicologically
evaluated with reliance and accuracy. It should be further noted that individual chemical
assessment is the recommended worldwide method for carcinogenic substances as
highlighted in the previous document:

The UN and EU guidance recommends carcinogenicity and genotoxicity studies to be conducted on
individual chemicals, limiting testing of mixtures/formulations to cases where synergistic effects are
expected (United Nations 2015). 70




69 Tarazona, et al., "Glyphosate toxicity and carcinogenicity: a review of the scientific basis of the

  European Union assessment and its differences with IARC," National Institutes of Health,
  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5515989/
70 Id.
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 35 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 34

Table 11 lists the various substances in Roundup formulations, depending on years of
exposure and type of Roundup product used.



                                                Table 11
         List of 22 Chemicals Known to be Present in Roundup Based on Product
           Labels71 and Potentially Used by Plaintiff Based on Product and Year
                  Compound/Substance                       Years Label Shows Used in Roundup
                1-dodecanamine (surfactant)                                  1999
                     Ammonium Sulfate                                        2002
                  Antifoam ("A," "AF," "C")                                  1999
                     Antimicrobial Agent                           1992, 1995, 1998, 2002
                   Dimethyl polysiloxane                                     1995
                     Dipropylene glycol                                  1998, 2002
                         Glyphosate                             1992, 1995, 1996, 1998, 2002
              MON 013962 Technical Solution                                  1999
                       Nonanoic acid                                     1998, 2002
                       Pelargonic acid                                1992, 1995, 2002
                Polyoxyethylene alkyl amine                                  2002
     Polyoxyethylene alkyl phosphate ester (surfactant)                      1999
           Polyoxyethylene alkylamine (surfactant)                    1992, 1995, 1999
                    Potassium hydroxide                            1992, 1995, 1998, 2002
                Propylene glycol (co-solvent)                                1999
                          SAG 10                                             1999
                          SAG 30                                             1999
                      Silicone emulsion                                      1999
          Silicone emulsion (dimethylpolysiloxane)                       1998, 2002
          Surfactant Blend (tallowamine, glycerine)                          2002
                   Surfactant Mon 59112                            1996, 1998, 1999, 2002
                           Water                                1992, 1995, 1996, 1998, 2002




71 Product formulation data provided by Monsanto in response to Interrogatory demand for only certain

  years. These years correspond to years the products were used by Plaintiffs. No product formulation
  data was provided for U.S. EPA registration years 1993, 1994, 1997, 1999, 2001 or 2003-2008.
                            REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
       Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 36 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 35

There are several critical points to note with respect to this formulation chronology:
x     The basic product formulation has not changed significantly over the years.

x     Although every product contains surfactants in various forms, the word “surfactant”
      only appears in selected years. Labels often substituted different POEAs as a specific
      surfactant. Sometimes a proprietary mixture is presented in abbreviated form.
Table 12 presents a detailed breakdown of the various Roundup formulations available
based on product labels available for assessment.
                                                Table 12
    Roundup Formulations potentially used by Plaintiffs - Chemicals within Glyphosate and
                   Roundup Surfactants, Adjuvants and Co-formulants

      Product Brand Name                                   Formulation(s)
 Roundup Ready-To-Use
 Weed & Grass Killer
 EPA Reg: 71995-08
 (7/13/1992)
 ROUNDUP Super
 Concentrate Weed & Grass
 Killer 2 (12-3-1999)




 Roundup Ready-To-Use
 Weed & Grass Killer [1]
 EPA Reg: 71995-12
 (8/16/1995)
 Roundup Ready-To-Use
 Weed & Grass Killer [2]
 EPA Reg: 71995-13
 (11/6/1995)
 Roundup Weed & Grass
 Killer {1] Super Concentrate
 EPA Reg: 71995-18
 (10/17/1996)
 Roundup Weed & Grass
 Killer [1] Ready- To-Use
 EPA Reg: 71995-23
 (5/20/1998)
                           REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
       Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 37 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 36

                                         Table 12
    Roundup Formulations potentially used by Plaintiffs - Chemicals within Glyphosate and
                   Roundup Surfactants, Adjuvants and Co-formulants

      Product Brand Name                                  Formulation(s)


 Isopropylamine Salt of
 Glyphosate
 (MON 0139, 62%)
 CAS# 38641-94-0
 (July 17, 1999)


 Roundup Weed & Grass
 Killer Ready-To-Use
 EPA Reg: 71995-32
 (9/9/2002)
 (multiple formulations)


 Roundup Ready-to-Use
 Weed & Grass Killer III
 EPA Reg: 71995-33
 (9/9/2002)
 (multiple formulations)




Carcinogenic Substances in Roundup
Other than glyphosate, there are three (3) known (probable or confirmed) human
carcinogenic substances identified as present in Roundup, either as formulation
components or manufacturing reaction products.

x     Formaldehyde is classified by IARC as a Class I Human Carcinogen and a probable
      human carcinogen (class B1) by U.S. EPA. National Cancer Institute researchers
      have concluded that, based on human study data and lab research, exposure to
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
       Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 38 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 37

     formaldehyde may cause leukemia in humans, particularly myeloid leukemia. NHL is
     also associated with human exposures to formaldehyde.72

x    Ethylene Oxide is a carcinogenic and mutagenic gas. It is classified by both U.S. EPA
     and by IARC as a human carcinogen by inhalation. Studies show that exposures to
     ethylene oxide are associated with an increased risk of cancers of white blood cells.
     Ethylene oxide was identified by Monsanto as being present in Roundup as long ago
     as 2000 (per Safety Data Sheet) noting that ethylene oxide accumulates in the top
     (“headspace”) of product containers and can be inhaled when the lid is removed. Only
     very small quantities are required to produce adverse health effects. (The odor
     threshold for ethylene oxide varies between 250 and 700 ppm; consequently, the gas
     is already at toxic concentrations when it can be smelled.) Efforts were made by
     Monsanto to remove cancer warning labels for ethylene oxide as the concentration
     was below the OSHA action trigger level.

The trace chemicals present in Roundup that are recognized by the U.S. EPA to be
human carcinogens (formaldehyde, ethylene oxide) are identified and assessed above.
Typically, generally-recognized carcinogens with similar target endpoints (hematopoietic
cancers) are, by definition, additive and should be considered in the overall carcinogen
assessment of a product (such as Roundup).73 The fact that other confirmed human
carcinogenic substances are known to be present in trace amounts in Roundup (as noted
in Monsanto’s own documents) requires toxicological consideration. However, it is also
noteworthy that these substances are not disclosed on the Roundup product label.




72 Wang, et al., “Occupational Exposure to Solvents and Risk of Non-Hodgkin Lymphoma in Connecticut

    Women,” American Journal of Epidemiology, 2009 Jan 15; 169(2): 176–185.
73 Glyphosate (the primary chemical of concern) is noted to be present in high quantities in the Roundup
    product (i.e., 2%) compared to other formulants and impurities such as POEA, formaldehyde and
    ethylene oxide.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 39 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 38

The U.S. EPA provides guidance on this issue as noted in the excerpt below from a
generally-recognized toxicological U.S. EPA publication:74

Epidemiologic studies, by their nature, are limited in the extent to which they can control for effects due to
exposures from other agents. In some cases, the agent can have discernible interactive effects with another
agent, making it possible to estimate the contribution of each agent as a risk factor for the effects of the
other. For example, competing risks in a study population can limit the observed occurrence of cancer,
while additive effects may lead to an increase occurrence of cancer.


The U.S. EPA also offers guidance on the manner in which additive effects are required
to be assessed:

There may also be instances where the agent of interest is a risk factor in conjunction with another agent.
For instance, interaction as well as effect-measure modification are sometimes construed to be
confounding, but they are different than confounding. Interaction is described as a situation in which two or
more risk factors modify the effect of each other with regard to the occurrence of a given effect. This
phenomenon is sometimes described as effect-measure modification or heterogeneity of effect (Szklo and
Nieto, 2000). ... When the effect of the exposure of interest is accentuated by another variable, it is said to
be synergistic interaction. Synergistic interaction can be additive (e.g., hepatitis virus B and aflatoxin in
hepatic cancer) or multiplicative (e.g., asbestos and smoking in lung cancer). ...


It is noteworthy that this is not a new or otherwise "novel" methodology. The "Health
Effects of Toxic Substances"75 reflects this view as a standard toxicological method:

Additive effects imply that exposure to chemical carcinogens are additive over the lifespan of the organism.
Carcinogenic substances are subject to the same bioaccumulation, transformation, and excretion principles
previously discussed. However, if there exists no threshold, and a risk is assumed for any absorbed dose,
then the probability of cancer induction would be additive.


Cancer or Tumor Promotion
Tumor promotion is a process in which carcinogenesis by various substances positively
impacts the progeny of a single initiated cell(s) to survive and expand in number and to
resist the process of normal cellular aging and death (known as apoptosis) and to
continue on undergoing clonal malignant growth (known as tumor progression).




74 U.S. EPA, "Guidelines for Carcinogen Risk Assessment," U.S. Environmental Protection Agency

  Washington, DC, March 2005, EPA/630/P-03/001F
75 M.J. Malachowski, "Health Effects of Toxic Substances," 1999, Second Edition, 0-86587-649-5.
                            REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
        Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 40 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 39

In the carcinogenicity study, George, J., et al., (2010),76 glyphosate was demonstrated to
have strong tumor-promoting activity. The study documented carcinogenic effects of
glyphosate using a 2-stage mouse skin carcinogenesis model and proteomic analysis.
The commercial formulation of Roundup Original (glyphosate 41%, POEA = 5%,
Monsanto Company, St. Louis, MO, USA) was topically applied to the skin of mice with a
body weight of 12-15 g. The glyphosate dose was 25 mg/kg body weight and was applied
either two or three times per week.77

Proteomic analysis showed that 22 spots were differentially expressed (>2-fold) on
glyphosate, 7,12-dimethylbrenz[a]anthracene (DMBA), and 12-O-tetradecanoyl-phorbol-
1.3-acetate (TPA) application over untreated control. These results suggested that
glyphosate has tumor-promoting potential in skin carcinogenesis and its mechanism
seems to be similar to TPA.

Comparing the dosing in these mice to a hypothetical applicator at the AOEL of 0.1
mg/kg/day requires the consideration of body surface area, pharmacokinetics and
physiological time.

Interspecies allometric scaling for dose conversion from animal-to-human is a method
wherein the exchange of drug dose is based on normalization of dose to body surface
area. This approach assumes that there are some unique characteristics of the
anatomical, physiological and biochemical processes among species. The possible
difference in pharmacokinetics/physiological time is accounted for by allometric scaling.

This method is frequently used in research for experimental purposes to predict an
approximate dose on the basis of data existing in other species. Table 13 contains an
excerpt from Nair and Jacob, 2016, which uses data from FDA guidelines.78,79




76 George, J., et al., “Studies on glyphosate-induced carcinogenicity in mouse skin: A proteomic

     approach,” 2010, Journal of Proteomics 73, pp. 951 – 64.
77    Somewhat similar to that of exposed sprayers mixing Roundup 2-3 times per week with dermal
     contact.
78 USFDA, “Guidance for Industry: Estimating the Maximum Safe Starting Dose in Adult Healthy

     Volunteers,” 2005, Rockville, MD: US Food and Drug Administration.
79 Nair AB, Jacob S., “A simple practice guide for dose conversion between animals and humans,” 2016,

     J Basic Clin Pharma, Vol. 7, pp. 27-31.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 41 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 40

                                                  Table 13
                 Human equivalent dose calculation based on body surface area


                                                          To convert dose      To convert dose in mg/kg to
            Reference         Working          Body         in mg/kg to           HED* in mg/kg, either
              Body          weight range      surface      dose in mg/m2,      Divide Multiply animal dose
 Species    Weight (kg)         (kg)         area (m2)     multiply by Km            animal dose by
 Human           60                             1.62               37
  Mouse         0.02         0.011-0.034       0.007               3              12.3              0.081
                                      *HED: human equivalent dose

Applying the HED and 3% dermal absorption results in a reasonably similar dose to that
sustained by a hypothetical applicator at the AOEL level of 0.1 mg/kg/day.

“Table 1” in the George, et al., study reveals that of the animals dosed only with the
carcinogen 7,12-dimethybenz[a]anthracene (DMBA) at 52 ug/mouse, none of the 20
animals developed tumors. It should be noted that DMBA is a powerful carcinogen also
found in cigarette smoke.80 When also combined with glyphosate and applied to the skin
(a single topical application of 50 mg/kg body weight per mouse), 40% of the mice
developed tumors with an average of 2.8 tumors per mouse. The study demonstrated, to
within 95% certainty, the carcinogenic potential of glyphosate as a powerful promoter in
a 2-stage promotion model. The authors concluded in their results section that “These
results clearly indicate significant tumor promoting potential of glyphosate in mouse skin
model of carcinogenesis.” It should also be noted that when the dose is factored by
applying the human equivalent dose (HED) factor of 0.081 and a 3% dermal absorption
factor, the glyphosate dose of 25 mg/kg body weight used in this study decreases to only
0.06 mg/kg human body weight which is less than the current “acceptable operator
exposure level” (AOEL) for glyphosate (0.1 mg/kg body weight).

Epidemiological studies have implicated glyphosate in the induction of multiple
myeloma81 (MM) via positive and statistically significant associations with glyphosate



80Lee, et al., “Polycyclic aromatic hydrocarbons present in cigarette smoke cause bone loss in an

  ovariectomized rat model,” 2002, Bone, Vol. 30(6), pp. 917-23.
81 Multiple myeloma is a type of blood cancer, wherein malignant plasma cells accumulate in the bone

  marrow. These malignant plasma cells then produce an abnormal antibody called M protein, which
  offers no benefit to the body and may cause tumors, kidney damage, bone destruction and impaired
  immune function. A defining characteristic of multiple myeloma is a high level of M protein in the blood
  (M spike).
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 42 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 41

exposures. The Wang, et al. (2019) study82 examined the impact of glyphosate in the
pathogenesis of multiple myeloma. A distinctive characteristic of MM is that it is
consistently preceded by MGUS83, which is the increased production of the damaging M
protein. The authors used specially bred mice84 that are predisposed to developing a
mouse equivalent to human MGUS, which then progresses to MM. This specially bred
mouse model recapitulates many biological and clinical features of human MM, including
increased serum immunoglobulin G (IgG), bone lesions and kidney damage.

The authors dosed the specially bred mice and normal wild-type mice with 1,000 mg/L
glyphosate (~ 15 times the current ADI85 allowed in the USA) in drinking water.
Following glyphosate dosing, the specially bred mice developed progressive
hematological abnormalities and plasma cell neoplasms such as splenomegaly, anemia
and high serum IgG86. Moreover, glyphosate caused multiple organ dysfunction, including
lytic bone lesions and renal damage in these predisposed mice. Glyphosate-treated
normal wild mice also developed some of the adverse conditions including benign
monoclonal gammopathy with increased serum IgG, anemia and plasma cell presence in
the spleen and bone marrow.

As a B-cell genome mutator, the substance called AICD87 is known as a key pathogenic
player in both MM and B-cell NHL. In the current study, glyphosate was found to increase
the production of AICD in the spleen and bone marrow of both normal wild mice and the
specially bred mice. Thus, the glyphosate-induced damage occurred not only in the mice
predisposed to MM but also in normal wild mice.

Most importantly, the study data reveals that glyphosate elicits a B-cell-specific mutational
mechanism of action in promoting carcinogenesis. The experimental evidence supports


82 Wang, L., et al., “Glyphosate induces benign monoclonal gammopathy and promotes multiple myeloma

  progression in mice,” 2019, Journal of Hematology & Oncology, Vol. 12, pp.70.
83 Monoclonal gammopathy of undetermined significance (MGUS) is a condition in which an abnormal

  protein, known as monoclonal protein or M protein, is formed within your bone marrow and secreted
  into the blood.
84 Bergsagel and colleagues generated a mouse model of MM (Vk*MYC) under the C57bl/6 genetic

  background with sporadic c-Myc activation in germinal center B cells, resulting in the development of
  benign monoclonal gammopathy, a mouse equivalent to MGUS, which then progresses to MM.
85 The authors based this on the U.S. EPA chronic reference dose for an average adult weighing roughly

  80 kg.
86 The type of MGUS that most commonly leads to myeloma.

87 Activation-induced cytidine deaminase (AICD)
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 43 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 42

the epidemiologic finding regarding glyphosate’s tissue specificity in carcinogenesis, i.e.,
only increasing the risk for MM and NHL.

The Wang, et al., (2019) study provides the first in vivo evidence to support that
glyphosate induces and promotes the disease progression to MM. The authors also
revealed a B cell-specific mutational mechanism for glyphosate exposure that increases
MM and NHL risk, providing a molecular basis for human epidemiological findings.

Roundup and Glyphosate Genotoxicity
Genotoxicity is the ability of a chemical to cause damage to genetic information, i.e., the
DNA in cells, thereby causing genetic mutations that may lead to cancer. There is strong
scientific evidence that glyphosate is genotoxic and that glyphosate-based formulations
such as Roundup cause oxidative stress capable of damaging DNA.

Genotoxic Agents, Additives and Inadequately Studied Chemicals
There are several such candidate substances in Roundup which are (a) unclassified by
regulatory agencies and/or (b) substances for which only limited data or no peer-reviewed
study data exists.

Such limitations make objective assessment very difficult as there is no single source of
authority or regulatory guidance upon which to draw. For example, in a European Food
Safety statement,88 POE-tallowamine caused positive carcinogenic findings in a number
of test systems. The consensus was that the likely causative basis was cytotoxicity (note
that POEA compounds are banned in Europe and other countries outside the U.S.). There
are also inconsistent results (depending on whose data is consulted) which note that an
“unidentified” glyphosate-based formulation proved to be cytotoxic in bone marrow.
However, tests of other formulations were negative.

Additionally, some substances only become carcinogenic when mixed with (or in the
presence of) other substances which include formulation impurities. The interactive
characteristics of such substances are not always clear. For instance, surfactant “C-6330”
(an ethoxlylated fatty amine used by Monsanto) is noted as being “very toxic to aquatic
organisms.” The MSDS for this surfactant actually says very little of practical use as its
composition is simply noted as “Proprietary.” Such obfuscation of labelling chemical



88 “Request for the evaluation of the toxicological assessment of the co-formulant POE-tallowamine,”

  European Food Safety Administration, November, 2015.
                           REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 44 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 43

components merely serves to confound the assessment process as one does not (and
cannot) know what is actually being assessed.

As previously noted, product ingredients can be examined individually when they are
identified. However, it is critically important to note that when combined, these ingredients
may have very different properties than the individual ingredients alone.

Studies Demonstrating Genotoxicity and Mutagenic Effects of Glyphosate
In the Bolognesi, et al., (1997) study,89 analytical grade glyphosate (99.9%) and a
Roundup formulation containing various surfactants and 30.4% glyphosate were tested
in the same battery of assays to investigate and compare genotoxicity measurements.
DNA damage was evaluated in terms of single-strand breaks and 8-
hydroxydeoxyguanosine (8-OHdG) quantification in the liver and kidney. The
chromosomal damage of the two pesticide preparations was evaluated in vivo in bone
marrow of mice as micronuclei frequency and in vitro in human lymphocyte culture as
SCE90 frequency.
The study found significant oxidative damage of DNA. Glyphosate induced “large and
significant” increases of 8-OHdG in the liver at 24 hours, but not in the kidney. Conversely,
treatment with Roundup resulted in a significant increase of 8-OHdG over the control in
the kidney but a nonsignificant increase in the liver.
A dose-dependent increase of cytogenetic damage, measured as SCE frequencies, was
found in human lymphocytes treated with glyphosate over the control. Furthermore, a
significant increment of the cytogenetic damage was evident in Roundup-treated
lymphocytes compared to the glyphosate alone. The higher toxicity of Roundup resulted
in the absence of mitotic cells above 0.33 mg/mL (333 PPM) and prevented the testing of
higher doses. At the highest concentration of Roundup tested, the SCE/cell ratio was
comparable to that obtained with a dose of glyphosate 10 times higher.
The in vivo bone marrow testing revealed an increase in micronuclei frequencies in all
groups of treated mice. In addition, a significant reduction in the PCE/NCE ratio was
evident in Roundup-treated mice showing target organ toxicity of the formulation.




89 Bolognesi, Claudia, et al., “Genotoxic activity of glyphosate and its technical formulation,” 1997, J.

  Agric. Food Chem. 45, 1957-1962.
90 Sister chromatid exchange.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 45 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 44

The higher activity of Roundup in inducing toxic and genotoxic damage suggests that the
co-formulants and/or surface active agents play a role in the potentiation of the effects of
glyphosate.
Kang, et al., (2008)91 found that in certain doses, glyphosate increases the micronucleus
rate in the bone marrow cells of mice and causes sperm abnormalities and deformations
in the heads of sperm. Roundup (41% glyphosate isopropylamine salt aqueous solution)
was orally administered in doses that were determined by the LD50:92 low (1/8 LD50= 580
mg//kg), medium (1/4 LD50= 1,160 mg//kg) and high (1/2 LD50= 2,320 mg//kg).

Using micronucleus testing,93 Kang, et al., found that a 2,320 mg/kg dose of Roundup
induced a marked increase in the bone marrow micronucleus rate in mice and exhibited
a dose-dependent relationship. This shows that glyphosate has a significant mutagenic
effect on the production of bone marrow cells in mice.

Also, the sperm abnormality rates in the glyphosate 1,160 and 580 mg/kg dose groups
were significantly higher than in the negative control group (P<0.01 , P<0.05). There was
a dose-dependent relationship between exposure doses and sperm abnormality rates.

The authors conclude that glyphosate had a definite effect on both sperm counts and on
the reproductive organs suggesting that glyphosate is mutagenic to the cells in mammals,
damages sperm in mice and has the potential to cause mutations in male reproductive
cells.

A study94 on the role of agrochemicals in genotoxic damage used biomonitoring and
environmental monitoring and examined biomarkers and other indicators of genetic
damage in 30 pesticide applicators as compared to a reference sample of unexposed
individuals. Exposures were noted to occur during the mixing and loading as well as the
spraying of pesticide. The scientist behind the study noted that while applicators are
known to work with a wide variety of chemicals in different formulations, glyphosate, in

91 Kang, JF, et al., “Study on mutagenesis induced by glyphosate in mice,” 2008, Carcinogenesis,

  Teratogenesis & Mutagenesis, Vol. 20(3), pp. 227-320.
92 LD stands for "Lethal Dose." LD50 is the amount of a material, given all at once, which causes the

  death of 50% (one half) of a group of test animals.
93 Micronucleus testing of polychromatic erythrocytes in the bone marrow of mammals is a method of

  detecting chromosome damage and mutations in the body and chemical toxicity interfering with cellular
  mitosis.
94 Aiassa, D. et al., “Evaluation of genetic damage in pesticides applicators from the province of Cordoba,

  Agentina,” 2019, Environmental Science and Pollution Research, Vol. 26(20), pages 20981-20988. doi:
  10.1007/s11356-019-05344-2. Epub 2019 May 21.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 46 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 45

Argentine toxicological classification, is considered category IV; the lowest. Glyphosate
can, therefore, be sprayed at less than 500 meters from homes and is cleared to be
handled by applicators with minimal health protective measures.

The genotoxicity study revealed that, compared to the reference sample, pesticide
applicators showed significant increase in DNA fragmentation, micronuclei formation and
chromosome aberrations – chromatids and chromosome gaps, acentric fragments,
chromosome and chromatids breaks and end reduplications. Further reporting by the
applicators noted that 37% suffered from headaches and eye irritation during spraying
and afterwards; 27% had respiratory allergies and/or skin reactions; 10% suffered
digestive symptoms and 13% reported acute intoxication at least once after work.

A very recent study by Wozniak et al.,95 published in 2018, incubated human peripheral
blood mononuclear cells (PBMCs) for 24 hours in the formulation Roundup 360 PLUS,
glyphosate and its metabolite aminomethylphosphonic acid (AMPA). The study assessed
the impact on DNA damage at concentrations of the tested chemicals ranging from 1 to
1000 μM. The Roundup formulation caused DNA damage (single strand breaks, double
strand breaks, ALS formation, DNA lesions) even at concentrations as low as 5 μM and
glyphosate and AMPA caused DNA lesions at concentrations of 250 μM and 500 μM,
respectively. The amount of DNA damage caused by the chemicals increased from AMPA
to glyphosate to Roundup 360 PLUS with Roundup causing DNA damage at
concentrations 50 times lower than glyphosate. The DNA strand breaks induced at 10
μM application of Roundup were not repaired after incubation with PBMCs (incubation
with PBMCs were shown to significantly repair DNA damage at 5 μM Roundup, 250 μM
glyphosate and 500 μM AMPA). This underlined the point that glyphosate formulations
are more toxic than glyphosate itself. The study also proposed that the damage occurred
through oxidative reactions.

Another recent study of Suarez-Larios, et al., (2017) reveals a genotoxic mode of action
for glyphosate pesticides. The investigation was undertaken by Suarez-Larios, et al.,96 to
determine whether or not exposure to pesticides would induce double-strand breaks
(DSB) in cells (a lesion related to the formation of chromosomal rearrangements and
increased leukemia risk). Of the eight pesticides tested (endosulfan, glyphosate,

95 Wozniak, E., et al., “The mechanism of DNA damage induced by Roundup 360 PLUS, glyphosate and

  AMPA in human peripheral blood mononuclear cells – genotoxic risk assessment,” 2018, Food and
  Chemical Toxicology, doi: 10.1016/j.fct.2018.07.035
96Suarez-Larios, K., et al., “Screening of pesticides with the potential of inducing DSB and successive

  recombinational repair,” 2017, Journal of Toxicology.
                             REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
        Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 47 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 46

pentachlorophenol, permethrin, propoxur, AMPA, endosulfan lactone and paraoxon), four
showed a significant effect on the number of cells with double-strand breaks. However,
glyphosate and paraoxon (both organo-phosphates) showed the greatest increase in the
number of cells with double-strand breaks. Further, it was determined that glyphosate
and paraoxon reduced the number of viable cells in a dose-dependent manner;
specifically, going from 100% cell viability to 70% with glyphosate. Not only did these two
pesticides induce greater breakage, they also induced the phosphorylation 97 of KU80, a
protein that participates in the c NHEJ recombinational repair pathway which is
responsible for repair of the cells when double-stand breaks occur.

It was further noted in the study that these effects occurred at low concentrations in an
acute treatment to cells in the laboratory setting. “Effects over longer exposure in actual
environmental settings are expected to produce cumulative damage if repeated events of
recombination take place over time.” In other words, the more often a cell is damaged by
glyphosate-induced breakage, the less likely the c NHEJ recombinational repair pathway
will be able to repair it. Thus, the linear approach required by the U.S. EPA methodology
is appropriate as the mode of action proposed by Suarez-Larios, et al., is not a threshold-
based genotoxic mechanism. Other studies indicate that glyphosate can act as an
endocrine disruptor98 and has tumor-promoting activity.99

In vivo observations of human populations exposed to Roundup have revealed
statistically significant outcomes demonstrating genotoxicity at low exposure levels100 as
well as in vivo studies of laboratory animals fed Roundup.101 These studies challenge



97   Phosphorylation plays a critical role in the regulation of cellular processes.
98   Gasnier, C., et al., “Glyphosate-based herbicides are toxic and endocrine disruptors in human cell
     lines,” 2009, Toxicology, Vol. 262, pp. 184 -191.
     Thongprakaisang, S., et al., “Glyphosate induces human breast cancer cells growth via estrogen
     receptors,” 2013, Food and Chemical Toxicology, doi: http://dx.doi.org/10.1016/j.fct.2013.05.057
99   George, J., et al., “Studies on glyphosate-induced carcinogenicity in mouse skin: A proteomic
     approach,” 2010, Journal of Proteomics, Vol. 73, pp. 951 – 964.
100 Paz-y-Miño, C., et al., “Evaluation of DNA damage in an Ecuadorian population exposed to

     glyphosate,” 2007, Genetics and Molecular Biology, 30(2).
     Bolognesi, C., et al., “Biomonitoring of genotoxic risk in agricultural workers from five Colombian
     regions: Association to occupational exposure to glyphosate,” 2009, Journal of Toxicology and
     Environmental Health, Part A, Vol. 72, pp. 986 -997.
101 Peluso, M., et al, “32P-postlabeling detection of DNA adducts in mice treated with herbicide roundup,”

     1998, Environmental and Molecular Mutagenesis. Vol. 31(1), pp. 55 -59. DOI: 10.1002/(SICI)1098-
     2280(1998)31:1<55::AID-EM8>3.0.CO;2-A
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 48 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 47

both animal and human systems providing in vivo doses of Roundup with resulting
genotoxicity.

Furthermore, the exposure was to the Roundup product itself, not merely the chemical
glyphosate. Additionally, these human cell studies present conditions with low dosing and
concentrations and are, therefore, in no way extreme cases or otherwise inapplicable.

In Lioi, M.B., et al., (1998),102 the authors studied the genotoxic activity of glyphosate103
in in vivo cultures of bovine lymphocytes using chromosome aberration (CA) and sister
chromosome exchange (SCE) frequencies as genetic endpoints and a variation of the
G6PD104 enzyme activity as a marker of changes in the normal cell redox state. The study
found a statistically significant increase of CAs, SCEs and G6PD activity in glyphosate-
exposed cultures when compared to controls.
Glyphosate produced a significant increase in the percentage and frequency of aberrant
cells (chromatid and isochromatid breaks). This clastogenic effect105 was accompanied
by a dose-dependent decreasing trend in cell proliferation.
In the cytoxicity study by Lioi, et al., (1998),106 the authors analyzed CAs, SCEs, mitotic
index (MI) and G6PD enzyme activity in human peripheral lymphocytes exposed to
glyphosate in vitro.107 Glyphosate induced a significant dose-related increase in the
percentage and frequency of CAs; an increase of SCE frequency was also observed. A
significant enhancement of G6PD enzyme activity was observed in the range of 8.5-51
μM glyphosate concentration. The study reported that the increase in the G6PD activity
in the glyphosate-exposed lymphocytic cultures strongly indicated the induction of a pro-
oxidant state of the cells as an initial response to exposure.




102 Lioi, M.B., et al., “Genotoxicity and oxidative stress induced by pesticide exposure in bovine

   lymphocyte cultures in vitro,” 1998, Mutation Research, Vol. 403, pp. 13–20.
103 Vinclozolin and DPX-E9636 were also included in this study.

104 Glucose 6-phosphate dehydrogenase

105 Causing breaks in chromosomes which result in sections of a chromosome being deleted or

   rearranged.
106Lioi, M.B., et al., “Cytogenetic Damage and Induction of Pro-Oxidant State in Human Lymphocytes

   Exposed In Vitro to Glyphosate, Vinclozolin, Atrazine and DPX-E9636,” 1998, Environmental and
   Molecular Mutagenesis, Vol. 32, pp. 39–46.
107 Vinclozolin, atrazine and DPX-E9636 were also included in this study.
                        REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 49 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 48

Duforestel M., et al., 2019,108 stated that cancer rarely occurs in response to one risk
factor. However, the known influence of glyphosate on estrogen-regulated pathway
makes it a logical target of investigation in breast cancer research. The authors reference
Thongprakaisang, et al., 2013, which reported that glyphosate induced the proliferation
of human breast cancer cells via an impact on estrogen receptors. This observation is
supported by several other studies demonstrating that glyphosate can affect the activity
of estrogen receptor alpha (ERa) and certain phenotypes of ERa positive cells within
breast cancer cell populations (Mesnage et al., 2017; De Almeida et al., 2018; Sritana et
al., 2018).

Duforestel, et al., also presents evidence that glyphosate induces global DNA
hypomethylation (i.e., overall decrease of 5-methylCytosine (5mC) in the epigenome) in
non-neoplastic mammary epithelial MCF10A cells and contributes to tumorigenesis in a
“two-hit oncogenic model.” Their data also uncovers a specific DNA hypomethylation
signature of genes (i.e., local DNA hypomethylation) related to the TET3 pathway that
might be used as an epimark of glyphosate exposure.

Glyphosate also triggered a significant reduction in DNA methylation as shown by the
level of 5-methylcytosine DNA. Glyphosate triggered increased activity of ten-eleven
translocation (TET). Combining glyphosate with enhanced expression of microRNA (miR)
182-5p associated with breast cancer induced tumor development in 50% of mice.

 Culture of primary cells from resected tumors revealed a luminal B (ER+/PR-/HER2-)
phenotype in response to glyphosate-miR182-5p exposure with sensitivity to tamoxifen
and invasive and migratory potentials. Tumor development could be prevented either by
specifically inhibiting miR 182-5p or by treating glyphosate-miR 182-5p-cells with
dimethyloxallyl glycine, an inhibitor of TET pathway. Looking for potential epigenetic
marks of TET-mediated gene regulation under glyphosate exposure, they identified
MTRNR2L2 and DUX4 genes, the hypomethylation of which was sustained even after
stopping glyphosate exposure for 6 weeks.

The low pressure but sustained DNA hypomethylation occurring via the TET pathway
primes cells for oncogenic response in the presence of another potential risk factor, such


108 Duforestel M., et al., “Glyphosate Primes Mammary Cells for Tumorigenesis by Reprogramming the

  Epigenome in a TET3-Dependent Manner,“ 2019, Front. Genet. 10:885.
  doi:10.3389/fgene.2019.00885
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 50 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 49

as glyphosate. These results warrant further investigation of glyphosate-mediated breast
cancer risk.

A study by Stur, et al., 2019,109 analyzed the effects of Roundup and AMPA110 on gene
expression in triple negative BC cells. The authors identified gene expression changes in
MCF-7 and MDA-MB-468 breast cancer cells after a short exposure time to low
concentrations of Roundup Original and AMPA. The results showed that at low
concentration (0.05% Roundup) and short exposure (48 hours), both cell lines suffered
deregulation of 11 canonical pathways, the most important being cell cycle and DNA
damage repair pathways. Enrichment analysis showed similar results except that MDA-
MB-468 altered mainly metabolic processes. In contrast, 48 hour 10mM AMPA showed
fewer differentially expressed genes but mainly related with metabolic processes
indicating that that AMPA is less toxic than Roundup.

Their findings suggest that Roundup affects survival due to cell cycle deregulation and
metabolism changes that may alter mitochondrial oxygen consumption, increase ROS
levels, induce hypoxia, damage DNA repair, cause mutation accumulation and ultimately
cell death. They concluded that both compounds can cause cellular damage at low doses
in a relatively short period of time in these two models, mainly affecting cell cycle and
DNA repair.

 “…we can conclude that Roundup, at much lower doses than the ones used in
agriculture, was able to deregulate important intracellular pathways in ER+ and triple
negative BC cell lines, showing that glyphosate’s effect on cells is not exclusive to the ER
pathway.”

A 2018 study by De Almeida, et al.,111 explored the effects of glyphosate, Roundup and
another glyphosate-based herbicide in ER+ and ER- BC cell lines. Their results showed
that these compounds can cause DNA damage at low concentrations and short exposure.




109 Stur, E., et al., “Glyphosate-based herbicides at low doses affect canonical pathways in estrogen

   positive and negative breast cancer cell lines,” 2019, PLoS One., Vol. 14(7): e0219610. Published
   online 2019 Jul 11. doi: 10.1371/journal.pone.0219610
110 AMPA is a metabolite of glyphosate.

111De Almeida et al., “Moderate levels of glyphosate and its formulations vary in their cytotoxicity and

   genotoxicity in a whole blood model and in human cell lines with different estrogen receptor status,”
   October 2018, Biotech, Vol. 8(10).
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 51 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 50

In Peixoto’s 2005 study,112 the potential toxicities of glyphosate and Roundup were tested
in isolated rat liver mitochondria. The author determined the effects of Roundup and
glyphosate on succinate-dependent respiratory indexes RCR and ADP/O of rat liver
mitochondria. The data obtained clearly demonstrate the ability of Roundup to impair
mitochondrial bio-energetic reactions. It was found that Roundup not only decreases the
depolarization and repolarization amplitude induced by ATP, but also lengthens the “lag
phase” prior to repolarization. Conversely, glyphosate alone does not show any relevant
effect on the mitochondrial bioenergetics. Peixoto concluded that the observed alterations
in mitochondrial bio-energetics caused by Roundup cannot be exclusively attributed to
the active ingredient but may as well be the result of other chemicals (i.e., POEA) or due
to the possible synergy between glyphosate and Roundup formulation products.

Prasad Study: Chromosomal Aberrations and Micronuclei in Bone Marrow Cells
Studies by Prasad, et al.,113 examined the genotoxic effects of glyphosate as formulated
in Roundup™ which contains the active ingredient, glyphosate (>41) SL (IPA salt) as
purchased from Monsanto India, Ltd.
Chromosomal aberrations and micronuclei in bone marrow cells of Swiss albino mice
were measured following a single intraperitoneal (i.p) dose of Roundup™ with glyphosate
doses levels at 25 and 50 mg/kg body weight. A positive control group received a single
dose of the mutagenic carcinogen benzo(a)pyrene ((B(a)P) at 100 mg/kg body weight in
a 0.2 ml dimethyl sulfoxide (DMSO) vehicle. Control and experimental animals received
the same DMSO (i.p.) vehicle dosage.
Sixty (60) animals were divided into four groups of 15 animals each in two sets. The
animals in Group I were used as a control group with DMSO only. The animals of Group
II served as the positive control receiving the B(a)P. Animals in Groups III and IV received
a single i.p. dose of glyphosate (diluted appropriately in DMSO) at either 25 or 50 mg/kg
body weight, respectively.
Animals from all the groups were sacrificed at sampling times of 24, 48 and 72 hours and
their bone marrow was analyzed for cytogenetic and chromosomal damage.
Glyphosate treatment significantly increased (p<0.05) chromosomal aberrations and
micronuclei in bone marrow cells. Both treatments and time were compared with the

112Peixoto, Francisco. “Comparative Effects of the Roundup and Glyphosate on Mitochondrial Oxidative

   Phosphorylation.” Chemosphere, vol. 61, no. 8, 2005, pp. 1115–1122.,
   doi:10.1016/j.chemosphere.2005.03.044.
113 Prasad, et al., “Clastogenic Effects of Glyphosate in Bone Marrow Cells of Swiss Albino Mice,” 2009,

   Journal of Toxicology, Volume 2009, Article ID 308985, doiaO.l 155/2009/308985.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 52 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 51

vehicle control and were significantly different (P<.05). The cytotoxic effects of glyphosate
were also evident as observed by a significant decrease in mitotic index (MI).
Review of Table 1 /Figure 2 reveals a consistent dose-response relationship among both
the 25 and 50 mg/kg body weight doses at each time interval. It is also noteworthy that in
the low (25 mg/kg body weight dose group) 72 hours after dosing, the rate of
chromosomal aberrations was increased by a factor of 4.3 (7.76/1.8 = 4.3).
The authors concluded that the results indicate that glyphosate is clastogenic (a
mutagenic agent) and cytotoxic to mouse bone marrow. The authors also state “For
instance, the induction of DNA damage can potentially lead to adverse reproductive
outcomes, the induction of cancer...” With respect to reliability, the study also states
“Arguably, the most reliable genotoxicity evaluation for human health risk is conducted in
mammals by the induction of chromosomal aberrations and micronuclei. In this regard,
particular attention is focused on chromosomal aberrations because these are considered
as early warning signals for neoplastic development.”114
A comparison of the dosing in the mice in the above study by Prasad, et al., (2009) to that
of Roundup applicators exposed at the AOEL of 0.1 mg/kg body weight can be carried
out using the generally-accepted Human Equivalent Dose (HED) methodology. This
calculation is important in understanding the range of exposure dose in the animal as
compared to a reasonable range of what a human may be exposed to. For example,
some animal studies employ doses thousands of time higher than that experienced by
actual human applicators of glyphosate.
Interspecies allometric scaling for dose conversion from animal-to-human is a method
wherein the exchange of drug dose is based on normalization of dose to body surface
area. The methodology requires the consideration of body surface area, pharmaco-
kinetics and physiological time.
This approach assumes that there are some unique characteristics of the anatomical,
physiological and biochemical processes among species. The possible difference in
pharmacokinetics/physiological time is accounted for by allometric scaling.



114 Bonassi, et al., “Are chromosome aberrations in circulating lymphocytes predictive of future cancer

   onset in humans? Preliminary results of an Italian cohort study,” 1995, Cancer Genetics and
   Cytogenetics, Vol. 79, No. 2, pp. 133-135; Hagmar, et al., “Chromosomal aberrations in lymphocytes
   predict human cancer: a report from the European study group on cytogenetic biomarkers and health
   (ESCH),” 1998, Cancer Research, Vol. 58, No. 18, pp. 4117-4121 in Prasad, et al., “Clastogenic
   Effects of Glyphosate in Bone Marrow Cells of Swiss Albino Mice,” 2009, Journal of Toxicology,
   Volume 2009, Article ID 308985, doiaO.l 155/2009/308985.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 53 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 52

This method is frequently used in research for experimental purposes to predict an
approximate dose on the basis of data existing in other species. Table 14 contains an
excerpt from Nair and Jacob, 2016, which uses data from U.S. FDA guidelines. 115,116

                                      Table 14
            Human Equivalent Dose Calculation Based on Body Surface Area


                                                        To convert dose     To convert dose in mg/kg to
            Reference         Working         Body        in mg/kg to          HED* in mg/kg, either
              Body          weight range     surface     dose in mg/m2,     Divide Multiply animal dose
 Species    Weight (kg)         (kg)        area (m2)    multiply by Km           animal dose by
 Human           60                           1.62             37
  Mouse         0.02         0.011-0.034      0.007             3              12.3           0.081

                                    *HED: human equivalent dose


Applying the HED results in a dose of 2.0 mg/kg/body weight that is in a reasonable range
of human dermal exposure compared to the AOEL of 0.1 mg/kg/body weight.
In the Prasad, et al., (2009) study, animals dosed at only 25 mg/kg body weight revealed
a 4.3-fold increase in chromosomal aberrations at the 95% level of confidence (p<0.05).
It should also be noted that the test animals in this study underwent nearly 100% systemic
absorption using the i.p. route of administration, thus, the application of the HED provides
a reasonably accurate human dose estimate. The current “acceptable operator exposure
level” (AOEL) for glyphosate (0.1 mg/kg body weight). Thus, the Prasad, et al., (2009)
study was not conducted at extreme (high) dose levels, but rather, at dose levels not too
far off from that encountered by glyphosate applicators.

Genotoxicity of Roundup, Glyphosate and POEA/Tallowamine (POEA) in Fish:
In a study done on the effects of Polyoxyethylene Amine (POEA) on genotoxic,
biochemical and physiological parameters of the freshwater teleost Prochilodus lineatus,
a comet assay was used to analyze DNA damage in blood cells, indicating the
genotoxicity of POEA at all concentration tested. The results of their study showed that
POEA can cause effects such as hemolysis, DNA damage and lipid peroxidation, which

115 U.S. FDA, “Guidance for Industry: Estimating the Maximum Safe Starting Dose in Adult Healthy

  Volunteers,” 2005, Rockville, MD: US Food and Drug Administration.
116 Nair AB, Jacob S., “A simple practice guide for dose conversion between animals and humans,” 2016,

  J Basic Clin Pharma, Vol. 7, pp. 27-31.
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 54 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 53

are directly related to an imbalance in the redox state of the fish. Studies of acute
exposure of P. lineatus to Roundup also found liver catalase activity inhibition. This
suggests that both formulated Roundup and POEA interfere with the antioxidant defenses
in fish. This study concluded that some of the effects observed after the fish were exposed
to glyphosate-based herbicides may be related to the addition of POEA. The following
damages occurred: hemolysis, DNA damage, lipid peroxidation. They concluded
exposure to POEA generates a condition of oxidative stress in fish.117

In a study by Marques, et al., titled “Progression of DNA damage induced by a glyphosate-
based herbicide in fish (Anguilla anguilla) upon exposure and post-exposure periods —
Insights into the mechanisms of genotoxicity and DNA repair” by Marques, et al., the
authors aimed to improve the knowledge on the progression of DNA damage upon short-
term exposure and post-exposure to Roundup. They evaluated DNA damage in hepatic
cells via comet assays. They found that the liver cells of fish exposed to the lowest
concentration of Roundup displayed significantly lower NSSFPG levels118 compared to the
control. After absorbing the herbicide, the fish cells responded by enhancing its DNA
repair capacity and/or mobilizing the antioxidant system as a response to ROS over-
generation, reducing the cell vulnerability towards oxidative damage that was induced by
the glyphosate. The results are evidence of a pro-oxidant status induced by Roundup and
its potential to oxidatively damage DNA. In conclusion, they found DNA repair machinery
was shown to be susceptible to inhibitory actions during the exposure period. The DNA
repair enzymes seem to be susceptible to inhibitory actions associated with higher levels
of Roundup constituents/metabolites.119

In a study conducted on the toxicity ranking and toxic mode of action for commonly used
agricultural adjuvants, Ethoxylated tallow alkylamine was the most toxic compound
tested.120 A high toxicity after exposure to POEA had already been reported for several
species such as tadpoles and green algae. The results of this study showed membrane


117 Navarro, Claudia D.C., and Claudia B.R. Martinez. “Effects of the Surfactant Polyoxyethylene Amine

  (POEA) on Genotoxic, Biochemical and Physiological Parameters of the Freshwater Teleost
  Prochilodus Lineatus.” Comparative Biochemistry and Physiology Part C: Toxicology & Pharmacology,
  vol. 165, June 2014, pp. 83–90., doi:10.1016/j.cbpc.2014.06.003.
118 Unclear what NSS is; FPG is a DNA-lesion specific endonuclease.

119 Marques, A., et al., Progression of DNA Damage Induced by a Glyphosate-Based Herbicide in Fish

  (Anguilla anguilla) Upon Exposure and Post-exposure Periods--Insights into the Mechanisms of
  Genotoxicity and DNA Repair. Comp Biochem Physiol C Toxicol Pharmacol. 2014 Nov; 166:126-33.
  doi: 10.1016/j.cbpc.2014.07.009. Epub 2014 Aug 9.
120 Other compounds tested include AE, tri-EO, EO FA and EO NP, and gamma-butyrolactone.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 55 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 54

damage after exposure to POEA and illustrates severe effects of DNA damage with the
induction of bacterial SOS responses indicating possible genotoxicity for POEA.121

In a report done on the effects of surfactants on the toxicity of glyphosate, with specific
reference to RODEO, possible mechanisms by which Roundup surfactants might exert
biological effects or alter the toxicity of glyphosate included: decreasing surface tension,
perturbing membrane permeability or transport function of membranes or other diffusion
barriers, and interacting directly with glyphosate to alter its disposition. The authors
reference a study analyzing human poisoning cases by Sawanda, et al. (1998). This study
indicated that the acute LD50 of POEA was “less than one-third that of roundup and its
active ingredient”. Martinez and Brown (1991) indicated that POEA by itself had a LD50 of
1-2 g/kg. POEA is more toxic in alkaline water than in acidic water, thus the relative
potency of POEA with respect to glyphosate is pH dependent. In conclusion, POEA is
substantially more toxic than glyphosate, and there is a lack of evidence on specific
mechanisms of interactions between glyphosate and the surfactants. 122

Recent Genotoxic Study of Pesticides (2019)
In Aiassa, D., et al., “Evaluation of genetic damage in pesticides applicators from the
province of Cordoba, Argentina,” 2019,123 the authors conducted a descriptive-
correlational study to determine if occupational exposure to pesticides constitutes a factor
of genotoxic damage.

From the results of the many research studies from around the world that have provided
scientific evidence of a positive correlation between exposure time, doses and high
frequencies of these biomarkers, the authors found that the most common biomarkers
used to evaluate the genotoxic effect in human populations occupationally exposed to
pesticides are chromosomal aberrations (CAs), micronuclei (MN), sister chromatid
exchanges (SCEs) and DNA fragmentation.



121 Nobels, Ingrid, et al. “Toxicity Ranking and Toxic Mode of Action Evaluation of Commonly Used

   Agricultural Adjuvants on the Basis of Bacterial Gene Expression Profiles.” PLoS ONE, vol. 6, no. 11,
   18 Nov. 2011, doi:10.1371/journal.pone.0024139.
   https://journals.plos.org/plosone/article/file?id=10.1371/journal.pone.0024139&type=printable
122 Diamond, G. et al., “Effects of Surfactants on the Toxicity of Glyphosate, with Specific Reference to

   RODEO.” United States Department of Agriculture, 1997.
   https://www.fs.fed.us/foresthealth/pesticide/pdfs/Surfactants.pdf
123 Aiassa, D. et al., “Evaluation of genetic damage in pesticides applicators from the province of

   Cordoba, Argentina,” 2019, Environmental Science and Pollution Research, Vol. 26(20), pages:
   20981-20988. doi: 10.1007/s11356-019-05344-2. Epub 2019 May 21.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
          Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 56 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 55

This study consisted of 52 individuals: 30 pesticide applicators and 22 male referents with
no significant differences in lifestyle or diet between the two groups.124

The active ingredients of the most used pesticides were glyphosate, cypermethrin and
chlorpyrifos. It was not possible to determine the damage caused by each individual
pesticide because the applicators were exposed to complex mixtures of agrochemicals.
All applicators used ground-spraying machines. Twenty-three percent of pesticide
applicators did not wear any personal protection equipment during spraying and mixing;
17% wore gloves, glasses and masks; 23% wore gloves only; 37% wore gloves and
masks.

The genotoxicity tests performed in the pesticide applicators showed a significant
increase in the mean of CAs, MN and DNA fragmentation relative to the reference group.
The mean values for fragmentation of the DNA in the group of applicators was more than
10 times higher than those in the reference group (3,206 vs. 269). CAs, both with and
without gaps, exhibited a statistically significant increase in the exposed group compared
with the control group. Chromatid breaks and end reduplications were the two aberrations
that showed statistically significant differences between the two groups.

Modes of Action and Safety Considerations
Glyphosate can be applied both as a ground spray and as an aerial spray. It is used to
modify plant growth, speed up the ripening of fruit, applied as a ground spray for peanuts
and an aerial spray for sugarcane.125 Glyphosate is also sprayed directly on wheat just
prior to harvest as a consequence of a peculiar practice called “browning” or “desiccating.”

Glyphosate is absorbed by the leaves and stems of the plant and readily translocated
throughout. Specifically, glyphosate disrupts the shikimate acid pathway126 by inhibiting
the activity of a key enzyme (EPSP synthase) that is needed to form the essential amino




124 Of the six smokers in the exposed group, three smoked 10 cigarettes per day, one smoked 15 per day

   and two smoked 20 per day. Control group was non-smoking.
125 Id.

126 Williams, G. et al., “Safety evaluation and risk assessment of the herbicide Roundup and its active

   ingredient, glyphosate, for humans,” 2000, Regulatory Toxicology and Pharmacology, Vol.31, pp. 117 -
   165.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 57 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 56

acids.127,128,129 The shikimate acid pathway is a crucial process in all higher-order plants.
Thus, glyphosate will kill most plants. Glyphosate-resistant crops use an alternative
EPSP enzyme and are, therefore, specifically genetically engineered to withstand
extremely high levels of glyphosate without perishing. This metabolic process is also a
crucial one in many microorganisms, but it is not utilized directly by animals or humans.

Throughout the years, Monsanto has advertised and promoted the safety of their
Roundup products by claiming that the active ingredient, glyphosate, works by targeting
an enzyme found in plants but not in people or pets.

However, recent evidence suggests that glyphosate may disrupt the essential shikimate
process in bacteria, particularly the beneficial bacteria of the human intestinal tract.
Additionally, glyphosate has been shown to sporadically cause potent inhibitions in the
xenobiotic-metabolizing enzyme CYP2C9130 which is responsible for biotransformation,
metabolism and elimination of various toxic compounds from the body.131

A recent review by Samsel and Seneff (2013) hypothesized that glyphosate’s known
ability to disrupt the intestinal bacteria flora and to suppress a family of enzymes that play
an important role in detoxifying harmful chemicals could be contributing to a rise in
modern human diseases worldwide.132 Glyphosate has also been demonstrated to be
genotoxic and carcinogenic as discussed in detail.

Glyphosate (Roundup) Formulations: Chemical and Physical Information
Glyphosate is the declared active ingredient (DAI) in Monsanto’s Roundup herbicide
products; however, it is only one ingredient in the formulation and is almost never applied

127 Boocock, M. R., “Kinetics of 5-enolpyruvylshikimate-3-phosphate synthase inhibition by glyphosate,”

   1983, FEBS Letters 154, pp. 127-133.
128 Hollander, H., & Amrhein, N., “The site of the inhibition of the shikimate pathway by glyphosate,” 1980,

   Plant Physiol 66(5), pp. 823-829.
129 Schönbrunn, E. et al., “Interaction of the herbicide glyphosate with its target enzyme 5-

   enolpyruvylshikimate 3-phosphate synthase in atomic detail,” 2001, Proc Natl Acad Sci USA Feb 13;
   98(4), pp. 1376–1380.
130 Abass, K., Turpeinen, M., and Pelkonen, O. “An evaluation of the cytochrome P450 inhibition potential

   of selected pesticides in human hepatic microsomes,” 2009, Journal of Environmental Science and
   Health Part B, 44(6).
131Gueguen, Y. et al., “Cytochromes P450: xenobiotic metabolism, regulation and clinical importance,”

   2006, Ann Biol Clin (Paris) 64, pp. 535-548.
132Samsel, A. and Seneff, S., “Glyphosate's suppression of cytochrome P450 enzymes and amino acid

   biosynthesis by the gut microbiome: Pathways to modern diseases,” 2013, Entropy (15), pp. 1416-
   1463.
                             REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
        Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 58 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 57

in isolated form. Other substances (referred to as co-formulants) are added in order to
modify the physicochemical properties, thereby improving the efficacy of the glyphosate-
based formulation.133,134,135 Examples of co-formulants are spreaders, compatibility
agents, anti-foaming agents, drift retardants and surfactants.

The specific identities and the amounts of co-formulants in the herbicide formulations
have largely been kept confidential because they are considered by Monsanto as
proprietary data. Often, co-formulants are declared as “inert” as they do not act directly
on the intended target, i.e., the weed. Moreover, they historically have not been included
in either toxicity tests of pesticides on mammals for the establishment of their acceptable
daily intake (ADI) or in animal carcinogenicity studies.

Most glyphosate-based formulations (GBFs) contain the same three primary
ingredients: (1) glyphosate salt, (2) co-formulants (e.g. surfactants) and (3) inert
ingredients (e.g., “water”).136 Formulations differ from one another by the specific salt
included in the formulation and the amount and type of surfactants, other co-formulants
and inert ingredients.

Glyphosate-based formulation ingredients can be examined individually; however, one
must be mindful that the sum of these ingredients may have very different properties than
the individual ingredients alone.

The salt of glyphosate in a GBF is comprised of an organic base combined with
glyphosate. Glyphosate [N-(phosphonomethyl) glycine] is amphoteric (can act as either
an acid or a base) and is practically insoluble in organic solvents.137 Glyphosate as a
weak acid has a hydrogen ion held to a phosphorous group by a weak electrostatic
charge. By replacing this hydrogen ion with a different cation (organic base), herbicide
manufacturers are able to make a more water-soluble glyphosate salt. Isopropylamine


133 Defarge, N. E., “Co-formulants in glyphosate-based herbicides disrupt aromatase activity in human

      cells below toxic levels,” 2013, Int J Environ Res Public Health. 13(3), pp. 264.
134 Nobels, I. et al., “Toxicity ranking and toxic mode of action evaluation of commonly used agricultural

      adjuvants on the basis of bacterial gene expression profiles,” 2013, PLoS ONE 6, pp. 264.
135 Haefs R. et al., “Studies on a new group of biodegradable surfactants for glyphosate,” 2002, Pest

      Manag. Sci. 58, pp. 825–833.
136                     Confidential draft. “Clustering glyphosate formulations with regard to the testing for
      dermal uptake,” 2001. (Tab 15; see also MONGLY01839476 for draft of this document.)
137 Williams, G. et al., “Safety evaluation and risk assessment of the herbicide Roundup and its active

      ingredient, glyphosate, for humans,” 2000, Regulatory Toxicology and Pharmacology, Vol.31, pp. 117 -
      165.
                             REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
          Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 59 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 58

(IPA) is the organic base that is most commonly used in Roundup-formulated
products.138,139 This cation is also bound by a weak electrostatic charge and may not
stay with the glyphosate acid; once it is added to water by the applicator, it can be easily
replaced by other positively charged ions from the water.140

Thus, the glyphosate that is working in the plant is usually not associated with the original
salt.141 The specific salt used in the formulation may not significantly impact herbicide
performance. The glyphosate concentration in the final formulation will depend on the salt
used as each salt has a different molecular weight. A lighter salt will result in a higher
glyphosate concentration.142

Several salt types have been used to formulate glyphosate products including
isopropylamine (IPA), ammonium, sodium and potassium glyphosate salts143 (see Table
15). Glyphosate isopropylamine salt is the one most commonly used in Roundup-
formulated products144 and commonly used in all glyphosate-based products.145

                                                    Table 15
            Properties of Glyphosate and Common Salts of Glyphosate in Roundup146

                                          Solubility in        MW
       Herbicidal Agent                   water (g/L)         (g/mol)           Molecular Formula

                                          pH 1.9: 10.5                   C3H8NO5P or
       Glyphosate acid                                        169.07
                                          pH 7.0: 157                    HOOCCH2NHCH2PO(OH)2


138 Id.

139                     Confidential draft. “Clustering glyphosate formulations with regard to the testing for
      dermal uptake,” 2001. (Tab 15; see also MONGLY01839476 for draft of this document.)
140 Interactions between glyphosate and calcium salts found in water are the primary reason for adding

      AMS to the spray tank. (http://www.weeds.iastate.edu/mgmt/2001/glyphosateformulations.htm)
141                    , Confidential draft. “Clustering glyphosate formulations with regard to the testing for
      dermal uptake,” 2001. (Tab 15; see also MONGLY01839476 for draft of this document.)
142 The active ingredient concentration in a GBF is specified as a glyphosate equivalent or an acid

      equivalent (a.e.) referring to the free form of the acid. This allows for comparability between
      formulations.
143                    , Confidential draft. “Clustering glyphosate formulations with regard to the testing for
      dermal uptake.” 2001. (Tab 15; see also MONGLY01839476 for draft of this document.)
144 Giesey, J. P., Dobson, S., & Solomon, K. R., “Ecotoxicological risk assessment for Roundup

      herbicide,” 2000, Rev. Environ. Contam. Toxicol. 167, pp. 35-120.
145 U.S. EPA, “Registration eligibility decision-Facts: Glyphosate,” 1993, United States Environmental

      Protection Agency, Prevention, Pesticides and Toxic Substances (7508W), EPA-738-F-93-011.
146 http://npic.orst.edu/factsheets/archive/glyphotech.html
                             REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 60 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 59


    Glyphosate Potassium salt                 900a            207.16      C3H7KNO5P

    Glyphosate Ammonium salt                  300a            186.11      C3H11N2O5P

    Glyphosate Sodium salt                    500a            191.06      C3H7NNaO5P

    Glyphosate Isopropylamine             pH 7.0: 900                     C6H17N2O5P or
                                                              228.19
    salt (IPA)                            pH 4.1: 786                     C3H9N - C3H8NO5P
          a
              From “Managing Glyphosate. Performance of different salts and adjuvants.” Grants Research
              and Development Corporation. GRDC Project code ICN00016.


Aside from the organic base and the salt used, the other major difference between
glyphosate-based formulations is the inclusion of co-formulants. Some co-formulants are
“pre-loaded” or included by Monsanto in the GBF while others, called adjuvants, are
added by the end user to modify the herbicide to the particular situation in which it is
being used.147

Adjuvants are not added to the GBF by the manufacturer mainly because different types
of crops may require different types of adjuvant, e.g., certain crops are sensitive to oils,
some are difficult to wet, etc. Thus, herbicide manufacturers avoid limiting the
application of a given herbicide to only one crop or situation.

As an example of adjuvant use, the addition of ammonium sulfate (AMS) and water
conditioners have been shown to significantly improve weed control with glyphosate.
Water in some regions contains excessive amounts of salts including calcium,
magnesium, iron and sodium, and these salts bind to glyphosate and reduce its
absorption and solubility. The sulfate component of AMS is negatively charged and will
bind to positively charged salts so that they cannot reduce the activity of glyphosate.
Other commonly used adjuvants include emulsifiers, dispersants, stabilizing agents,
compatibility agents, buffering agents, anti-foam agents, spreader-stickers, drift
retardants and surfactants.




147 The terms “co-formulants” and “adjuvants” are sometimes used interchangeably in the literature. A fact

   sheet form Cornell University states, “A pesticide adjuvant is broadly defined as any substance added
   to the spray tank, separate from the pesticide formulation that will improve the performance of the
   pesticide. Sometimes adjuvants are more narrowly defined as a substance added to a pesticide
   mixture to improve its physical qualities and, hence, its effectiveness.”
   http://psep.cce.cornell.edu/facts-slides-self/facts/gen-peapp-adjuvants.aspx
                           REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 61 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 60

Some GBFs may contain a greater percentage of co-formulants than glyphosate salt.
These are listed simply as “Other Ingredients” on the label. For example, the label on
Roundup Original Max herbicide, which contains a proprietary surfactant, reads


    ACTIVE INGREDIENT
      Glyphosate N (phosphonomethyl) glycine,
      in the form of its potassium salt ............................................................... 48.7%
      OTHER INGREDIENTS .......................................................................... 51.3%
                                                                                                     100%


The most commonly pre-loaded co-formulants used in herbicides are surfactants.
Surfactants are complex chemicals that facilitate and accentuate the emulsifying,
dispersing, spreading, wetting or other surface-modifying properties of aqueous solutions.
For example, waxes on plant leaves are lipophilic and chemically non-polar and thus
repel water while herbicides such as glyphosate are highly hydrophilic and chemically
polar.

Adding surfactants will significantly increase how well glyphosate spreads on and enters
leaf surfaces. A surfactant can also reduce the amount of glyphosate washed off of plants
by rain. Surfactants in herbicides vary greatly in their nature and concentration and are
added to increase the absorption rate of the acid into the plant’s leaf and stem tissue.
Sometimes a combination of surfactants is used in one glyphosate formulation. The most
prevalently used surfactants in herbicides contain POEA (Polyoxyethylene alkylamine).

The co-formulants in a GBF (individually or in combination with one another) can have a
profound toxicological effect on a non-target organism. Some of these co-formulants may
synergistically attenuate the negative effects of glyphosate, or as in the case of
surfactants which can increase dermal absorption, may simply increase glyphosate’s
systemic exposure. Surfactants, as well as other co-formulants, are particularly important
with respect to a risk assessment and are, therefore, discussed in detail later in this report.

Roundup is offered in dry or aqueous formulations at various concentrations. Glyphosate
is commonly formulated with water at 2.13 M (356 g/L free acid) or as an isopropylamine
salt 480 g/L.148 The ethoxylated tallowamine (POEA) surfactant in Roundup Classic is

148 Williams, G. et al., “Safety evaluation and risk assessment of the herbicide Roundup and its active

   ingredient, glyphosate, for humans,” 2000, Regulatory Toxicology and Pharmacology, Vol.31, pg. 117 -
   165.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
          Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 62 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 61

designated by Monsanto as MON 0818149 with a concentration that is typically reported
as approximately 15% of the formulation weight to volume or 150 g/L.150,151,152,153

Toxicological Considerations of Exposure and Dose
In assessing exposure, toxicologists examine how humans come into contact with
chemicals, the amount of the chemical that enters the body (absorbed dose) as a result
of contact and how these amounts change over time (pharmacokinetics). The goal of the
exposure assessment is to quantify the amounts over various time periods. The
quantitative expression of those amounts is referred to as dose. Thus, dose is the
measurement needed to quantify a chemical’s risk of toxicity. Therefore, the first goal of
any exposure assessment is to objectively establish dose. With respect to human doses
associated with NHL, the human epidemiological studies have used duration of exposure
as the dose metric rather than blood or urine samples measuring glyphosate or its
metabolite in units of mg/kg body weight.

Systemic Dose
When a person is exposed to a chemical such as glyphosate, the dose physically
contacting the body is referred to as the “exposure dose.” This is different from the
“systemic dose” which enters the bloodstream and reaches various organs within the
body. (For example, bone marrow where stem cells associated with the development of
NHL are located).

Systemic dose is typically only a portion of the exposure dose and is identified through
pharmacokinetic (PK) or chemical disposition studies that can trace the fate of a chemical
after it enters the body. Pharmacokinetic studies investigate the amount of a chemical
absorbed by the body, how the chemical is distributed throughout the body to specific
tissues, how the chemical is metabolized and finally, how a compound is excreted from



149 Monsanto response to the concern of the Slovenian authorities on the composition of the Plant

   Protection Product MON 79376 (360 g/ 1 glyphosate) and the surfactant MON 59117 (CAS n ° 68478-
   96-6). MONGLY02817577.
150 Id.

151 Diamond, G., Durkin, P., “Effects of surfactants on the toxicity of glyphosate with specific reference to

   RODEO,” 1997, Syracuse Research Corporation, SERA TR 97-206-1b.
152 Giesey, J. P., Dobson, S., & Solomon, K. R., “Ecotoxicological risk assessment for Roundup

   herbicide,” 2000, Rev. Environ. Contam. Toxicol. 167, pp. 35-120.
153 Defarge, N. E., “Co-formulants in glyphosate-based herbicides disrupt aromatase activity in human

   cells below toxic levels, 2016, Int J Environ Res Public Health, Vol. 13(3), pp. 264.
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 63 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 62

the body. This is commonly known as ADME (absorption, distribution, metabolism and
excretion).

ADME data is applied in conjunction with epidemiological and occupational exposure
studies that have included biomonitoring and dosimetry for use in the human health risk
assessment process. Thus, pharmacokinetic studies provide a necessary link between
estimates of exposure, toxicity studies and estimates of human risk. It is, therefore,
imperative that these studies are designed, conducted and interpreted accurately.

Routes of Exposure
The route of exposure controls how a chemical is absorbed into the body. The primary
routes by which potential toxins become absorbed into a person’s system are (a)
ingestion, (b) inhalation and (c) dermal absorption.

Ingestion
Ingestion of herbicides may be intentional (as in suicides and poisonings) or unintentional
through the consumption of residue-laden foods. In the current matter of assessing
exposure in operator use, intentional ingestion is not considered since it will contribute
negligibly to the overall exposure.

Inhalation
Since the vapor pressure of glyphosate is very low (9.8x10-8 mm Hg or 1.31X10-2 mPa at
25°C),154 inhalation during mixing and preparation of an herbicide is typically not a
significant contributor to exposure unless an aerosol is produced. Thus, inhalation during
spray application of the herbicide can be a factor. Such exposure depends mainly on
droplet size of the spray and the equipment used for spraying. Different nozzle types
(often modified by farmers to increase discharge) will generate different volumetric droplet
size distributions. Lesmes-Fabian, et al., found that for the standard discharge nozzle as
used in their study, approximately 5% of the total volume of droplets was smaller than
100 μm.155 In dry climates, droplets less than 100 μm are subject to evaporation and are
respirable.




154 National Toxicology Program, U.S. Department of Health and Human Services.

155 Lesmes-Fabian, C., Garcia-Santos, G., Leuenberger, F., Nuyttens, D., & Binder, C. R, “Dermal

  exposure assessment of pesticide use: The case of sprayers in potato farms in the Colombian
  highlands,” 2012, Science of the Total Environment, 430, pp 202-208.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 64 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 63

Dermal Absorption
For occupational users such as applicators, home garden users and farmers, a key
determinant of a person’s exposure is how the herbicide is actually handled and/or
applied.156 Dermal exposure will occur throughout the mixing, loading and application of
herbicides as well as through re-entry (i.e., handling stems, leaves or soil after herbicide
treatment).
Studies have found that workers performing the common farm task of “thinning” are more
exposed to pesticides than, for example, workers who are harvesting or pruning.157,158
One study159 found a higher level of pesticides in the house and vehicle dust of the
thinning workers. Additionally, their children revealed higher urinary pesticide metabolite
concentrations which showed evidence of a “take-home pesticide pathway.”160 The same
study showed that workers in apple or pear crops had higher pesticide metabolite
concentrations than those who worked in peach, cherry or grape crops.161
Mechanisms of Absorption
Farmers, forestry workers, home gardeners and landscapers are primarily exposed to
herbicide chemicals through dermal contact during mixing, loading or application of the
glyphosate formulation as well as through re-entry. Therefore, with respect to
occupational exposure, the skin is the predominant route by which glyphosate enters the
human body.

The Dermal Barrier
Human skin is a complex organ consisting essentially of two layers: a thin, outermost
layer called the epidermis and a much thicker under-layer called the dermis. It is the outer
layer of the epidermis, known as the stratum corneum (SC), that provides the primary

156 Curwin, B.D. et al., “Urinary and hand wipe pesticide levels among farmers and non-farmers in Iowa,”

   2005, Journal of Exposure Analysis and Environmental Epidemiology, Vol. 15, pp. 500–508.
157 de Cock, J. et al., “Determinants of exposure to captan in fruit growing,” 1998, Am Ind Hyg Assoc J 59,

   1998a, pp. 166–172 and 1998b, pg. 158-165.
158 Simcox, N.J. et al., “Farmworker exposure to organophosphorus pesticide residues during apple

   thinning in central Washington State,” 1999, Am Ind Hyg Assoc J 60, pp. 752–761.
159 Coronado, GD, Thompson, B, Strong, L, Griffith, WC, and Islas, I., “Agricultural task and exposure to

   organophosphate pesticides among farm workers,” 2004, Environ Health Perspect 112, pp.142–147.
160 The take-home pesticide pathway is the pathway that children and spouses of agricultural workers are

   exposed through. (Hyland, C. and Ouahiba Laribi, Q., “Review of take-home pesticide exposure
   pathway in children living in agricultural areas,” 2017, Environmental Research. Volume 156, pp. 559–
   570.)
161 Coronado, GD, et al., “Organophosphate pesticide exposure and work in pome fruit: Evidence for the

   take-home pesticide pathway,” 2006, Environ Health Perspect 114 (7), pp. 999-1006.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 65 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 64

protective barrier function of the skin. This barrier is largely responsible for resisting the
entry of foreign agents into the human body.

The stratum corneum is primarily composed of non-living cells, or corneocytes, in a brick
and mortar type system of lipid matrix. Corneocytes are terminally differentiated
keratinocytes that have migrated from the epidermis to the skin’s surface. The
composition of the stratum corneum lipid matrix is dominated by three lipid classes: (1)
cholesterol, (2) free fatty acids and (3) ceramides which are waxy lipid molecules. These
lipids adopt a highly ordered, three dimensional structure of stacked, densely packed lipid
layers162 as shown in Figure 2 and Figure 3.




162 Van Smeden, J. and Bouwstra, J.A., “Stratum corneum lipids: Their role for the skin barrier function in

   healthy subjects and atopic dermatitis patients,” 2016, Curr Prob. Dermatol 49, pp. 8-26.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 66 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 65

                              Figure 2: Epidermal Layers of Human Skin
                                    Image courtesy of Wiki Journal of Medicine




Figure 3: Layers of the epidermis, basal cell layer, stratum spinosum, stratum granulosum and the
                   stratum corneum showing dermal penetration (Abd, 2016) 163




163 Abd, et al., “Skin models for testing of transdermal drugs,” 2016, Clin Pharmacol, pp. 163–176.
                      REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 67 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 66

Percutaneous Absorption of Glyphosate
A chemical can enter the stratum corneum directly through the corneocyte cells, through
channels between the cells or through follicles, pores and glands. Due to its structure, the
stratum corneum is highly lipophilic (lipid loving) and hydrophobic (tending to repel water).
Thus, lipid-soluble chemicals are able to penetrate this layer into the circulatory system
much more efficiently than water-soluble chemicals.

Since glyphosate is a small hydrophilic molecule, it travels easily thru the channels and
follicles; however, it cannot easily pass through lipid layers. The stratum corneum is,
therefore, the rate-limiting barrier in the absorption of a hydrophilic agent such as
glyphosate. The rate at which glyphosate passes through this outer layer determines the
overall absorption rate of the chemical into the body.

Once glyphosate has been absorbed into the stratum corneum, it may pass through into
the viable epidermis and then into the dermis where it is transported systemically by the
dermal blood supply or lymphatics and circulated to other areas of the body. This passive
diffusion process is governed by Fick’s law which states that the rate of absorption or flux
(J) of any substance across a barrier is proportional to its concentration difference across
that barrier.

The stratum corneum is resistant to penetration of weak acids but is much less effective
against organic acids and some inorganic chemicals. Organic and alkaline chemicals can
soften the keratin cells in the skin and pass through this layer to the dermis where they
are able to enter systemic circulation.

The thickness of the skin, as well as its lipophilicity, varies with location on the body.
Areas of the body such as the forearms, which may be particularly hairy, are most easily
penetrated by chemicals since they can enter the small ducts containing the hair shafts.
Chemicals can also enter through cuts, punctures or scrapes of the skin since these are
breaks in the protective layer. Due to the nature of their occupation, the skin of farmers
(particularly their hands) typically has a higher percentage of fine cracks and breaks than
that of the average person.
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 68 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 67

Percutaneous Absorption Models
The term “percutaneous” refers to any action involving penetration of the skin. Accurate
determination of the rate at which agents penetrate the skin is critical for assessing the
dose and potential risk from exposure. Dermal penetration is generally considered to
occur by passive diffusion (Fick’s law); however, in living organisms, biotransformation of
a substance within the deeper viable regions of the skin (via metabolism) can also occur
prior to systemic absorption.

The amount of a chemical that is absorbed through the skin is dependent on the
properties of both the chemical and the skin. The most significant properties impacting
the absorption of a chemical are its water and lipid solubility, molecular weight, degree of
ionization and polarity.164 The most important properties of the skin are the number
(density) of follicles, the thickness of the stratum corneum and the sebum composition as
well as the distance of capillaries to the surface of the skin.

Dermal penetration studies are conducted to measure the absorption or penetration of a
substance through the skin barrier and into the skin and determine whether it has the
potential to be absorbed into the systemic circulation. A wide range of experimental
protocols exist for the determination of percutaneous absorption; the protocol used in any
particular experiment will depend on the penetrant being studied.

Penetration studies may be conducted in vivo (in whole living animals) or in vitro (outside
of a living organism). In assessing the risk of human exposure to glyphosate, the aim of
a dermal absorption study is to measure the amount of glyphosate that passes into and
through human skin and into systemic circulation.

Due to greater differences between rodents and humans verses primates and humans,
in vivo human studies would provide the most accurate dermal penetration models.
However, inasmuch as such studies would be both impractical and unethical, animals
such as rats, mice, and monkeys are used for in vivo studies of the absorption of
glyphosate.




164 Van Ravenzwaay, B. and Leibold, E., “A comparison between in vitro rat and human and in vivo rat

  skin absorption studies,” 2004, Toxicol. In Vitro. Vol. 18(2), pp. 219-25.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 69 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 68

Dermal Absorption In Vivo Measurement Methods
In vivo dermal absorption measurement methods include two methods: (1) the indirect
method of surface disappearance and surface recovery whereby the dermal absorption
is inferred and (2) direct methods of determining dermal absorption which includes
measuring glyphosate in the blood, excreta (urine or feces) or stratum corneum or by
estimating through biological or pharmacological responses.165

Zendzian, 2000,166 published a method for measuring glyphosate in excreta and in
carcasses as well as the quantity remaining in the skin after washing. The Zendzian study
states that the U.S. EPA’s Office of Pesticide Programs (OPP) has developed a standard
protocol for evaluating the dermal penetration of pesticides in the rat. This protocol was
formalized in 1994 as a guideline for dermal absorption studies of pesticides.

As of the year 2000, in excess of 263 studies on the dermal absorption of over 160
pesticide chemicals had been submitted to OPP as part of the pesticide registration and
risk assessment processes. From this standard protocol, it is possible to describe
quantitatively (via dose and time) the entrance of a chemical into and penetration through
the mammalian epidermis into the systemic circulation as well as the chemical’s
concentration in blood, the body and its excretion in urine and feces.

Dermal Absorption In Vitro Measurement Methods
Since in vivo studies are complex and expensive, in vitro methods are more widely used
as a screening method for dermal penetration estimates. In vitro experiments involve the
use of a diffusion cell wherein two chambers, donor and receptor, are separated by a
membrane (human or animal skin). There are many variations, but all diffusion cells
involve the penetrant passively diffusing from the donor chamber into the receptor
chamber where it can be measured.




165 U.S. EPA, “Dermal exposure assessment: A summary of EPA approaches,” September 2007. United

   States Environmental Protection Agency, National Center for Environmental Assessment Office of
   Research and Development, EPA/600/R-07/040F
166 Zendzian, R.P., “Dermal absorption of pesticides in the rat,” 2000, AIHAJ, Vol. 61(4), pp. 473-83.
                           REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 70 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 69

In 2007, the U.S. EPA published “Dermal Exposure Assessment: A Summary of EPA
Approaches” which provides a dermal exposure assessment methodology for treated
surfaces.167 The U.S. EPA and other regulatory agencies accept a wide diversity of in
vitro protocols, but they caution comparing these studies due to differences in study
conditions. These include cell type (i.e., static or flow through), the membrane selected,
composition of the receptor fluid and the dosing method (infinite or finite).

Other Measurement Models and Methods
In a static diffusion cell, also known as a Franz cell,168 the penetrant diffuses from the
donor chamber through the membrane into a “static” receptor chamber of a fixed volume
which is continually stirred. In a flow through cell or Bronaugh169 cell, in vivo conditions
are simulated by using a constantly flowing receptor fluid that mimics in vivo blood flow
beneath the skin membrane. The skin membrane is bathed below by a flowing solution
maintained at 37 degrees C.

When studying the absorption of glyphosate, the membrane separating the chambers is
typically human (from cadavers), rat or monkey skin and may be full thickness or
dermatomed (sliced). Dermatomed skin, wherein only the epidermis is used after it has
been separated from the dermis, is commonly used because full-thickness skin can be
cumbersome in the diffusion apparatus. Since glyphosate is hydrophilic, the main barrier
to its diffusion across the skin resides in the stratum corneum and, therefore, the absence
of the dermal tissue is generally not of concern.170 Ideally, when fresh skin is used, the
receptor fluid should allow skin metabolic activity.

Dosing Techniques and Measurement Considerations
The loading (or dosing) of the donor chamber in all diffusion cells is accomplished in one
of two ways: (1) infinite dosing or (2) finite dosing.



167 U.S. EPA, “Dermal exposure assessment: A summary of EPA approaches,” September 2007. United

   States Environmental Protection Agency, National Center for Environmental Assessment Office of
   Research and Development, EPA/600/R-07/040F
168 Franz TJ., “Percutaneous absorption. On the relevance of in vitro data,” 1975, J Invest Dermatol.   Vol.
   64, pp. 190–5.
169 Bronaugh, R., H. Hood, M. Kraeling, and J. Yourick, “Determination of percutaneous absorption by In

   Vitro techniques,” 1999, pp. 229-233 in Percutaneous Absorption, 3rd ed., R.L. Bronaugh and H.I.
   Maibach, eds. New York: Marcel Dekker, Inc.
170 Williams, A.., “Transdermal and dermal drug delivery: From theory to clinical practice,” 2003, London,

   Pharmaceutical Press.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 71 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 70

In the infinite dosing, or flux, technique, a high concentration of glyphosate is installed
into the donor chamber (so its concentration does not decrease) while the concentration
is measured in the receptor chamber over time until steady state is reached. This allows
for the calculation of a permeability coefficient. The finite dose technique allows the
herbicide to be tested under conditions similar to those found in vivo. The donor chamber
is loaded with a known amount of herbicide which is depleted due to penetration during
the course of the experiment. The concentration of the herbicide in the receptor fluid is
measured to determine the percent of the original dose that penetrated the skin per unit
area of skin over a period of time.

Loading conditions can greatly impact calculation of percent absorption. As the applied
dose becomes greater than the absorbable amount, the excess does not contribute to
absorption but it does diminish the observed percent of dose that is absorbed.171
Therefore, when comparing in vitro results of percent absorption, all the dosing conditions
should be maintained as finite dose applications rather than flux.172

Rat skin is generally (but not always) more permeable than human skin. In a review of
79 studies which measured absorption of 110 chemicals, four chemicals were found that
are less permeable through rat skin than human skin.173 Van Ravenzwaay also found
that in comparing human in vitro skin with in vivo rat skin, the penetration of 3 of 12
chemicals was greater through human skin than thru rat skin. This held true at 4, 8 and
10 hours after dosing.174

A recent study has also questioned the reliability of converting percutaneous absorption
data from rats to humans due to the differences in species as the absorption of hazardous
substances was studied.175




171 Frasch, H.F. et al., “Analysis of finite dose dermal absorption data: Implications for dermal exposure

   assessment,” 2014, J Expo Sci Environ Epidemiol, 24(1), pp. 65–73.
172 “Guidance Notes on Dermal Absorption,” OECD Environment, Health and Safety Publications, Series

   on Testing and Assessment No. 156. ENV/JM/MONO(2011)36.
173 Jung, E, and Maibach, H., “Animal models for percutaneous absorption,” 2014, in    Shah, V., Maibach,
   H., and Jenner, J. eds. Topical Drug Bioavailability, Bioequivalence, and Penetration, 2nd ed. New
   York: Springer, pp. 21-40.
174 Van Ravenzwaay, B. and Leibold, E., "A comparison between in vitro rat and human and in vivo rat

   skin absorption studies,” 2004, Toxicol In Vitro., Vol. 18(2), pp. 219-25.
175 Korinth G, et..al., “Discrepancies between different rat models for the assessment of percutaneous

   penetration of hazardous substances,” 2007a, Archives of Toxicology 81, pp. 833-840.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
          Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 72 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 71

In Vitro Dermal Absorption of Herbicides through Rat versus Human Skin
The use of rat skin in percutaneous absorption models is premised on the theory that rat
skin is generally more permeable than human skin; however, there have been some
cases which have reported that rat skin is less permeable.176
Monsanto attempted to demonstrate (and failed) that the dermal penetration of
Propachlor® (2-chloro-N-isopropyl-N-phenylacetamide) through human skin was lower
than in rat skin. Instead, the study revealed:
     x     Concentrate formulation: The percent penetration with human skin is equal to
           the percent penetration with rat skin.
     x     Spray dilution: The percent penetration with human skin is greater than the
           percent dermal penetration with rat skin (p<0.05).
     x     Microautoradiographies clearly revealed stores of Propachlor in the epidermis of
           human skin.177

“Triple Pack” Methodology
The term “Triple Pack” refers to the use of three types of dermal absorption data from: 1)
in vivo rat; 2) in vitro rat and 3) in vitro human dermal absorption studies.178 This approach
is used to refine the estimation of dermal absorption by correcting for differences between
in vitro and in vivo absorption rates in rats as well as for species differences between rats
and humans.179 The “Triple Pack” approach is based on the premise that the absorption
difference between humans and rats will show in the same proportion in both in vitro and
in vivo test (which may not be true). It should also be noted that the “Triple Pack”
approach should be used to estimate a dermal absorption value only when the three
studies are conducted under the same experimental conditions.180

Monsanto has recently (2010 – 2017) contracted with Dermal Technology Laboratories
(DTL), Ltd. However, only in vitro human cadaver skin has been used (although

176 Hotchkiss, SA, et al., "Percutaneous absorption of 4,4'-methylene-bis (2-chloroaniline) and 4,4'-

   methylenedianiline through rate and human skin in vitro," March, 1993, Toxicology In Vitro, Volume
   7(2), pp. 141-148.
177 Monsanto email (Tab 21) from                       on 3/29/2002 to             et al.
178 U.S. EPA OPP Memorandum June 2, 2010.        “Review of Triple Pack dermal absorption studies for
   Maxim Quattro.”
179 Id.

180 “Guidance notes on dermal absorption,” OECD Environment, Health and Safety Publications, Series

   on Testing and Assessment No. 156. ENV/JM/MONO(2011) 36.
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 73 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 72

potentially removed from living subjects through surgical reduction procedures). Most
importantly, the DTL studies fail to include the “Triple Pack” methodology.

It was found by Wester, et al.,181 that the common practices of freezing skin for storage
or heat treatment to separate epidermis from dermis, can destroy skin viability. 182 The
authors found that storing dermatomed skin human cadaver skin in a sustaining media183
can maintain energy viability for up to eight days. They recommend not using skin that
has been heat separated or frozen in absorption studies where skin viability and
metabolism might be contributing factors to the study.

More accurate measurement models generally include animal or primate in vivo
measurements since in vitro human cadaver skin does not have an intact physiologic and
metabolic system present to accommodate active blood capillary transport gradients or
metabolism as do the in vivo models. This is especially true when skin is first heated to
60oC (140oF), dermatomed and then frozen at -20oC as has been done by DTL. Studies
have shown there are species differences in the absorption of different chemicals;
measurements in rats, rabbits or pigs may or may not reflect human absorption. 184 A
more accurate model includes dermal absorption across primate (monkey) skin. Often,
although not always, in vivo monkey skin most accurately resembles percutaneous
absorption across human skin.




181 Ronald C. Wester, Julie Christoffel, Tracy Hartway, Nicholas Poblete, and Howard I. Maibach, James
  Forsell, “Human Cadaver Skin Viability for In Vitro Percutaneous Absorption: Storage and Detrimental
  Effects of Heat-Separation and Freezing,” Percutaeous Absorption, Drugs-Cosmetics-Mechanisms-
  Methodology, 4th Edition, Vol. 155, pp. 311-316.
182 As measured by lactate production from glucose.

183 Eagles minimum essential media with Earles balanced salt solution

184 Rozman, KK and Klaassen CD., “Absorption, distribution and excretion of toxicants,” in Cassarett &

  Doull's Toxicology, The Basic Science of Poisons. 5th edition. 1996. McGraw-Hill.
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 74 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 73

Dermal Absorption Correspondence Between Monsanto and DTL Laboratory
DTL’s Managing Director,          , was head of the in vitro percutaneous absorption
group at Syngenta Central Toxicology Laboratory.185 DTL was formed by former
Syngenta employees in 2007. Email186 from          at Syngenta to                 at
Monsanto on January 20, 2009, reveals a discussion concerning dermal absorption as
follows:

“DTL uses different methods to prepare the skin samples.” … “I believe that an in vitro dermal
absorption study conducted on human epidermis with the concentrate formulation and at least
one dilution (Syngenta would normally do 2) would be adequate to meet the EU criteria. With
these studies, the amount of dermal absorption is dependent upon the level of surfactants in the
formulation. I believe it is in everyone’s best interested [sic] to get as lower a dermal absorption
value as possible for the representative use...“

The message then goes on to say:

“…so, I have a couple of suggestions regarding dermal absorption The TWG discussed the fact
that Monsanto had a biomonitoring study that the Spanish dismissed because of a non-human
primate study that showed higher excretion in the feces than in the urine following a dermal
exposure. I suggest that the TWG use a metabolism/dermal absorption consultant by the name
of Brian Jones who could critically review the non-human primate dermal study and the likely
metabolism (or lack of) of glyphosate following dermal exposure. Hopefully he could put a
position together on the non-relevance of the findings in the old non-human primate study.
In addition, perhaps a package of dermal absorption studies (rat in vivo and human and rat in
vitro) on the representative formulation may provide more detailed results and the in vivo study
could be used to show that glyphosate is not metabolized and is mainly excreted in the urine (and
the studies could also be used in the U.S. in the future).”

In fact, DTL did use “a different skin preparation method,” as described below.

DTL Laboratory Human Epidermis Preparation Methods
It is generally accepted and required laboratory practice to report the procedures used to
prepare the epidermis for use in dermal absorption studies. A group of laboratory reports
on various glyphosate formulations (in vitro absorption through human dermatomed skin)
were issued to Monsanto by Dermal Technology Laboratory, Ltd., from 2010 – 2017.



185 “A Wealth of Expertise,” DTL Laboratory, http://www.dermaltechnology.com/about/

186 Email from           Syngenta Ltd., January 20, 2009, CC:                    Monsanto
                      REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 75 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 74

Figure 4 describes the epidermis preparation procedure as stated in each “Materials and
Methods” section in the four laboratory reports dated 2010:




        Figure 4: DTL Laboratory Epidermis Preparation Procedure (2010 Reports Only)

However, in the four subsequent reports (two dated 2015 and two dated 2017), this
information was removed and a new (incomplete) preparation method description was
included under “Experimental Procedures“ as described in Figure 5:




      Figure 5: DTL Laboratory Epidermis Preparation Procedure (Post-2010 Reports Only)

Following 2010, no further mention was made in the reports of immersing (“cooking”) the
skin in water at 140° F (60 degrees C) for 40-45 seconds followed by freezing the skin at
-20oC prior to the subsequent dermal absorption analyses.

Numerous studies have been published using skin from different animal models.
However, the knowledge that there is a significant difference in absorption when it comes
to different animal species and humans has led to the necessity of a thorough
interpretation when adapting data from animal studies that are to be used in relation to
                        REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
       Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 76 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 75

humans. Interpretation of the data to refine dermal absorption values can vary between
regulatory authorities.187,188

Dermal Absorption and Pharmacokinetic Studies of Glyphosate
Models Used to Measure Glyphosate Dermal Absorption
There are four primary models which have been used to measure glyphosate dermal
absorption: (1) the Maibach studies of 1983, (2) the Wester et al., studies of 1991, (3)
Franz (1983) and (4) TNO (2002). All of these studies were funded by Monsanto. This
section reviews these studies and assesses the findings in light of present-day objective
science.

Maibach Study (1983)
Full Title: Maibach, H.I. (1983) “(a) Elimination of 14C-glyphosate in Rhesus monkeys
following a single parenteral dose, (b) Percutaneous absorption of 14C-glyphosate in
Roundup formulation in Rhesus monkeys following a single topical dose.” Unpublished
report No. MA-81-349, dated 1 April 1983, from University of California, School of
Medicine; San Francisco, California, USA. Submitted to WHO by Monsanto Int. Services
SA, Brussels, Belgium.

This Monsanto-funded study included human in vitro testing as well as an in vivo primate
(monkey) testing. The test material was a Roundup formulation supplied by Monsanto;
the formulation used was the mono isopropylamine salt of glyphosate. No surfactants or
other adjuvants were listed as ingredients.

   x    Part (a): 14C-Glyphosate (MON 0139; isopropylamine salt) was administered to
        four Rhesus monkeys through intramuscular (IM) injection. Maibach found that, on
        average, 89.9% of the injected dose was excreted in the urine. He did not,
        however, measure the amount of glyphosate eliminated in the feces. Maibach
        reported two distinct phases of urinary excretion: (1) 0-24 hours t1/2 = 6.9 hrs. and
        (2) 1-7 days t1/2 = 35.1 hrs., concluding that “systemic doses of glyphosate in MON
        039 are rapidly eliminated in monkeys, predominantly via the urine.”




187 “Guidance notes on dermal absorption,” OECD Environment, Health and Safety Publications, Series

  on Testing and Assessment No. 156. ENV/JM/MONO(2011)36.
188 U.S. EPA OPP Memorandum June 2, 2010.     “Review of Triple Pack dermal absorption studies for
  Maxim Quattro.”
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
        Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 77 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 76

    x    Part (b): 14C-Glyphosate (MON 0139; isopropylamine salt) was dermally applied
         to Rhesus monkeys at a concentration of 1.13 mg/cm 2. The IM data from Part (a)
         was used to quantify the dermal penetration obtained in this part of the experiment.
There are problems with the findings of this study as explained below.

Since the majority of 14C-Glyphosate administered by IM injection was excreted rapidly
thru the urine, Maibach erroneously assumed that 89.9% of the dermal dose would be
eliminated in the urine as well. He used this correction factor for incomplete urinary
excretion (89.9%) to determine that 1.8% of the applied dermal dose penetrated the skin.
This conclusion was errant for several reasons:

    1) Two different routes of exposure (IM verses dermal);
    2) Two different paths of excretion (urinary and fecal);
    3) Failure to measure the 14C-Glyphosate excreted in the feces.

Additionally, a further error was made by assuming the unrecovered glyphosate was
permanently bound in the skin. The skin-washing procedure removed 14.2% (standard
deviation of 3.5%) of the applied 14C-label on the glyphosate. Therefore, only 16% (14.2
+ 1.8) of the dermally-applied glyphosate was recovered. The total percent recovery was
low (i.e., 16.0%). Although a definitive explanation cannot be offered for the low recovery,
previous experience suggests that much of the test material may in some way bind to or
in the skin and cannot be removed by washing. This bound material is not apparently
available for systemic absorption."189

The key point is that this explanation is inconsistent with generally-accepted guidelines.
For example, OECD guidelines190 cite that an adequate mean recovery is in the range of
100 ± 10% (OECD, 2004). If the test material did indeed bind to or in the skin, then it
could have been available for absorption and, according to guidelines given by OECD,
would have to be included in the amount absorbed.191



189 Maibach, H.I., “(a) Elimination of 14C-glyphosate in Rhesus monkeys following a single parenteral

  dose, (b) Percutaneous absorption of 14C-glyphosate in Roundup formulation in Rhesus monkeys
  following a single topical dose,” 1983, Unpublished report No. MA-81-349, from University of
  California, School of Medicine, San Francisco, California, USA. Submitted to WHO by Monsanto Int.
  Services SA, Brussels, Belgium.
190 Guidelines require that at least 90% of the dose be accounted for compared to just 16% in the

  Maibach study.
191 OECD/OCDE 427, “Guidelines for the testing of chemicals.   Skin absorption in vivo Method,” Adopted:
  13 April 2004.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 78 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 77

In 1985, the U.S. EPA classified the Maibach, 1983, study as unacceptable since the
majority of the dose could not be accounted for. Currently, most authorized agencies
calculate by “absorbed amount + amount remaining in the treated area tissue + (when
necessary) amount remaining in the skin tissue after a washing process” when calculating
the absorption amount.192

In communications regarding the Maibach study,                                         , Senior Product
Toxicologist at Monsanto, wrote (April 11, 1983):

 “The total percent recovery (percent label removed by washing plus total percent label contained
 in urine) was low, i.e., 16.0%. A definitive explanation for the low recovery is not provided in the
 report, but the author does state that previous experience would suggest that much of the test
 material may in some way bind to or in the skin and cannot be removed by washing. In support
 of this, it has been reported (Vickers, 1963) that a "chemical reservoir" is formed in the skin after
 drug application which is eventually shed without penetration. Thus, it is concluded that the
 bound material is not apparently available for systemic absorption.” 193


It is critical to note that the OECD guidelines state that the amount of substance not found
in the donor chamber must be considered absorbed and, therefore, potentially available
in the systemic circulation. This also accounts for the amount of substance deposited in
the skin.194

Subsequent experiments have demonstrated that absorption of chemicals temporarily
deposited in the skin can continue for up to 24 hours or more after exposure has ended.
Thus, temporary skin deposition will potentially underestimate the true absorption if
assessed in blood or urine immediately following exposure (within 24 hours). 195




192 Jaehwan, S., “Comparison of international guidelines of dermal absorption tests used in Pesticides

   Exposure Assessment for Operators,” 2014, Toxicol Res 4, pp. 251-260.
193 MONGLY01330783

194 OECD, “Guidance document for the conduct of skin absorption studies,” 2004a, Paris. 28, pp.1-31.

195 “Dermal absorption of pesticides – evaluation of variability and prevention,” 2009, Danish

   Environmental Protection Agency. Pesticides Research No. 124, 13.1.
                      REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 79 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 78

Wester, et al., Study (1991)
Full Title: Wester, R. et al., “Glyphosate skin binding, absorption, residual tissue
distribution and skin decontamination,” 1991, Fundamental and Applied Toxicology 16,
pp. 725-732.

This Monsanto-funded study included human in vitro testing as well as in vivo primate
(monkey) testing. The test material was a Roundup formulation supplied by Monsanto; it
is not stated what glyphosate salt was used in the formulation. The exact formulation was
not disclosed, but no surfactants or other adjuvants were listed as ingredients.

In vitro human skin absorption: A finite dose technique was used with human plasma as
the receptor fluid in a flow-through diffusion cell. Dosing concentrations ranged from 2.6
μg/cm2 to 154.0 μg/cm2 with exposure times of 30 minutes, 4 hours, 8 hours and 16 hours.
The greatest absorption (2.2 ± 0.5 %) occurred at the lowest glyphosate dose
concentration (2.6 μg/cm2) after 8 hours of exposure. This was more than twice that
which was absorbed at any of the other dose concentrations after 8 hours.

The data in this study is highly variable, i.e., it shows no discernable pattern with respect
to the dose and time of exposure other than that the highest percentage of absorption
occurred at the lowest dermal dose. The standard deviation of the mean was greater
than the mean for 12 of the 20 means reported. No overall accountability (mass balance)
was provided for this part of the study; no data was provided with respect to how much
glyphosate was lost. Thus, it was not possible to compare the percentage lost to that of
the in vivo dermal study.

In vivo rhesus monkeys IV doses: Three Rhesus monkeys were intravenously dosed with
93 μg glyphosate and three were dosed with 9 μg glyphosate. The study found that in the
six monkeys, 95% - 99% of the IV administered dose was recovered in the urine. Overall
accountability was greater than 96% of the administered doses. Wester, et al., used
these results to make the assumption that all dermally-absorbed glyphosate would
similarly be excreted in the urine. This assumption is invalid according to their data
reported in the next part of the study (see below).

In vivo rhesus monkeys dermal dosing: Eight monkeys were dermally dosed with one of
two doses as summarized in Table 16.

                                          Table 16
                           REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 80 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 79

    Disposition of Glyphosate Following Topical Administration to Rhesus Monkeys196

                                                          Percentage of applied dose*

         Disposition Site             Dose C = 5400 μg/20 cm2              Dose D = 500 μg/20 cm2

 Urine                                             2.2 ± 1.5                            0.8 ± 0.6
 Feces                                             0.7 ± 0.5                            3.6 ± 1.6
 Urine + Feces                                     2.9 ± 2.0                            4.4 ± 2.2
 Surface Washes                                   73.5 ± 6.0                           77.1 ± 9.2
 Contaminated Solids                              0.05 ± 0.1                            0.3 ± 0.1
 Total                                            76.5 ± 6.7                           81.8 ± 6.9
Topical administration in four Rhesus monkeys per dose: *Each value is the mean ± SD for 4 monkeys.”

The above data reveals several critical findings:

1) The low topical dose was excreted primarily in the feces. In the monkeys
   administered Dose D, 3.6 % of the dermally-applied dose was recovered in the feces
   whereas only 0.8 % was recovered in the urine (total dermal absorption of 4.4%).
   From this data, it is apparent that urine recovery does not accurately represent the
   amount of glyphosate that was dermally absorbed. In this case, 4.5 times more
   glyphosate was found in the feces than in the urine.

2) This study finding is deeply troubling since epidemiology studies rely on urine
   concentrations to quantify the systemic dose of glyphosate exposure through dermal
   absorption. The lower dose (Dose D) at 500 μg/20 cm 2 corresponds to real world
   exposures in farmers and applicators. Thus, the exposure studies prepared by
   Monsanto that have relied on urinary excretion are in error by a factor of 4.5 times the
   current calculated values. From the data in this study, the total systemic dose from
   dermal exposure can be calculated:
                                  GLY systemic = GLY urine + GLY feces
                                                  = GLY urine + 4.5 x GLY urine
                                  GLY systemic = 5.5 x GLY urine




196 Wester, R. et al., “Glyphosate skin binding, absorption, residual tissue distribution and skin

   decontamination, 1991, Fundamental and Applied Toxicology 16, pp. 725-732.
                           REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 81 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 80

    The actual systemic dose in the human epidemiological exposure studies could have
    been accurately quantified by including the relative amount of glyphosate that would
    have been excreted in the feces but which was not measured.

3) The dose of 5,400 μg/20 cm2 is too large to accurately represent the dose/absorption
   relationship. As previously explained, dosing conditions can have enormous effects
   on percent absorption. The excessive dosing in this case is approaching infinite dosing
   and the excess does not contribute to absorption, but it does diminish the calculated
   percent of dose absorbed.197 U.S. EPA guidelines for dermal testing recommend a
   maximum practical dose on the order of 1 mg/cm2; larger doses can exceed saturation
   of the absorption process.198 The resulting error herein is an artificially reduced
   percent absorption; this high saturation dose resulting in 2.9% absorption is not
   relevant when looking at percent absorption.

4) The effect of glyphosate on skin has been shown to depend on the relative
   concentration of glyphosate. Dermal cells exposed to low levels of glyphosate have
   been shown to induce a stiffening of the cytoskeleton (the cell's internal structural
   support) while higher levels of glyphosate cause gross changes in cell shape. 199 As
   realistic exposure levels were not used, the findings are automatically suspect.

5) Only 81.8 % of the applied “Dose D” was recovered. The authors claimed that the
   remaining 18.2 % was “lost” since it was not detected. If any of the missing 18.2%
   remained in the monkey in tissue or fluid that was not tested, the amount absorbed
   would have been underestimated. The lost material is beyond the acceptable limit
   according to OECD guidelines of mass balance. If all of the missing 18.2 % is assumed
   to have remained in the monkey and is included the amount absorbed, the total % of
   applied dose absorbed becomes 22.6%. Either way, a casual and unverifiable “claim”
   that 18.2% of the dose was “lost” can scarcely be regarded as objective and should
   be added to the amount absorbed (4.4%) to provide an upper limit value of 22.6%.

6) The impact of surfactants on absorption is still not considered in this study.

From Wester, et al., it is reasonable to conclude that dermal absorption at “Dose D”
reasonably estimates a dermal absorption dose ranging from 4.4% to 22.6%. More

197 Frasch, H.F. et al., “Analysis of finite dose dermal absorption data: Implications for dermal exposure

   assessment,” 2014, J Expo Sci Environ Epidemiol, Vol. 24(1), pp. 65–73.
198 U.S. EPA OPPTS 870.7600, “Health effects test guidelines dermal penetration,” August 1998, pp. 4.

199 Heu, C. et al., “Glyphosate-induced stiffening of HaCaT keratinocytes, a peak force tapping study on

   living cells,” 2012, Journal of Structural Biology, 178, pp. 1-7.
                      REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 82 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 81

importantly, the epidemiological exposure studies underestimate the systemic dose from
dermal absorption by a factor of 4.5 due to the failure to consider hepato/fecal elimination
at the lower dose levels.

Concern of Cross-Contamination in the Wester, et al., Study (1991)
The rhesus monkeys were placed in metabolic chairs for the dosage period (12 hours) of
the study, then housed individually in metabolic cages. A belly plate and apron were
positioned on the metabolism chair under the skin-dosing site. A pan collected urine,
feces and other solids such as residual food and hair. Surface washes collected the
residual dose left on the skin.

Only 75-80% of the dermally applied dose was recovered in all the collections. Wester
noted that the missing 20-25% dose was “lost” during the procedure, and he considered
this not to be unusual as similar losses had occurred in previous studies. He attributed
the loss to exfoliation of skin which “will scatter microscopic tissue and bound chemical
to the atmosphere, making total accountability impossible to achieve.”

Wester did not mention any other mechanisms of loss, such as monkeys touching the
dosing sites, which would have easily explained the unacceptable 20-25% loss of the
dose amount. Therefore, it is reasonable to conclude that such losses did not occur.

Metabolic chairs come in various configurations as shown in the images below as different
types of research will require different restraining needs. These “chairs” allow for the
isolation of body parts with the use of belly plates, restraints, etc. (See Figure 6 and
Figure 7).
                            REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
        Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 83 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 82




                                 Figure 6: Metabolic chairs for primates200




                               Figure 7: Primate chairs used in study testing




200    Images retrieved from http://www.oipa.org/international/photo/vivisection_primates.htm and from
      https://www.thomasrecording.com/solutions/solution-primate.html
                      REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 84 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 83

Review of Monsanto Studies
Monsanto in Vitro Absorption Study of Glyphosate by DTL (2010) - (MON 79545)
450 g/L Glyphosate SL Formulation (MON 79545)
In February 2010, the United Kingdom’s Dermal Technology Laboratory, Ltd., (DTL)
completed their Monsanto-commissioned laboratory study entitled “In vitro absorption of
glyphosate through human epidermis” (MON 79545) wherein they investigated the
absorption and distribution of glyphosate in three different herbicide formulations. For all
three formulations, they concluded that the dermal absorption of glyphosate from
exposure to the herbicide would be minimal and far less than 1%. The study specifically
concluded that, for the high undiluted dose, “the mean total amount of absorbed
glyphosate was 0.0573 ug/cm2 (0.012% of applied dose).” For the 1 to 15.6 (28.8 g/L)
dilution and 1 to 188 (2.4 g/L) dilution (consistent with spray applications), “the mean total
amounts of absorbed glyphosate were 0.379 and 0.021 ug/cm2 (0.129% and 0.082% of
applied dose), respectively.” In this study, glyphosate was removed from the surface of
the epidermis by washing and then tape stripping. The amount of glyphosate on the
epidermis after tape stripping, including that absorbed, was termed “potentially
biologically available” and was determined to be 0.049%, 0.796% and 0.245% in order of
increasing glyphosate formulation concentration.

However, there are serious problems with this study (as well as with other DTL studies)
that contribute to inconsistency and, as a consequence, warrant the study’s exclusion.

The design of the study included finite dosing of 10 μL/cm2 which was used on a surface
of 2.54 cm2; this was left un-occluded for an exposure period of 24 hours with no interim
wash. A static-type glass diffusion cell was used with dermatomed human skin. Each
formulation was applied in three doses: one concentrated dose and two diluted doses.
Thus, the amount of glyphosate in the 25.4 μL volume applied depended on the dilution.
The absorption process was followed by taking samples of the receptor fluid
(physiological saline) at recorded intervals throughout the exposure period.

Assessment of the DTL methodology reveals that 4,589 μg glyphosate acid/cm 2 was used
in the formulation concentrate study and 293 μg glyphosate acid/cm 2 was used in the 1
to 15.6 dilution and 25 μg glyphosate acid/cm2 was used in the 1 to 188 dilution study.
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
       Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 85 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 84

U.S. EPA guidelines for dermal testing recommend a maximum practical dose on the
order of 1 mg/cm2; larger doses can exceed saturation of the absorption process.201 Thus,
the formulation’s concentration dose used was not in compliance and exceeded the
threshold for maximum practical dose by a factor of 4.6.

DTL failed to properly follow OECD GD 28 (OECD, 2004c) regulations with respect to the
definition and methodology that defines absorbed dose:

   x    The laboratory did not always include the glyphosate recovered from the tape
        stripping as they claimed that it was not biologically available.

   x    They also did not always include the amount of glyphosate recovered from
        stratum corneum (available for eventual absorption).

The “In vitro absorption of glyphosate through human epidermis” study presents itself as
a pre-destined design failure. It is completely inconsistent with other previous Monsanto
in vitro and in vivo studies and should be excluded as DTL violated OECD test regulations

Under “OECD guidelines for the testing of chemicals, Skin Absorption: in vitro Method
428,” adopted April 13, 2004, “The test substance remaining in the skin should be
considered as absorbed unless it can be demonstrated that absorption can be determined
from receptor fluid values alone.” Analysis of the other components (material washed off
the skin and remaining within the skin layers) allows for further data evaluation including
total test substance disposition and percentage recovery.

OECD GD 28 (OECD, 2004c) notes that, under certain circumstances, in vivo skin levels
of the test compound need not be considered to be percutaneously absorbed. 202 This is
appropriate where it can be demonstrated that test compound in the layers of skin at the
end of a study will ultimately remain in the skin or be removed by the surface shedding of
the stratum corneum.

However, for in vitro studies, OECD GD 28 notes that microcirculation is obliterated and
the terminal stratum corneum levels may be elevated compared with in vivo levels. For
these studies, OECD GD 28 states “…it is therefore necessary that skin levels of test
compound measured at the end of a study be included with the receptor fluid levels to



201 U.S. EPA OPPTS 870.7600, “Health effects test guidelines dermal penetration,” August 1998, pp. 4.

202 OECD “Guidance notes on dermal absorption,” Draft, October 22, 2010.
                      REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 86 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 85

determine total percutaneous absorption. Skin absorption may be expressed using
receptor fluid alone provided that this can be justified.”

The current approach taken by nearly all regulatory agencies is to determine the dermal
absorption value by adding the absorbed dose and the chemical remaining in the
application site and surrounding skin following washing. This is appropriate for both in
vivo and in vitro studies unless compelling evidence is presented that demonstrates that
at least some portion of the residue in the skin is unlikely to be absorbed. However, there
is currently some international disagreement about whether part or all of the test
substance should be included in the dermal absorption value that is retained in the
stratum corneum and can be removed by tape stripping.

For in vivo studies, it is widely accepted that, if absorption can be demonstrated as
complete, then all or part of the chemical remaining in the skin may be considered as
unavailable for absorption.

For in vitro studies, some regulatory authorities have a similar approach as for in vivo
studies in that some of the amount retained in the skin may be considered as unavailable
for systemic absorption.

Others would include all of the test substance retained in the skin following in vitro
exposure. The following sections provide guidance to assist in the consideration of
whether to exclude some portion of the residue in the skin.

Tape stripping

OECD GD 28 states that skin fractionation may be conducted following exposure either
in vitro or in vivo and notes that tape stripping can be difficult in vitro with epidermal
membranes, rodent skin, study durations of more than 24 hours or where the test
preparation alters the stratum corneum.

Test substance retained in the top few layers of the stratum corneum (i.e., contained in
the first few tape strips) may be removed by desquamation and therefore may not be
absorbed. This includes substances retained in the top few layers of the stratum corneum
as well as material that has not penetrated into the stratum corneum but is protected from
wash-off (for example, in hair follicles or sweat ducts).
                       REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 87 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 86

In the European Union and some other countries, it is the general practice to exclude the
amount that was found in the first (upper) two tape strips at study completion both in vitro
and in vivo.

Test substance in lower layers of the stratum corneum may penetrate into the dermis or
may be removed by desquamation. Determination of the potential bioavailability of this
test substance should be made on a case-by-case basis.

Dermal absorption is primarily a diffusion-driven process and therefore test substances
in the lower layers of the stratum corneum should be assumed to form a reservoir that
may become systemically available unless it can be demonstrated in vivo that absorption
is complete and this test substance will remain in the stratum corneum until exfoliated.

Deviations or lack of documentation within the DTL (2010) studies include:
x   Failure to include glyphosate remaining in the stratum corneum
x   No documentation as to how the split-thickness skin measurement (typically 200-400
    μm thick) is prepared.
x   Although tape striping was performed, all of the layers were excluded from the “mean
    total amounts of absorbed glyphosate” at 0.012%, 0.129% and 0.082% as reported.
x   Tape stripping has only been discussed in the “Draft” 2010 OECD regulations and is
    limited to the first two tape strip extractions. Even if it were the official regulation, DTL
    deviated from the proposed methodology.

In summary, “The current approach taken by nearly all regulatory agencies is to determine
the dermal absorption value by adding the absorbed dose and the chemical remaining in
the application site and surrounding skin following washing. This is appropriate for both
in vivo and in vitro studies unless compelling evidence is presented that demonstrates
that at least some portion of the residue in the skin is unlikely to be absorbed.” (OECD,
“Guidance Notes on Dermal Absorption [draft],” October 22, 2010)

It is also critical to note that results of the 1 to 188 spray dilution MON 79545 dermal
absorption study (0.082% absorbed) falls approximately 35 times below the prior 3%
dermal absorption value established by the U.S. EPA and 54 times less than that of the
4.4% dermal absorption rate measured in primates in the Wester, et al., study (1991).
                      REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 88 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 87

Monsanto in Vitro Absorption Study of Glyphosate by DTL (2010) - (MON 52276)
In February 2010, Dermal Technology Laboratory, Ltd., also completed their Monsanto-
commissioned lab study entitled “In vitro absorption of glyphosate through human
epidermis.” For MON 52276 concentrate (undiluted dose), “the mean total amount of
absorbed glyphosate was 0.332 ug/cm2 (0.009% of applied dose).” For the 1 to 12.5
dilution and 1 to 150 dilution (consistent with spray applications), “the mean total amounts
of absorbed glyphosate were 0.086 and 0.023 ug/cm2 (0.029% and 0.092% of applied
dose), respectively.” Thus, compared to earlier (non-DTL) studies, results of the above
MON 52276 high dose dermal absorption study fell approximately 103 times below the
prior 3% dermal absorption value established by the U.S. EPA and 151 times less than
that of the 4.4% dermal absorption rate measured in primates in the Wester, et al., study
(1991). The MON 52276 diluted dose dermal absorption study fell approximately 33 times
below the prior 3% dermal absorption value established by the U.S. EPA and 48 times
less than that of the 4.4% dermal absorption rate measured in primates in the Wester, et
al., study (1991).

Monsanto in Vitro Absorption Study of Glyphosate by DTL (2010) - (MON 79351)
Studies on MON 79351, also completed in February 2010, reported for the high undiluted
dose that “the mean total amount of absorbed glyphosate was 0.342 ug/cm 2 (0.007% of
applied dose).” For the 1 to 16.7 dilution (consistent with spray applications), “the mean
total amounts of absorbed glyphosate was 0.553 ug/cm2 (0.182% of applied dose).” Thus,
compared to earlier (non-DTL) studies, results of the above MON 79351 high undiluted
dose dermal absorption study fell approximately 16 times below the prior 3% dermal
absorption value established by the U.S. EPA and 24 times less than that of the 4.4%
dermal absorption rate measured in primates in the Wester, et al., study (1991).

The above studies were carried out under the direction of          . DTL is managed
by          who was previously the head of the in vitro percutaneous absorption group
at Syngenta Central Toxicology Laboratory. (Syngenta is also a producer of glyphosate
and seeds.)

The above DTL studies are vastly inconsistent and discrepant compared to all prior
Monsanto glyphosate dermal absorption studies performed by non-DTL laboratories. The
inexplicable differences in dermal absorption bioavailability unquestionably renders the
study credibility as suspect and, as a consequence, warrants its exclusion.
                     REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 89 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 88

Monsanto in Vitro Absorption Study of Glyphosate by DTL (2015) - (MON 76829)
72 g/L Glyphosate Gel Formulation
In April 2015, Dermal Technology Laboratory, Ltd., completed their Monsanto-
commissioned lab study entitled “72 g/L Glyphosate Gel Formulation (MON 76829) - In
Vitro Absorption through Human Dermatomed Skin using [14C]-Glyphosate.”

Human skin samples were obtained from the National Disease Research Interchange
(NDRI, Philadelphia, Pennsylvania). Skin sections were cut at a thickness
setting of 400 μm using an electric dermatome. It is not stated in the methodology whether
tissues were also separated by heat.

The type of static glass diffusion cell used in this study had an exposed skin surface
area of 2.54 cm2 and a receptor volume of approximately 4.5 mL. Discs of
approximately 3.3 cm diameter of prepared skin were mounted, dermal side down, in
diffusion cells held together with individually numbered clamps and placed in a water
bath maintained at 32°C ± 1°C. A nominal application rate of 10 μL/cm 2 or 720 μg
glyphosate acid/cm2 was reported.

DTL concluded that the highly concentrated gel formulation had a dermal absorption rate
of glyphosate from exposure to the herbicide gel at 6, 8 and 10 hours of 0.013 μg/cm 2,
0.018 μg/cm2 and 0.014 μg/cm2, respectively. These respective amounts expressed as
percentages of the applied dose were 0.002%, 0.003% and 0.002%. The mean amount
penetrated over the entire 24 hour experimental period was 0.018 μg/cm 2 corresponding
to 0.003% of the applied dose. “Practically all of the applied glyphosate acid (105%) was
washed off the surface of the skin following the six hour exposure with a further 0.048%
being removed at the 24 hour wash.” The proportions of the dose applied that were
recovered from the donor chamber, stratum corneum (tape strips 1-5), and remaining skin
were 0.042%, 0.003% and 0.009%, respectively. The proportions of the dose applied that
were recovered from the donor chamber, stratum corneum (tape strips 1-5), and
remaining skin were 0.042%, 0.003% and 0.009%, respectively. The bioavailability of
glyphosate acid from this gel formulation was reported to be 0.011% of the applied dose.

Assessment of the DTL methodology reveals that 720 μg glyphosate acid/cm 2 was used
in this study. The U.S. EPA guidelines for dermal testing recommend a maximum practical
dose on the order of 1 mg/cm2; larger doses can exceed saturation of the absorption
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 90 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 89

process.203 Thus, the dose used was in compliance, but at the upper range (72% of the
threshold).

It is not stated in the methodology whether tissues were also separated by heat and if so,
what temperature or duration. Results of the MON 76829 gel dermal absorption study
fall approximately 272 times below the prior 3% dermal absorption value established by
the U.S. EPA and 400 times less than that of the 4.4% dermal absorption rate measured
in primates in the Wester, et al., study (1991).

Most importantly, this study tested a glyphosate gel and did not include any surfactants
which are typically a major component of Roundup formulations and allow for penetration
of the formulation.

The study was carried out under the direction of                    who worked for Syngenta
until 2007. As mentioned earlier, DTL is managed by                  who was previously the
head of the in vitro percutaneous absorption group at Syngenta Central Toxicology
Laboratory. (Syngenta is also a producer of glyphosate and seeds.) This DTL study is
vastly inconsistent and discrepant compared to all prior Monsanto glyphosate dermal
absorption studies performed by non-DTL laboratories. The inexplicable differences in
dermal absorption bioavailability renders the credibility of this study of questionable merit
and, as a consequence, warrants its exclusion.

Monsanto in Vitro Absorption Study of Glyphosate by DTL (2015) - (MON 76258)
7.2g/L Glyphosate Gel Formulation
In April 2015, Dermal Technology Laboratory, Ltd., also completed their Monsanto-
commissioned lab study entitled “7.2 g/L Glyphosate Gel Formulation (MON 76258) - In
Vitro Absorption through Human Dermatomed Skin using [14C]-Glyphosate”

Human skin samples were obtained from the National Disease Research Interchange
(NDRI, Philadelphia, Pennsylvania). Skin sections were cut at a thickness
setting of 400 μm using an electric dermatome. It is not stated in the methodology whether
tissues were also separated by heat.

The type of static glass diffusion cell used in this study had an exposed skin surface
area of 2.54 cm2 and a receptor volume of approximately 4.5 mL. Discs of
approximately 3.3 cm diameter of prepared skin were mounted, dermal side down, in


203 U.S. EPA OPPTS 870.7600, “Health effects test guidelines dermal penetration,” August 1998, pg. 4.
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 91 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 90

diffusion cells held together with individually numbered clamps and placed in a water
bath maintained at 32°C ± 1°C. A nominal application rate of 10 μL/cm 2 or 720 μg
glyphosate acid/cm2 was reported.

DTL concluded that the gel formulation had a dermal absorption rate of glyphosate from
exposure to the herbicide at 6, 8 and 10 hours of 0.005 μg/cm 2. These respective time
points can be expressed as percentages of the applied dose; i.e., 0.002%, 0.003% and
0.002%. The mean amount penetrated over the entire 24 hour experimental period was
0.006 μg/cm2 corresponding to 0.008% of the applied dose. “Practically all of the applied
glyphosate acid (103%) was washed off the surface of the skin following the six hour
exposure with a further 0.211% being removed at the 24 hour wash.” The proportions of
the dose applied that were recovered from the donor chamber, stratum corneum (tape
strips 1-5), and remaining skin were 0.035%, 0.017% and 0.023%, respectively. The
bioavailability of glyphosate acid from this gel formulation was 0.040% of the applied
dose.

Assessment of the DTL methodology reveals that 7.2 μg glyphosate acid/cm2 was used
in this study. The U.S. EPA guidelines for dermal testing recommend a maximum practical
dose on the order of 1 mg/cm2; larger doses can exceed saturation of the absorption
process.204 Thus, the dose used was in compliance at the upper range (7.2% of the
threshold).

It is not stated in the methodology whether tissues were also separated by heat and if so,
what temperature or duration. Results of the MON 76258 gel dermal absorption study
fall approximately 75 times below the prior 3% dermal absorption value established by
the U.S. EPA and 110 times less than that of the 4.4% dermal absorption rate measured
in primates in the Wester, et al., study (1991).

Most importantly, this study tested a glyphosate gel and did not include any surfactants
which are typically a major component of Roundup formulations and allow for penetration
of the formulation.

As above, the study was carried out under the direction of              who worked for
Syngenta up to 2007. DTL is managed by                who was previously the head of the
in vitro percutaneous absorption group at Syngenta Central Toxicology Laboratory. This
DTL study is vastly inconsistent and discrepant compared to all prior Monsanto


204 U.S. EPA OPPTS 870.7600, “Health effects test guidelines dermal penetration,” August 1998, pg. 4.
                      REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 92 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 91

glyphosate dermal absorption studies performed by non-DTL laboratories. The
inexplicable differences in dermal absorption bioavailability renders the credibility of this
study of questionable merit and, as a consequence, warrants its exclusion.

Monsanto in Vitro Absorption Study of Glyphosate by DTL (2016) - (MON 76952)
500 g/L Glyphosate SL Formulation
During August 2016, Dermal Technology Laboratory, Ltd., also completed their
Monsanto-commissioned lab study entitled “500 g/L Glyphosate SL Formulation (MON
76952) - In Vitro Absorption through Human Dermatomed Skin using [14C]-Glyphosate”

Human skin samples were obtained from the National Disease Research Interchange
(NDRI, Philadelphia, Pennsylvania). Skin sections were cut at a thickness
setting of 400 μm using an electric dermatome. It is not stated in the methodology whether
tissues were also separated by heat.

The type of static glass diffusion cell used in this study had an exposed skin surface
area of 2.54 cm2 and a receptor volume of approximately 4.5 mL. Discs of
approximately 3.3 cm diameter of prepared skin were mounted, dermal side down, in
diffusion cells held together with individually numbered clamps and placed in a water
bath maintained at 32°C ± 1°C. A nominal application rate of 10 μL/cm 2 or 720 μg
glyphosate acid/cm2 was reported.

DTL concluded that the 500 g/L formulation concentrate had a dermal absorption rate of
glyphosate with the mean amount penetrated over the entire 24 hour experimental period
of 0.022 μg/cm2 corresponding to 0.022% of the applied dose. The mean amount
penetrated over the entire 24 hour experimental period was 0.512 μg/cm 2 corresponding
to 0.010% of the applied dose. Bioavailable dose was determined to be 0.088%.

With respect to the 1/500 w/v aqueous spray dilution after a small lag phase of 1 hour,
“practically no glyphosate was absorbed (0.0006 μg/cm2/hour).” The mean absorption
rate of glyphosate acid through human dermatomed skin increased to 0.002 μg/cm 2/hour
between 1-2 hours. This reduced to 0.0003 μg/cm2/hour between 4-12 hours and 0.0001
μg/cm2/hour between 12-24 hours. Over the 24 hour experimental period the mean
absorption rate was 0.0003 μg/cm2/hour.

The amounts of glyphosate acid that were absorbed through human skin at 6, 8 and
10 hours were 0.005 μg/cm2, 0.006 μg/cm2 and 0.006 μg/cm2, respectively. These
amounts expressed as percentages of the applied dose were 0.052%, 0.058% and
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 93 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 92

0.063%. The mean amount penetrated over the entire 24 hour experimental period
was 0.008 μg/cm2 corresponding to 0.081% of the applied dose. Bioavailable dose was
determined to be 0.200%.

Assessment of the DTL methodology reveals that 5,000 μg glyphosate acid/cm2 and 10
μg glyphosate acid/cm2 was used in this study. The U.S. EPA guidelines for dermal testing
recommend a maximum practical dose on the order of 1 mg/cm2; larger doses can exceed
saturation of the absorption process.205 Thus, the high dose used exceeded the threshold
by five-fold.

It is not stated in the methodology whether tissues were also separated by heat and if so,
what temperature or duration.

Results of the 500 g/L MON 76952 concentrate dermal absorption study fell
approximately 300 times below the prior 3% dermal absorption value established by the
U.S. EPA and 440 times less than that of the 4.4% dermal absorption rate measured in
primates in the Wester, et al., study (1991).

Results of the spray dilution MON 76952 dermal absorption study fell approximately 37
times below the prior 3% dermal absorption value established by the U.S. EPA and 54
times less than that of the 4.4% dermal absorption rate measured in primates in the
Wester, et al., study (1991).

There is no indication that surfactants are present in this glyphosate formulation.

As before, the study was carried out under the direction of                who worked for
Syngenta up to 2007. DTL is managed by                who was previously the Head of the
in vitro percutaneous absorption group at Syngenta Central Toxicology Laboratory. This
DTL study is vastly inconsistent and discrepant compared to all prior Monsanto
glyphosate dermal absorption studies performed by non-DTL laboratories. The
inexplicable differences in dermal absorption bioavailability renders the credibility of this
study of questionable merit and, as a consequence, warrants its exclusion.




205 U.S. EPA OPPTS 870.7600, “Health effects test guidelines dermal penetration,” August 1998, pp. 4.
                     REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 94 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 93

Monsanto in Vitro Absorption Study of Glyphosate by DTL (2015) - (MON 76879)
360 g/L Glyphosate SL Formulation
During August 2017, Dermal Technology Laboratory, Ltd., also completed their
Monsanto-commissioned lab study entitled “360 g/L Glyphosate SL Formulation (MON
76879) - In Vitro Absorption through Human Dermatomed Skin using [14C]-Glyphosate”

Human skin samples were obtained from the National Disease Research Interchange
(NDRI, Philadelphia, Pennsylvania). Skin sections were cut at a thickness
setting of 400 μm using an electric dermatome. It is not stated in the methodology whether
tissues were also separated by heat.

The type of static glass diffusion cell used in this study had an exposed skin surface
area of 2.54 cm2 and a receptor volume of approximately 4.5 mL. Discs of
approximately 3.3 cm diameter of prepared skin were mounted, dermal side down, in
diffusion cells held together with individually numbered clamps and placed in a water
bath maintained at 32°C ± 1°C. A nominal application rate of 10 μL/cm 2 or 720 μg
glyphosate acid/cm2 was reported.

DTL concluded that the 360 g/L formulation concentrate had a dermal absorption rate of
glyphosate from exposure to the herbicide with the mean amount of 0.791 μg/cm2
penetrated over the entire 24 hour experimental period and corresponding to 0.022% of
the applied dose.

A 1/267 w/v aqueous spray dilution had a dermal absorption rate of glyphosate absorbed
through human skin at 6, 8, 10 and 12 hours at 0.004 μg/cm2, 0.004 μg/cm2, 0.005 μg/cm2
and 0.005 μg/cm2, respectively. These amounts expressed as percentages of the applied
dose were 0.029%, 0.033%, 0.035% and 0.037%. The mean amount penetrated over the
entire 24 hour experimental period was 0.006 μg/cm 2 corresponding to 0.042% of the
applied dose.

“Practically all of the applied glyphosate acid (102%) was washed off the surface of the
skin following the six hour exposure with a further 0.375% being removed at the 24 hour
wash.” The proportions of the dose applied that were recovered from the donor chamber,
stratum corneum and remaining skin were 0.080%, 0.032% and 0.111%,
respectively.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
          Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 95 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 94

The bioavailability of glyphosate acid from the spray dilution is the sum of the
receptor fluid dose at 24 hours plus the amount remaining in the skin following tape
stripping and tape strips 3-5. This was 0.162% of the applied dose.

Assessment of the DTL methodology reveals that 3,600 μg Glyphosate acid/cm2 and 13.5
μg glyphosate acid/cm2 was used in this study. The U.S. EPA guidelines for dermal testing
recommend a maximum practical dose on the order of 1 mg/cm2; larger doses can exceed
saturation of the absorption process.206 Thus, the high dose used exceeded the threshold
by 3.6 fold.

It is not stated in the methodology whether tissues were also separated by heat and if so,
what temperature or duration.

Results of the spray dilution MON 76859 dermal absorption study fall approximately 18.5
times below the prior 3% dermal absorption value established by the U.S. EPA and 27.5
times less than that of the 4.4% dermal absorption rate measured in primates in the
Wester, et al., study (1991).

This MON 76879 commercial formulation is noted to contain a surfactant called Synergen
GD2 at a volume of 4.78% w/w while glyphosate (pure acid and salt) was 60.63% w/w.
For comparison, the ethoxylated tallowamine (POEA) surfactant in Roundup Classic is
designated by Monsanto as MON 0818207 and is a concentration that is typically reported
as approximately 15% of the formulation weight to volume or 150 g/L. 208,209,210,211 Per
Johan van Burgsteden’s “In vitro percutaneous absorption study with [14C]-glyphosate
using viable rat skin membranes,” June 14, 2002, Unaudited draft report V4478 (TNO
Dermal Penetration Study), MON 35012 is known to constitute glyphosate isopropylamine




206 U.S. EPA OPPTS 870.7600, “Health effects test guidelines dermal penetration,” August 1998, pp. 4.

207 Monsanto response to the concern of the Slovenian authorities on the composition of the Plant

   Protection Product MON 79376 (360 g/ 1 glyphosate) and the surfactant MON 59117 (CAS n ° 68478-
   96-6). MONGLY02817577
208 Id.

209 Diamond, G., Durkin, P., “Effects of surfactants on the toxicity of glyphosate with specific reference to

   RODEO,” 1997, Syracuse Research Corporation, SERA TR 97-206-1b.
210 Giesey, J. P., Dobson, S., & Solomon, K. R., “Ecotoxicological risk assessment for Roundup

   herbicide,” 2000, Rev. Environ. Contam. Toxicol. 167, pp. 35-120.
211 Defarge, N. E., “Co-formulants in glyphosate-based herbicides disrupt aromatase activity in human

   cells below toxic levels, 2016, Int J Environ Res Public Health, Vol. 13(3), pp. 264.
                             REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
        Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 96 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 95

salt (46% w/w) and surfactant cocoamine (18% w/w), water and minor ingredients (35.5%
w/w). In that study, penetration of glyphosate was found to range from 2.6% to 10.3%.

The study was carried out under the direction of              who worked for Syngenta
up to 2007. DTL is managed by                who was previously the Head of the in vitro
percutaneous absorption group at Syngenta Central Toxicology Laboratory. This DTL
study is vastly inconsistent and discrepant compared to all prior Monsanto glyphosate
dermal absorption studies performed by non-DTL laboratories. The inexplicable
differences in dermal absorption bioavailability renders the credibility of this study of
questionable merit and, as a consequence, warrants its exclusion.

Effects of Temperature on Skin Used in Laboratory Experiments
A 1998 study212 by Wester, et al., concluded that:

 "...human skin will sustain viability for 8 days following donor death in this system. Heat-treated (60°C water
for one minute) and heat-separated epidermis and dermis lose viability.
Conclusions: Human skin viability can be maintained for absorption studies. It is recommended that …
heat separation and skin freezing not be used in absorption studies where skin viability and metabolism
might be contributing factors to the study.
“Dermatomed skin was heat-treated at 60°C for one minute to simulate the heat-separation procedure to
produce epidermis separated from dermis (but no separation was performed) (Table 2). Lactate production
decreased significantly (p<0.000; p<0.04) for both heat-treated skin samples. Therefore, heating to
separate epidermis from dermis damages viability.
“In another study [Table 3] lactate production was determined in heat-separated epidermis and dermis. The
cumulative lactate production was much less than intact dermatomed skin, again showing the detrimental
effect of heat-separation on skin viability.”


These study citations clearly reveal that the outcomes of skin absorption tests can be
influenced merely by choosing a particular skin preparation procedure. The profound
differences in DTL results provide objective evidence that the laboratory may have
engaged in such practices. It is further noteworthy that with regard to changes that occur
in skin when subjected to low temperatures, Mesager, et al., noted in a 2003 article213
that:




212   Wester, et al., "Human Cadaver Skin Viability for In Vitro Percutaneous Absorption: Storage and
      Detrimental Effects of Heat-Separation and Freezing," 1998, Pharmaceutical Research, Vol. 15, No. 1.
213   Messager, et al., “Assessment of skin viability: Is it necessary to use different methodologies?” Skin
      Research and Technology, December, 2003, Vol. 9, pp. 321–330.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 97 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 96



“Skin is complex and may display variable structural and metabolic change ‘ex vivo’. … Frozen samples
showed some sign of stratum corneum fragmentation although this was not obvious. LDH activity measured
in fresh samples kept at 4 °C was low, but it was stable up to 7 days. Fresh samples kept at 32 °C had a
comparable LDH activity to the ones kept in the fridge up to 4 days. Frozen samples, thawed and then kept
at 4 °C, showed a stable LDH activity after 24 h of incubation. However, frozen samples incubated at 32 °C
demonstrated a high variability in results with up to 800 U/L of LDH activity after 5 days of incubation. …
Although the measurement of enzyme activity was easy to perform and gave reproducible results, the use
of single-enzyme activity (measuring only one pathway among the many metabolic pathways occurring
within a cell) can be criticized when used on its own.”


Table 17 summarizes the available glyphosate dermal absorption studies.

                                                     Table 17
                                Glyphosate Dermal Absorption Studies
                                                                                                      %
                                                                         Derma-    Stated %      Absorption
                        Study                                     Full   tomed      Dermal        Including
   Name/Author         Sponsor     Date    Specie      Design     Skin    Skin    Absorption    Unaccounted
 Franz, “Evaluation    Monsanto    1983    Human       in vitro   Yes     Yes      0.028%       0.152% (fluid)
 of the                                                                           MON0139        plus 4.02%
 percutaneous                                                                      0.063%            (“in
 absorption of three                                                               Roundup      epidermis”) =
 formulations of                                                                                    4.17%
 glyphosate”                                                                       0.152%         absorption
                                                                                  Spray Mix
      Study Notes:     Study used unfrozen abdominal human skin obtained at autopsy; used radioactive
                       glyphosate as labeled recovery target; failed to include unaccounted dose per OECD
                       regulations;

 Maibach,              Monsanto    1983    Primate     in vivo    Yes     No        1.80%           >1.8%
 "Elimination of
 14C-glyphosate in
 Rhesus
 monkeys…"
      Study Notes:     U.S. EPA guidelines require that at least 90% of dose be accounted for as compared
                       to 16% in the Maibach study. U.S. EPA classified the study as unacceptable since the
                       majority of dose was not correctly accounted for.
 Wester,               Monsanto    1991    Human,      in vitro   Yes     No          4.4%           22.6%
 “Glyphosate skin                          Primate     in vivo                     (low dose)   (if bound and
 binding,                                                                             2.9%       unaccounted
 absorption,                                                                      (high dose)   amount added
 residual tissue                                                                                  per OECP
 distribution and                                                                                regulations)
 skin
 decontamination.”
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 98 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 97

                                                   Table 17
                               Glyphosate Dermal Absorption Studies
                                                                                                        %
                                                                        Derma-     Stated %        Absorption
                       Study                                     Full   tomed       Dermal          Including
   Name/Author        Sponsor      Date   Specie     Design      Skin    Skin     Absorption      Unaccounted
     Study Notes:     Inappropriately large dose exceeded saturation; caused artificial reduction of
                      percentage absorbed in test subjects. Additionally, study underestimates systemic
                      dose from dermal absorption by a factor of 4.5 due to omission of fecal elimination.
                      Authors state 18.2% was "lost." OECD regulations require bound or unaccounted dose
                      to be added. Thus, 4.4% + 18.2% = 22.6%.
Wester, “In vitro     Monsanto     1991   Human       in vitro    -        -          2.2%               -
human skin                                                                          (± 0.5%)
absorption.”
     Study Notes:     Internal documents record fact that Monsanto considered study results "too risky" to
                      submit. Study discontinued by Monsanto prior to regulatory review; results never
                      published.
TNO Study: van        Monsanto     2002   Rat         in vitro    -        -          2.6%           Variable
Burgsteden, “In                                                                      ± 1.4 %         recovery
vitro percutaneous                                                                 (low dose)       Up to 18%
absorption study                                                                                    absorption
                                                                                      10.3%
[14C]-glyphosate
                                                                                     ± 4.2 %
using viable rat
                                                                                   (high dose)
skin membranes”
(MON 35012)
     Study Notes:     Maximum penetration of 10.3 % occurred with the higher dose of MON 35012
                      concentrate which contained the surfactant Cocoamine; one test membrane absorbed
                      approximately 18% of the applied dose.
TNO Study (MON        Monsanto     2002   Rat         in vitro    -        -          1.4%           Variable
0319) (70%)                                                                          ± 2.2 %         recovery
                                                                                   (low dose)
                                                                                      1.3%
                                                                                     ± 1.9 %
                                                                                   (high dose)
     Study Notes:     IPA salt of glyphosate only; no surfactant in test formulation. Wide range of statistical
                      variability reported (more than 100%)
DTL, "450 g/L         Monsanto     Feb    Human       in vitro   No      Yes         0.012%           0.049%
glyphosate in vitro                2010                                           (high dose)      (high dose)
absorption of                                                                        0.129%           0.796%
glyphosate                                                                        (med dose)       (med dose)
through human                                                                        0.082%           0.245%
epidermis."                                                                        (low dose)       (low dose)
(MON79545)
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 99 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 98

                                                   Table 17
                               Glyphosate Dermal Absorption Studies
                                                                                                     %
                                                                       Derma-    Stated %       Absorption
                       Study                                    Full   tomed      Dermal         Including
   Name/Author        Sponsor     Date    Specie     Design     Skin    Skin    Absorption     Unaccounted
     Study Notes:     Bioavailability (i.e. (absorbed + epidermis after tape striping) was 0.049%, 0.796% and
                      0.245% in order of increasing glyphosate concentration applied. This would have been
                      higher but the study excluded all glyphosate recovered from the stratum corneum.
                      Study did not state tissue thickness. Manually teased away dermis following 60 ̊
                      emersion for 40-45 seconds. Failed to include stratum corneum quantities in total
                      absorbed dose.
DTL, "360 g/L         Monsanto    Feb     Human      in vitro   No      Yes         0.009%          0.064%
glyphosate in vitro               2010                                           (high dose)     (high dose)
absorption of                                                                       0.029%          0.134%
glyphosate                                                                       (med dose)      (med dose)
through human                                                                       0.092%          0.277%
epidermis.” (MON                                                                  (low dose)      (low dose)
52276)"
     Study Notes:     Bioavailable percentage would have been higher but the study excluded all glyphosate
                      recovered from the stratum corneum. When compared to earlier (non-DTL studies)
                      high undiluted dose dermal absorption study this fell 333.33 times below the prior 3%
                      dermal absorption value established by the U.S. EPA and 488.89 times less than that
                      of the 4.4% dermal absorption rate measured in primates by Wester, et al. (1991).
                      These inexplicable findings of vastly lower absorption findings fail to note that the
                      glyphosate formulation is essentially unchanged since earlier studies were conducted.
DTL, "480 g/L         Monsanto    Feb     Human      in vitro   No      Yes         0.007%          0.123%
glyphosate in vitro               2010                                           (high dose)     (high dose)
absorption of                                                                       0.182%          0.262%
glyphosate                                                                       (med dose)      (med dose)
through human                                                                       0.048%          0.799%
epidermis"                                                                        (low dose)      (low dose)
(MON79351)"
     Study Notes:     The bioavailable amount in the low dose dilution was 0.8%, this amount exclude all
                      glyphosate in the stratum corneum, and would have been higher. When compared to
                      earlier (non-DTL studies), high undiluted dose dermal absorption study fell ~16 times
                      below the prior 3% dermal absorption value established by the US EPA and ~24 times
                      less than that of the 4.4% dermal absorption rate measured in primates by Wester, et
                      al. (1991). These inexplicable findings of vastly lower absorption findings fail to note
                      that the glyphosate formulation is essentially unchanged since earlier studies were
                      conducted.
                       REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 100 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 99

                                                 Table 17
                              Glyphosate Dermal Absorption Studies
                                                                                                  %
                                                                     Derma-    Stated %      Absorption
                      Study                                   Full   tomed      Dermal        Including
   Name/Author       Sponsor     Date   Specie     Design     Skin    Skin    Absorption    Unaccounted
DTL, "72 g/L         Monsanto     Apr   Human      in vitro   No      Yes       0.003%         0.011%
Glyphosate Gel                   2015                                          ("applied
Formulation - In                                                                 dose")
Vitro Absorption
through Human
Dermatomed Skin
using [14C]-
Glyphosate" (MON
76829)
     Study Notes:    No surfactants were used in this study which is a typical component that helps with
                     absorption in Roundup formulations. Study fails to state whether tissues were
                     separated by heat and if so what temperature or duration. Results fall approximately
                     272 times below the prior 3% dermal absorption value established by the US EPA and
                     400 times less than that of the 4.4% dermal absorption rate measured in primates in
                     the Wester study (1991). Study is vastly inconsistent and discrepant compared to all
                     prior Monsanto glyphosate dermal absorption studies performed by non-DTL
                     laboratories
DTL, "72 g/L         Monsanto     Apr   Human      in vitro   No      Yes       0.008%         0.04%
Glyphosate Gel                   2015                                          ("applied
Formulation (MON                                                                 dose")
76258) - In vitro
Absorption through
Human
Dermatomed Skin
using [14C]-
Glyphosate"
Study Notes:         No surfactants were used in this study which is a typical component that helps with
                     absorption in Roundup formulations. Tissue cut @ 400 μm thickness via electrical
                     dermatome; no implication whether tissue was heated; tissue was stored frozen at -20
                     ̊C. Complete amounts of recovered glyphosate in stratum corneum were not included.
DTL, "500 g/L        Monsanto    Aug    Human      in vitro   No      Yes       0.010%          0.088%
Glyphosate SL                    2016                                         (high dose)    (High dose)
Formulation - In                                                                0.081%          0.200%
vitro Absorption                                                                (diluted    (diluted dose)
through Human                                                                    dose)
Dermatomed Skin
using [14C]-
Glyphosate,"
(MON 76952)
                        REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 101 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 100

                                                  Table 17
                              Glyphosate Dermal Absorption Studies
                                                                                                    %
                                                                      Derma-    Stated %       Absorption
                      Study                                    Full   tomed      Dermal         Including
   Name/Author       Sponsor     Date    Specie     Design     Skin    Skin    Absorption     Unaccounted
Study Notes:         5,000 μg glyphosate acid/cm2 and 10 μg glyphosate acid/cm2 used. U.S. EPA
                     guidelines for dermal testing recommend a maximum practical dose on the order of 1
                     mg/cm2; larger doses can exceed saturation of the absorption process. Thus, the high
                     dose used exceeded the threshold by a factor of 5. Tissue cut @ 400 μm thickness via
                     electrical dermatome; no implication whether tissue was heated; tissue was stored
                     frozen at -20 ̊C. There is no indication that surfactants are present in this glyphosate
                     formulation.
DTL, "360 g/L        Monsanto    Aug     Human      in vitro   No      Yes        0.022%           0.277%
Glyphosate SL                    2017                                           (high dose)     (high dose)
Formulation (MON                                                                  0.042%           0162%
76258) - In vitro                                                                 (diluted     (diluted dose)
Absorption through                                                                 dose)
Human
Dermatomed Skin
using [14C]-
Glyphosate"
Study Notes:         Study results fall approximately 18.5 times below the prior 3% dermal absorption value
                     established by the US EPA and 27.5 times less than that of the 4.4% dermal
                     absorption rate measured in primates in the Wester study (1991). Tissue cut @ 400
                     μm thickness via electrical dermatome; no implication whether tissue was heated;
                     tissue was stored frozen at -20 ̊C. Surfactants use is at a percentage lower that
                     typical/classic glyphosate formulations
                        REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 102 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 101




                    Figure 8: Historical Dermal Absorption Factors by Study214

The study compilation presented in Table 13 reveals a remarkable finding. As shown in
Figure 8, something “unexplained” appears to have happened in 2010. Monsanto made
no significant alterations in product formulations, yet glyphosate dermal absorption
inexplicably dropped – by more than two orders of magnitude.

This extraordinary event may be explained by the fact that the results for each year (2010,
2015, 2016, 2017) were produced by the same laboratory (“DTL”). As no other evident
changes in product formulation occurred, it is evident that procedures and methodology
at DTL have impacted the results and as previously noted, DTL failed to apply “Triple
Pack” methods to validate their in vitro laboratory tests.

The DTL establishment was contracted by Monsanto and managed by a gentleman who
was previously in charge of the in vitro percutaneous absorption group at Syngenta
Central Toxicology Laboratory – who is also a producer of glyphosate and seeds.



214 Wester used Roundup which contained surfactants; Maybach’s dermal absorption was radio labeled

  glyphosate dissolved in Roundup which contained surfactants and water; TNO study formulation also
  contained surfactants.
                             REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 103 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 102

Studies, Reviews & Articles Impacted by Wester and Maibach Studies
Inasmuch as there are numerous, highly significant flaws in the two Monsanto-sponsored
studies, it is important to understand the impact these have had on other studies, reviews
and published articles (some of which were authored by Monsanto consultants).

1. Williams, GM, Kroes, R., and Munro, IC, “Safety evaluation and risk assessment of
   the herbicide Roundup and its active ingredient, glyphosate, for humans,” 2000,
   Regulatory Toxicology and Pharmacology. Vol. 31, pp. 117–165.

    The Williams, et al., risk assessment article opined that the dermal penetration of
    glyphosate is very low based on results from studies in Rhesus monkeys and in vitro
    studies with human cadaver samples. With respect to the Wester studies, Williams
    failed to acknowledge the documented fecal elimination route and only relied on
    urinary excretion. Additionally, Williams, et al., failed to note the difference in fecal
    verses urinary excretion dependent upon dose level including the extraordinarily high
    dose level of pure product on the skin of primates within the Wester studies.

    The Williams, et al., review stated,215 “Maibach (1983) studied the in vivo dermal
    absorption of glyphosate when undiluted Roundup herbicide was applied to the skin
    of monkeys. Penetration was slow as only 0.4 and 1.8% of the applied dose was
    absorbed over 24 hours and 7 days, respectively. A second study in Rhesus monkeys
    investigated the absorption of diluted glyphosate (1:29) to simulate a spray solution
    (Wester, et al., 1991). Dermal penetration was found to be 0.8 and 2.2% at low and
    high dose (500 or 5,400 mg/cm2, respectively). Wester, et al. (1991) also reported that
    the in vitro percutaneous absorption of glyphosate through human skin was no more
    than 2% when applied for up to 16 hours either as concentrated Roundup or as a
    diluted spray solution.”

2. Niemann, Lars, et al., “A critical review of glyphosate findings in human urine samples
   and comparison with the exposure of operators and consumers,” 2015, Journal für
   Verbraucherschutz und Lebensmittelsicherheit, Vol 10, Issue 1, pp 3-12.

    The basic assumption in Niemann, et al., is that dermally absorbed glyphosate is
    eliminated nearly entirely through urine and that “measuring of urine levels could be a
    powerful tool for human biomonitoring.” The study fails to reference or acknowledge
    the Wester and Maibach studies and does not consider dermally absorbed glyphosate


215 Williams, pp. 123-124.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 104 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 103

    at low, steady state rates of absorption being metabolized and excreted primarily
    through the feces.

    Niemann, et al., states “For active substances in plant protection products (PPP) with
    well-defined urinary elimination, no potential for accumulation and virtually no
    metabolism, measuring of urine levels could be a powerful tool for human
    biomonitoring. Such data may provide reliable estimates of actual internal human
    exposure that can be compared to appropriate reference values such as the
    ‘acceptable daily intake (ADI)’ or the ‘acceptable operator exposure level (AOEL)’.”

    Based on the Wester (1991) study, the evidence of “well defined urinary elimination”
    has been compromised. Such an assumption is misleading and potentially dangerous
    with respect to the human health risk assessment and comparisons to current ADI or
    the AOEL regulatory levels. Studies cited by Niemann, et al., include non-dermal dose
    assessments such as male SD rats receiving oral dosing (Brewster, et al., 1991),216
    oral dosing in feed (Chan & Mahler, 1992)217 and IV and oral doses in rats (Anadon,
    et al., 2009).218 None of the cited studies involve dermal dosing and do not establish
    “well defined urinary elimination” which is simply assumed. Furthermore, the Brewster
    study found that urine and feces were equally important routes of elimination and after
    7 days, the total body burden (~1%) of the dose administered was mostly in bone.
    Since dermal glyphosate exposure is the primary route of exposure contributing to
    systemic exposure in agricultural users, the assumption that distribution, metabolism,
    and excretion are identical by IV and dermal routes of exposure leads to egregious
    errors in systemic dose calculations.

3. Acquavella, J., et al., “Glyphosate biomonitoring for farmers and their families:
   results from the Farm Family Exposure Study,”2004, Env. Health Perspect 112, pp.
   321–326.




216 Brewster, D.W., Warren, J., and Hopkins, W.E., “Metabolism of glyphosate in Sprague-Dawley rats:

   Tissue distribution, identification, and quantitation of glyphosate-derived materials following a single
   oral dose,” July 1991, Fundamental and Applied Toxicology, Volume 17, Issue 1, pp. 43-51.
217 Chan, P. and Mahler, J., “Glyphosate (CAS No. 1071-83-6) administered in dosed feed to F344/N rats

   and B6C3F1 mice,” 1992, U.S. Department of Health and Human Services. NTP Technical Reports
   Series No. 16. NIH Publication 92-3135.
218 Anadón, A. et al., “Toxicokinetics of glyphosate and its metabolite aminomethyl phosphonic acid in

   rats,” 2009, Toxicol Lett 190(1), pp. 91-95.
              REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 105 of 155
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 106 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 105

    Monsanto also points out the limited degree of accuracy of their urinary glyphosate
    measurements in the Acquavella, et al., 2004, biomonitoring study:

     “Monsanto's analytic chemistry expertise was essential to the FFES. However, our current
     method is outdated. It requires relatively large volumes of urine (100 ml, versus 5 ml for
     the 2,4-D and chlorpyrifos methods) and produces less precise results than methods for
     other FFES chemicals. Given the likelihood that human health allegations will continue to
     surface for glyphosate, it seems advisable to invest in modernizing the analytic method to
     increase analytic flexibility and precision.”222

4. Solomon, K., “Glyphosate in the general population and in applicators: a critical review
   of studies on exposure,” 2016, Critical Reviews in Toxicology, 46(1), pp. 21-27.

    In the Solomon, 2016, review, it is again assumed that “the systemic dose of
    glyphosate can be estimated from the total amount of glyphosate excreted in the urine
    over the four or five days following and including the day of application.” A “correction
    for incomplete excretion” of 95% is made “based on observations in TK223 studies in
    monkeys which showed that 95% of total systemic dose was excreted via urine
    (Wester, et al., 1991), divided by 0.95.”224 Solomon does not consider dermally
    absorbed glyphosate at low, steady state rates of absorption being metabolized and
    excreted primarily through the feces.

5. Monsanto’s Spanish “OPEX” biomonitoring study entitled “MON 78294: An Applicator
   Exposure Study Conducted in Spain,” Autumn 2005.

    This study was conducted in order to estimate a systemic dose for occupational users
    of glyphosate and determine whether certain uses of the product resulted in
    unacceptable levels of dermal penetration. Monsanto submitted results of the studies
    to Spanish regulatory authorities as part of the herbicide registration process. A report
    was prepared for submission to the U.S. EPA, but it is unclear if it was ever submitted.
    In their determination of the systemic dose, they extrapolated the Wester, et al., 1991,
    study results to their biomonitoring data. As in the other examples cited above, doing
    so invalidates their values of the estimated systemic dose.



222 “Glyphosate Stewardship, Epidemiology and the Farm Family Exposure Study”, MONGLY00905655.

223 TK is an abbreviation for toxicokinetic and is used here as a synonym for pharmacokinetic.

224 Solomon, K., “Glyphosate in the general population and in applicators: a critical review of studies on

   exposures,” 2016, Critical Reviews in Toxicology, 46(1), pp. 21-27.
                       REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 107 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 106

Regulatory Guidance on Dermal Absorption and Recovery
Either knowingly or unknowingly, Monsanto regularly misstates or understates glyphosate
dermal absorption recovery and factors in its communications. It is not the purpose of this
toxicological risk assessment to draw conclusions about the intent of such misstatements.
However, it is helpful to understand the position of regulatory agencies on these points
and to briefly review some key guidelines pertinent to this issue.


  OECD: 18-Aug-2011 GUIDANCE NOTES ON DERMAL ABSORPTION Series on
  Testing and Assessment No. 156
  The current default approach taken by nearly all regulatory agencies is to determine the
  dermal absorption value by adding the absorbed dose and the chemical remaining in the
  skin, following washing. This is appropriate for both in vivo and in vitro studies unless
  compelling evidence demonstrates that some portion of the residue in the skin is unlikely to
  be absorbed. OECD TG 427 and 428 (OECD 2004a and 2004b) require a mean mass
  balance recovery of the test substance of between 90–110%. The OECD GD28 (OECD
  2004c) contains the same recommendation with a caveat that for volatile test substances
  and unlabeled test substances, a range of 80–120% is acceptable. However, with the in
  vivo study design, recoveries outside this range may be acceptable but must be justified.

  The criteria to justify mean mass balance recovery values outside the acceptance range
  can be summarized by the following examples:

  1. Recovery values exceed the recommended range: If the recoveries exceed the
     accepted maximum range, the data generated should not be normalized because that
     would result in potentially underestimated absorption values. If these absorption values
     are not acceptable when a risk assessment is conducted, then the study should be
     repeated to address any bias resulting from excessive recoveries.

  2. Recovery values below the recommended range: Low recoveries raise the concern
     that the value for absorbed dose could be lower than that which would be achieved from
     a study where the recoveries were within the guideline range. The reason for low
     recovery may be attributable to the following factors: (a) incomplete application of dose,
     (b) loss to the experimental equipment, (c) incomplete extraction from matrices (or
     incomplete collection of exhaled CO2), (d) evaporation, (e) unlabeled test preparations,
     metabolism or degradation or (f) insufficiently high analytical LODs/LOQs, in particular
     where non-labelling analytical methods are applied.
              REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 108 of 155
                       REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 109 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 108

to correct the systemic dose is in grave error by a factor of 4.5 and, therefore, is in no
way a “good estimate.”

B. Communication of                        (11-4-2008, response to                ): Subject:    Pk
   recovery, Wester, et al.

   “Many thanks for your help which I will try to defend as Monsanto position, but the authorities
   will decide next week. That means they are now doing the homework- if our proposed safety
   evaluation for CAYENNE formulation is compatible with the Acceptable Operating Exposure
   Level (AOEL) for glyphosate. I imagine we do not have other studies on the urine/feces
   excretion after topical applications of glyphosate to support our position. As it is critical that
   we have our product accepted in this coming meeting, I would like to complete my
   defense with a paragraph like this one:

   “Although we believe that the intravenous dose is accepted by toxicology peer reviewers as
   the best indicator to simulate the systemic presence of glyphosate, in case the Spanish
   authorities consider that the excretion through the urine should be taken from the variable
   data reported in the topical administration (urine/urine + feces = 75.86% or 18.18%), the
   average excretion in the urine of 47.02% would mean that our final exposure values should
   be multiplied by 2.13 resulting in exposure levels which are well below the AOEL of 0.2
   mg/kgBW/day.” 227

   Several documents and in-house Monsanto studies report that the IV model is the
   best indicator as to how systemically-administered glyphosate is metabolized and
   excreted. This statement is inaccurate since it is the dermal systemic dose that is of
   primary interest to both toxicologists and regulatory authorities.

   There are no reports of applicators intravenously injecting themselves with
   glyphosate. In the absence of actual primate dermal absorption data, the IV model
   should have been compared to animal models with urinary and fecal measurements
   conducted.

   However, it is not an acceptable practice in toxicology to replace real in vivo data with
   a “model” unless the actual dermal dosing data was faulty. There is no evidence to
   support this.




227 MONGLY02155830.
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 110 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 109

     Monsanto’s “variable data” problem has been used to avoid the finding of the alternate
     fecal elimination pathway. The “high variability” issue has been mis-applied in order
     to dismiss the primate dermal absorption test results. Monsanto has dismissed the
     primate data by failing to disclose why the “variable data” was excessive.

     The variability of the data (i.e., the percentage of urinary versus fecal elimination)
     was due to absorption saturation at the high dose as described previously and,
     therefore, only the low dose is relevant since it is closer to real-world exposure
     scenarios. Thus, the exposure values should be multiplied by 5.50, not 2.13.

C. Communication of                             (11-5-2008, response to All): Subject: Pk
   recovery, Wester, et al.


      “Even though we can absorb additional 'uncertainty factors' in our risk assessment based on
      our biomonitoring results, I feel uncomfortable with this discussion. This approach by Spain
      sets a precedent and contradicts the fact that we always claimed to fully understand
      the glyphosate pharmacokinetics. The Wester IV experiment suggests that almost the
      entire 'systemically' available dose was excreted in urine. The low dose topical in vivo
      experiment suggests that almost the entire dose (82%) that was absorbed through the skin
      was excreted in feces (3.6% feces versus 0.8% in urine). We should have a robust and well-
      documented explanation for this and stick to our original risk assessment or develop
      additional data to fully understand this matter and adjust our systemic dose calculations
      accordingly.” 228


D. Communication of                          (11-4-2008, response to             : Subject: Pk
     recovery, Wester, et al.
      “Joel, Donna & I have discussed your approach and you are correct. How much below the
      AOEL are your calculations? Christophe - by our rough calculations, Jaime's approach is
      approximately 50x below the AOEL of 0.2 mg/kgBW/day, Even if we applied the 90 h
      percentile for the passive dosimetry numbers, we would be below the AOEL.” 229


The pharmacokinetics assumed to be correct using the IV methodology are contradicted
by the primate dermal absorption studies.                       states “This approach by
Spain sets a precedent and contradicts the fact that we always claimed to fully understand
the glyphosate pharmacokinetics.” He cites the discrepancy in the Wester study and the


228 Id.

229 MONGLY02155829.
                       REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 111 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 110

need to further investigate in order to fully understand the pharmacokinetics (and thereby
“adjust” systemic dose calculations).

E. Response communication of                           (11-10-2008, response to All): Subject:
   Pk recovery, Wester, et al.


    “To fully address this issue would likely require a repeat of the monkey dermal and
    intravenous studies. We no longer own the custom-designed monkey chairs that prevented
    exfoliated abdominal skin from contaminating the excreta. Additionally, it is not clear whether
    similar chairs are used anymore by any researcher or if they would even be allowed. Thus,
    conducting a new series of monkey studies may not be easy nor inexpensive. Furthermore,
    it is not clear to me that such a study is necessary and would be totally without risk. Should
    we arrange a conference call to discuss this?”230


F. Communication of                         (11-10-2008, response to team): Subject: Pk
   recovery, Wester, et al.


    “To me, all this discussion continues to show that we still need solid data for ADME
      (Absorption, Distribution, Metabolism and Excretion) arising from dermal exposure.

    1. Our dermal absorption endpoint is based on the literature and, as I recall, we failed to
       get the original data to support the results.

    2. The movement of glyphosate in the blood flow from dermal contact is different to that
       through oral or intravenous exposure. The little data we have suggests that the
       excretion is significantly more through the feces than the urine.

    3. Dermal exposure is the greatest risk of exposure for operators. Therefore, we need to
       be secure on the ADME of such exposure.

    4. The WHO and EU reviews focus on the IV and oral but not the dermal. My position
       is, therefore, unchanged. We need to address this properly in the Annex II dossier
       and, therefore, should be considering a study.231

    As stated by              the movement of glyphosate in the blood flow from dermal
    contact is different to that through oral or intravenous exposure. It is precisely




230 MONGLY02155826.

231 MONGLY02155827.
                      REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 112 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 111

    because such differences exist that clinical researchers (and toxicologists) apply
    published study findings according to the guidance provided.

                  also notes that the study evidence has documented that glyphosate
    excretion is significantly more through the feces than the urine. This finding is highly
    significant as it directly contradicts a key assertion found in many of Monsanto’s
    published study results that elimination through urine alone accounts for the majority
    of recovery. Thus, this assumption can impact the results and accuracy of dermal
    absorption studies and biomonitoring studies of workers who have their urine tested.

G. Communication of                          (11-12-2008, response to                        ):
   Subject: Pk recovery, Wester, et al.

     “Monsanto is a company with recurring discussions (which is good!)... You will remember
    that we discussed this in length with a lot of people before we initiated the Spanish OPEX
    study... (please see attached). The outcome was that (1) other animal data confirmed the
    Wester findings; (2) such a study would be too risky (potential for finding another
    mammalian metabolite); and (3) we would wait for the evaluation of Spain. Looking forward
    to this discussion on the 24th of November. I also recall that David has asked 2 external
    pharmacologists for an opinion on the Wester study. Would that opinion be available by that
    time?”232

The charge and responsibility of the toxicologist is to determine the ADME (absorption,
distribution, metabolism and excretion) as ADME are critical components in the risk
assessment process.

It is always of great importance to identify all metabolites since certain chemicals have
been known to produce toxic metabolites under high dose levels (such as Tylenol) or
carcinogenic metabolites (such as metabolites of benzene). Failing to perform a needed
study due to the risk of finding an adverse result that could negatively impact unrelated
agendas represents an unacceptable practice in the field of toxicology.

Factors Intensifying Dermal Absorption of Glyphosate
Beyond the underestimation of dermal absorption by Monsanto, there are additives within
Roundup formulations that further increase dermal absorption of glyphosate and also
enhance genotoxicity (for example, POEA derivatives).



232 MONGLY02155826.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 113 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 112

There are numerous factors governing the rate and degree of dermal absorption, both
intrinsically and potentially. In glyphosate, these include (a) “co-formulants” (ingredients
other than the active ingredient such as detergents or anti-foam agents), (b) surfactants
(compounds which lower surface tension), (c) humectants (to inhibit moisture loss), (d)
adjuvants (chemicals which modify the effect of other agents), (e) absorption
enhancement due to skin damage, lesions, cracks and other irregularities, (f) lack of
personal protective gear and (g) other factors such as penetration enhancers and skin
creams. This section reviews and assesses these factors as toxicological
considerations.

Generally speaking, with the exception of substances of a proprietary nature or which
have not been disclosed by Monsanto, most of the considerations mentioned above
tend to intensify absorption rather than reduce it. The following sections review each
factor individually given the limited information available at this time.

Co-Formulants
The exact identities and amounts of the co-formulants in GBF herbicides are usually
unknown as they are kept as confidential trade secrets. In many countries (including the
U.S.), manufacturers are only required to identify the declared active ingredient (DCI),
i.e., glyphosate. The co-formulants (i.e., all ingredients other than the DCI) have rarely
been identified and have often been declared as “inert ingredients.” 233

Herbicide manufacturers frequently take advantage of regulatory agency definitions of
“inert ingredients.” Despite their name, inert ingredients may be biologically or
chemically active and are labeled inert only because of their function in the formulated
product. For example, an herbicide ingredient can be considered “inert” if it has no direct
effect on the intended target, i.e., the weed. In herbicides, the ingredients added to
enhance absorption, increase ionization, prevent foaming or reduce drifting are
characterized by the manufacturer as “inert ingredients” since they do not directly kill
the weeds. However, they are not necessarily without toxicity to animals or humans.

Independent studies of complete herbicide formulations are not generally possible as
specific herbicide formulations are protected. Manufacturers of co-formulants have




233 Defarge, N. et al., “Co-formulants in glyphosate-based herbicides disrupt aromatase activity in human

   cells below toxic levels,” 2016, Int J Environ Res Public Health, Vol. 26;13(3), pii: E264.
              REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 114 of 155
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 115 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 114

Surfactants
Like co-formulants, the exact identities and amounts of surfactants in GBF herbicides are
usually unknown as they are kept as confidential trade secrets. The most predominately
used surfactants in GBFs are polyoxyethylene alkylamine (POEA) surfactants.238,239

POEA is an acronym, not a specific chemical, which encompasses a wide range of alkyl-
amine ethoxylate compounds. Within the group of POEA surfactants, the chemistry is
complex and varied. Ethoxylated tallowamine has been the traditional surfactant
component and the most well-known ‘inert’ ingredient contained in the original Roundup
formulation and many others. It is a POEA non-ionic surfactant consisting of beef tallow
fatty acid-derived alkyl chains converted to primary amines and ethoxylated with between
10 to 20 ethylene oxide (EO) units.240 It is often mixed with polyethylene glycol or other
surfactants plus other materials to facilitate manufacturing and formulation stability. 241
Roundup’s surfactants include 1,4-dioxane (a probable human carcinogen) as an impurity
at about 0.03%.242

POEA significantly increases penetration in plant cells as well as in animal cells. Richard,
et al., found that the addition of surfactants “greatly facilitated” the penetration of
glyphosate through animal cell membranes.243

It is helpful to understand that, due to corporate secrecy and proprietary concealment,
POEA was first recognized as a common ingredient in herbicides in the 1980’s when
physicians in Japan reported that morbidity and deaths of patients who drank Roundup
were due to POEA, not glyphosate.244

238Williams, G., et al., “Safety evaluation and risk assessment of the herbicide Roundup and its active

   ingredient, glyphosate, for humans,” 2000, Regulatory Toxicology and Pharmacology, Vol.31, pg. 117 -
   165.
239 Diamond, G., Durkin, P., “Effects of surfactants on the toxicity of glyphosate with specific reference to

   RODEO,” 1997, Syracuse Research Corporation, SERA TR 97-206-1b.
240 From an internal Monsanto report, Surfactant Issue Analysis, Issue: Increasing public attention to the

   POEA (Polyoxyethlene alkylamine) surfactant component of glyphosate formulations in connection
   with claims of adverse impact to aquatic life (recently, amphibians) and human health (in vitro cell
   culture toxicity tests). MONGLY01700591.
241 Id.

242 Monsanto, 1990 in Diamond, G., Durkin, P., “Effects of surfactants on the toxicity of glyphosate with

   specific reference to RODEO,” 1997, Syracuse Research Corporation, SERA TR 97-206-1b.
243 Richard, S., et al., “Differential effects of glyphosate and Roundup on human placental cells and

   aromatase,” 2005, Environmental Health Perspectives.
244 Sawada, Y., Nagai, Y., Ueyama, M., and Yamarnoto, I., “Probable toxicity of surface active agent in

   commercial herbicide containing glyphosate,” 1988, Lancet 1 (8580), pp. 29.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 116 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 115


POEA is an eye irritant, toxic to aquatic organisms, penetrates cell membranes and
disrupts their structure and function. Diamond and Durkin made the following
observations regarding surfactants in glyphosate-based formulations:

1. Multiple Formulations: The formulations are chemical mixtures and must be
   considered as mixtures in toxicity assessments. In this context, an assessment of
   the specific surfactants in any of the formulations or generalizations about the
   toxicology of surfactants as a group may not apply to the formulations. This
   consideration places extreme importance on data regarding the toxicity of the
   formulations themselves. The lack of such data will render any predictions about the
   effects of the formulations on glyphosate highly uncertain.245

2. Unknown Interactions: Surfactants can be expected to interact with and perturb
   the structure, physical properties and function of membranes. 246

3. Objective Evidence is Lacking: For specific mechanisms of interactions between
   glyphosate and surfactants.247

4. Multiplicity of Potential Reactions: The structural characteristics of extreme
   hydrophilicity and hydrophobicity of surfactants may result in very different
   interactions with hydrophobic and hydrophilic herbicides. Thus, the relatively water-
   soluble isopropylamine salt of glyphosate may interact differently with surfactants
   than the less water-soluble parent compound or other more insoluble herbicides. 248

Indirect Disclosures of Surfactant and Co-Formulant Toxicity
In 2013, Mesnage, et al., published their study of nine herbicides containing glyphosate
including five different formulations of Roundup. After studying the chemicals’ patterns
using mass spectrometry, Mesnage and his colleagues determined the identity of co-
formulants in Roundup and performed toxicity analyses. They deduced the chemical




245 Diamond, G., Durkin, P., “Effects of surfactants on the toxicity of glyphosate with specific reference to

   RODEO,” 1997, Syracuse Research Corporation, SERA TR 97-206-1b.
246 Id.

247 Id.

248 Id.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 117 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 116

structure of additives in six of the nine formulations and showed that each of these
supposedly inert ingredients was more toxic than glyphosate alone.249

Subsequently, other studies have examined the toxicity of these co-formulants and
measured significant enhancement of toxicity. While there occasionally may be
performance differences between glyphosate products, these differences are more
likely to be caused by the differences in surfactants formulated with the product.

Defarge, et al., 2016, study showed that each of the five co-formulants affected the
function of both the mitochondria in human placental cells and aromatase, an enzyme
that affects sexual development. Not only did these chemicals, which are not named on
herbicide labels, affect biological functions, they did so at levels far below the
concentrations used in commercially available products. In fact, POEA, an “inert”
ingredient, was between 1,200 and 2,000 times more toxic to cells than glyphosate, the
“active” ingredient. They also reported that six glyphosate formulations similarly
decreased aromatase activity in human placental cells at concentrations much lower
than glyphosate alone. 250

In a memorandum regarding risk assessment of “inert ingredients” in pesticide
formulations, the U.S. EPA stated that although there are no dermal absorption data on
the AAAPD and AAASD surfactants, the agency would expect the dermal absorption to
be very low for these compounds. They base their conclusion on the physicochemical
properties of these inert ingredients, including their relatively high molecular weights
and water solubility, and on the fact that they are large crosslinked molecules. This
conclusion leads them to using 5% dermal absorption as a “likely upper bound,
conservative value” in their risk assessment. 251

The EPA also noted in this memorandum that there is no evidence that these surfactants
are carcinogenic. This finding was based solely on a qualitative structural activity
relationship (SAR) database (DEREK Version 11) which found no structural alerts. They



249 Mesnage, R., Bernay, B., and Séralini, G.E., “Ethoxylated adjuvants of glyphosate-based herbicides

   are active principles of human cell toxicity,” 2013, Toxicology 313(2-3), pp. 122-8.
250 Defarge, N. et al., “Co-formulants in glyphosate-based herbicides disrupt aromatase activity in human

   cells below toxic levels,” 2016, Int. J. Environ. Res. Public Health 13, pp. 264.
251 “Alkyl Alcohol Alkoxylate Phosphate and Sulfate derivatives (AAAPDs and AAASDs – JITF CST Inert

   Ingredients). Human health risk assessment to support proposed exemption from the requirement of a
   tolerance when used as inert ingredients in pesticide formulations.” Memorandum from Office of
   Prevention, Pesticides, and Toxic Substances, US EPA, Washington, D.C. June 8, 2009.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 118 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 117

also stated that there was little concern about any of the postulated metabolites having
greater toxicity than the parent compounds.

Examples of Surfactant and Co-Formulant Toxicity
There is a general agreement and consensus that co-formulants can be more toxic for
animals than glyphosate itself. 252 For example, cytotoxicity of the commercial
formulation Roundup to human peripheral mononuclear cells was 30-fold higher (LC50
= 56 mg/L) than for the active ingredient (LC 50=1640 mg/L). Several in vitro and in vivo
studies with parallel testing of glyphosate active ingredient and Roundup showed that
only the commercial formulation was genotoxic. 253

New Zealand registration data revealed Roundup contained POEA. 254                 Other
formulations may contain much higher levels, even as high as 60-80% as in the
Genamin formulation.255 In studies using hepatic (HepG2), embryonic (HEK293) and
placental (JEG3) cell lines to compare ten formulations of glyphosate, the most toxic
were those that contained POEA. This surfactant induced necrosis and disrupted the
structure and function of cell membranes with negative dose-dependent effects on
cellular respiration and membrane integrity between 1 and 3 mg/L. 256
POEA potentiates the effect of glyphosate facilitating its penetration of cell membranes
and bioaccumulation in cells.257 The bio-concentration factor for glyphosate is also
increased in the presence of POEA in the aquatic environment. 258

Regulatory Considerations Based on Surfactant and Co-Formulant Toxicity
In the absence of clear, unambiguous information pertaining to a commercial product’s
chemical composition, some countries take a hardline approach to regulation. For

252 Defarge, N. et al., “Co-formulants in glyphosate-based herbicides disrupt aromatase activity in human

   cells below toxic levels,” 2016, Int. J. Environ. Res. Public Health 13, pp. 264.
253 Bolognesi, et al., “Biomonitoring of genotoxic risk in agricultural workers from five Colombian regions:

   Association to occupational exposure to glyphosate,” 2009, Journal of Toxicology and Environmental
   Health Part A, 72, pp. 986—997.
254 Watts MA, “The poisoning of New Zealand,"1994, AIT Press, Auckland. From Pesticide Action

   Network (PAN). http://pan-international.org/wp-content/uploads/Glyphosate-monograph.pdf
255 Mesnage, R. et al., “Ethoxylated adjuvants of glyphosate-based herbicides are active principles of

   human cell toxicity,” 2013.
256 Id.

257 Richard, S. et al., “Differential effects of glyphosate and Roundup on human placental cells and

   aromatase,” 2005, Environ Health Perspect 113(6), pp. 716-20.
258 Annett R, Habibi HR, Hontela A., “Impact of glyphosate and glyphosate-based herbicides on the

   freshwater environment,” 2014, J Appl Toxicol 34(5), pp. 458-479.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 119 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 118

example, due to toxicity concerns, Germany removed glyphosate products containing
POEA from their market in 2014259 and the European Union banned them in 2016. 260
The New Zealand Environmental Protection Agency (NZ EPA) has current approvals
for 91 formulations of glyphosate of which 69 contain POEA. The New Zealand EPA
refuses to name them “because the composition of the formulations is commercial-in-
confidence information.”261

This situation is typical of many countries. The decree that banned the use of glyphosate
formulations containing POEA in Italy named 55 formulations including well-known
names such as Roundup, Rodeo® and Touchdown® and brands from Cheminova,
Syngenta, Nufarm, Dow AgroSciences, and Arysta as well as Monsanto and some
Italian companies.262

The key point here is that experimental studies suggest that the toxicity of POEA is
greater than the toxicity of glyphosate alone and commercial formulations alone.
However, safety evaluations performed by Monsanto have largely been performed on
pure glyphosate or without identification of all ingredients. There is also evidence that
glyphosate preparations containing POEA are more toxic than those containing
alternative surfactants. Since surfactants contribute to the toxicity of glyphosate
formulations, adverse health consequences are not necessarily caused by glyphosate
alone but as a consequence of complex and variable mixtures. Even Monsanto has
recognized this in correspondence (as cited in this assessment).

Monsanto TNO Dermal Penetration Study with Co-Formulant Cocoamine
Monsanto’s previously reported dermal absorption studies did not include surfactant co-
formulants. Monsanto did find evidence of the effects of one surfactant, cocoamine, on
dermal absorption in their TNO dermal penetration studies. These studies were not
submitted to the U.S. EPA or to any European regulatory agency.


259 Farrer P, & Falck M., “Toxic glyphosate herbicides fly under the EU’s regulatory radar,” 2014,

   Pesticides News 96, pp. 1-4.
260 EC. 2016. Glyphosate. European Commission - Fact Sheet FAQs: Glyphosate. Brussels. June 29th.

   http://europa.eu/rapid/pressrelease_MEMO-16-2012_en.htm
261 NZ Parliament. 2016. Written questions 10151, 10153, 10154. Steffan Browning to the Minister for the

   Environment. New Zealand Parliament Paremata Aotearoa, Wellington.
   https://www.parliament.nz/en/pb/order-paper-questions/written-
   questions/?criteria.Keyword=glyphosate
262 Pesticide Action Network (PAN). http://pan-international.org/wp-content/uploads/Glyphosate-

   monograph.pdf
                      REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 120 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 119

TNO Study: Johan van Burgsteden, “In vitro percutaneous absorption study with [14C]-
glyphosate using viable rat skin membranes,” June 14, 2002, Unaudited draft report
V4478 (Tab 24).

Glyphosate in formulations MON 35012 and MON 0139 (70%) was examined for in vitro
percutaneous absorption through viable rat skin membranes. Both contain the IPA salt of
glyphosate, but MON 35012 also contains the surfactant cocoamine. Both the
concentrated formulation and the field dilution were tested as shown in Table 18. After
eight hours of exposure, the test substance was removed from the application site and
samples of the receptor fluid were collected for an additional 40 hours.

                                            Table 18
           Formulations and Doses Tested in TNO Dermal Absorption Studies

                                                                    Dose (mg gly/cm2)
    Formulation                    Ingredients                 Concentrate   Field dilution
 MON 35012          Glyphosate Isopropylamine salt (46% w/w)
                    Surfactant Cocoamine (18% w/w)                6.249          0.080
                    Water & minor ingredients (35.5% w/w)
 MON 0139 70%       Isopropylamine salt (62% w/w)                 6.343          0.080
                    Inert ingredients (38% w/w)
                        REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 121 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 120

The investigators in this study used doses outside the range recommendations of the
U.S. EPA‘s 1998 “Health Effects Test Guidelines” for dermal penetration as follows:

     The maximum practical dose is on the order of 1 mg/cm2—larger doses tend to fall off the
     skin or exceed saturation of the absorption process. When only three doses are given, the
     highest dose should be on the order of 0.1 mg/cm2.263


There are two doses in this study - the higher dose being 6.2 times larger than the
recommended maximum dose. Furthermore, the U.S. EPA guidelines state that:

     The maximum dose volume should not exceed 10 μL/cm2. Larger volumes of liquid have
     been found to flow on the skin and produce uneven distribution on the dosed area.264


In this study, 10 μL of the test samples was applied on a 0.64 cm2 skin surface area. This
is the equivalent of 15.6 μL/cm2 which is more than one- and one-half times greater than
the recommended maximum (liquid) dose. The excess in both the concentration and the
volume of the concentrated doses will contribute to absorption saturation as described by
the U.S. EPA:

     The amount of chemical coverage on the skin surface can influence the amount of dermal
     absorption. Chemical coverage of the skin surface may be incomplete where only part of
     the surface is covered or it may be complete where the entire skin surface is covered. In
     both cases, only the amount of chemical in contact with the skin surface is available for
     absorption such that the capacity of the skin to absorb the chemical may be exceeded.265


The results of the eight-hour exposures are shown in Table 19.




263 U.S. EPA OPPTS 870.7600, “Health Effects Test Guidelines Dermal Penetration,” August 1998, pp. 4.

264 Id.

265 U.S. EPA OPPTS 870.7600, “Health Effects Test Guidelines Dermal Penetration,” August 1998, pp. 3.
                     REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 122 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 121

                                            Table 19
                   Percent Absorption of Glyphosate (percent of dose)
                               MON 35012                       MON 0319 (70%)
                         (containing surfactant)               (no surfactant)
                      Penetration                       Penetration
                      within 48 hrs    Mass balance     within 48 hrs   Mass balance
     Dose                       % of dose                         % of dose
                       2.6 ± 1.4 %                       1.4 ± 2.2 %
     Low dose         (2.10 μg/cm2)          73.4 %     (1.13 μg/cm2)         82 .6 %

                      10.3 ± 4.2 %                       1.3 ± 1.9 %
     High dose       (646.3 μg/cm2)         132.4 %     (80.8 μg/cm2)         128 .2 %




The following key points emerged from the exposure/absorption tests:

x   The maximum penetration of 10.3 % occurred with the higher dose of MON 35012
    concentrate which contained the surfactant Cocoamine.
x   Even at the lower glyphosate dose of 0.080 mg/cm 2 of MON 35012, the penetration
    was 2.6 % of the dose which is greater than Monsanto had previously reported.
x   The mass balance was found to range from 73 % to 132 %. This variability is very
    high as guidelines cite an adequate mean recovery is in the range of 100 ± 10%.
    (OECD, 2004). This suggests variability in the amount of absorption among the rat
    skin membrane samples at each dosing.
x   In fact, while the mean penetration of the higher dose in MON 35012 was 646.3
    μg/cm2, one membrane absorbed approximately 1,100 μg/cm 2, or about 18 % of the
    applied dose. The mean penetration of the lower dose of MON 35012 was 2.10 μg/cm2
    while the maximum penetration was about 3.5 μg/cm 2 or approximately 4.4 % of the
    applied dose.
x   At the lower dose, using the worst-case scenario, the missing 27% of the dose should
    be included in the amount absorbed and, therefore, the amount of absorbed
    glyphosate would be 30% of the applied dose.
The measured 10.3 % dermal absorption of glyphosate through rat skin in the presence
of a surfactant was not received well by Monsanto.
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 123 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 122

In a message from                         3-29-02) to             et al: Subject:
“TNO dermal penetration studies: new issues and topics for the conference call of
Tuesday, 2 April (8 A.M STL time),” the following was noted:

“As of today we received preliminary surprising results on in vitro dermal penetration of propachlor
and glyphosate through rat skin; it is imperative that we work closely together and communicate
well on the conduct, the practical difficulties and the results associated with these studies.
Glyphosate:
- The EU rapporteur for glyphosate used a dermal penetration factor of 3% based on several
published in vitro/in vivo dermal penetration studies
- We launched human and rat in vitro dermal penetration studies with MON 35012 with and without
surfactant
- Preliminary results with rat skin are not acceptable (see fax); due to very bad reproducibility (sic)
that TNO cannot explain, they proposed to repeat the study in parallel with the human skin study.
However, we can already conclude that:
a. For the concentrate MON 35012, the % in vitro dermal penetration of glyphosate through rat
  skin is between 5 and 10%
b. For the spray dilution of MON 35012, the % in vitro dermal penetration of glyphosate through
  rat skin will be around 2%
c. The dermal penetration of glyphosate itself in the absence of surfactant is lower than 1.5%.”


A follow-up communication from Mr. William Heydens (4-2-02, to                     :
Subject: “TNO dermal penetration studies: new issues and topics for the conf call of
Tuesday, 2 April (8 A.M STL time).”

“… My primary concern is with the glyphosate in terms of the potential for this work to blow
Roundup risk evaluations (getting a much higher dermal penetration than we've ever seen
before).”


Monsanto did not share this study with the public or the scientific community. Additionally,
Monsanto decided not to have it repeated. Some incidental communications on this
subject are available for consideration:
                        REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 124 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 123

                      (4-4-02):

“Although we agreed to repeat the in vitro dermal penetration study with rat skins as proposed by
TNO, we came to the conclusion that the penetration of glyphosate would have been [probably]
greater than the 3% already imposed by the German authorities. We decided thus to STOP the
study (effective today morning).”


With further explanation,                      (4-5-02):

 “…we initiated the studies from a regulatory angle to help meet the requirements for operator
exposure, given that the Annex I endpoint for dermal absorption for glyphosate was set at 3%,
…the results of the rat skin studies show levels of absorption for glyphosate of a similar order to
the Annex I endpoint; also confirm our expectation that surfactant concentration affects the dermal
absorption… therefore, from the regulatory angle, there is no point in pursuing the studies further.”


Humectants

In addition to surfactants, Roundup formulations also contain humectants which reduce
the loss of moisture. As Monsanto notes, 266

“Certain co-formulants like humectants that will make it highly likely we will get large
amounts penetrating the skin.”


Humectants include chemicals such as ethylene glycol (anti-freeze). Ethylene glycol is
included in most Roundup formulations. In addition to increasing dermal absorption,
ethylene glycol is a toxic chemical in and of itself.267 It is uncertain whether Monsanto
ever studied the effect of ethylene glycol on glyphosate dermal absorption.268

Adjuvants

Adjuvants may be added to glyphosate formulations prior to use to improve their efficacy
against weeds by enhancing penetration of glyphosate into the target plant. However,
many of these may also increase the toxicity of glyphosate to other species. For
example, organosilicone surfactants, described as the most potent of adjuvants and
commonly added to glyphosate formulations, are now linked to a decline in honeybees



266 MONGLY06653096.

267 MONGLY01832749. (Toxic to children at 70 cc of Roundup with 5% ethylene glycol.)

268 MONGLY01745304.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 125 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 124

in the U.S.269 The common adjuvant surfactant TN-20 used in glyphosate formulations
caused cell death and mitochondrial damage in rat cells which disrupts the integrity of
the cellular barrier to glyphosate and promotes its toxicity. 270 Martini, et al., (2016)
demonstrated that adjuvants other than POEA inhibited proliferation and differentiation
of mammalian 3T3-L1 fibroblasts to adipocytes.271

Enhanced Absorption Due to Skin Damage

Skin, by its nature, is often compromised due to cracking and fissures, by cuts, scrapes,
chemical damage, water-submersion, burns, sensitivity reactions, eczema and infections.
This is particularly true for outdoor workers. Breaks in the protective lipophilic barrier of
the stratum corneum significantly increase absorption of hydrophilic compounds. A
compromised protective lipid barrier will allow the hydrophilic glyphosate to pass through
into the hydrophilic dermis, thus avoiding slow diffusion through the lipid layer.
Percutaneous absorption studies have demonstrated that glyphosate deposition in
damaged skin is five times that of healthy skin and penetration through damaged skin is
increased 20-fold.272 The integrity of the skin also effects the distribution of chemicals
within the skin compartments which will have implications in the efficacy of hand-washing
after herbicide exposure.273

With respect to applicators, the acute quantity of glyphosate entering the skin is low.
However, with repeated doses, especially coupled with a failure to wash the skin before
it can be absorbed, the cumulative dose increases. Studies have documented that
glyphosate penetration of skin increases linearly with time. Thus, if the worker is unaware
of the exposures, absorption continues.274




269 Mullin CA, Fine JD, Reynolds RD, Frazier MT, “Toxicological risks of agrochemical spray adjuvants:

   organosilicone surfactants may not be safe,” 2016, Front Public Health, 4:92.
270 Kim YH, Hong JR, Gil HW, Song HY, Hong SY, “Mixtures of glyphosate and surfactant TN20

   accelerate cell death via mitochondrial damage-induced apoptosis and necrosis,” 2013, Toxicol In Vitro
   27(1), pp.191-197.
271 Martini, C. et al., “Glyphosate-based herbicides with different adjuvants are more potent inhibitors of

   3T3-L1 fibroblast proliferation and differentiation to adipocytes than glyphosate alone,” 2016,
   Comparative Clinical Pathology, Volume 25, Issue 3, pp. 607–613.
272 Nielsen, J. et al., “Defense against dermal exposures is only skin deep: significantly increased

   penetration through slightly damaged skin,” 2007, Arch Dermatol Res, Vol. 299, pp. 423-431.
273 Id.

274 Kezic, S. & Nielsen, J.B, “Absorption of chemicals through compromised skin,” 2009, International

   Archives of Occupational and Environmental Health, Vol. 82(6), pp. 677-88.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 126 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 125

Glyphosate’s Role in Skin Damage

Evidence of glyphosate interference with mitochondrial function is increasingly emerging
in the scientific literature. Mitochondria are the powerhouse bodies within cells which are
necessary in the programmed cell death needed to form skin. Impairment of mitochondrial
function reduces the transition of dermal to epidermal cells leading to a decrease in the
protective epidermis.275

Additional studies by Heu, et al., have demonstrated glyphosate-induced structural
changes.276 In these studies, the control cells show Young’s modulus values respectively
increasing approximately 4-fold for 6 hours and 3-fold for 18 hours. These increases
reflect a significant rise in cell stiffness. Heu, et al., reported that after a gentle cytotoxic
treatment (6 h, 15 mm-glyphosate), the topography profile changes. The cells exhibit a
flattened membrane and a different distribution of native protrusions. They also show a
complex subcellular filamentous network with numerous membrane junction points. 277
Thus, glyphosate itself has an intrinsic propensity to damage skin.

Other Factors Increasing Dermal Absorption
Various skin cream compounds applied to the skin prior to handling pesticides have been
demonstrated to alter percutaneous absorption as reported in a study by Brand, et al.,
(2007).278 In these studies, four commercially available moisturizing creams were tested
with respect to their capacity as transdermal penetration enhancers using the herbicide
2,4-dichlorophenoxyacetic acid (2,4-D) as a model compound. Their data demonstrated
that pre-treatment with three of the four creams increased the absorption of 2,4-D as
evidenced by either an increased cumulative penetration or shorter lag-times.

Korinth, et al., (2003) reported that skin barrier creams have been demonstrated to
enhance the penetration rates of different industrial solvents. The creams significantly




275 Heu, C., et al., “A step further toward glyphosate-induced epidermal cell death: Involvement of

   mitochondrial and oxidative mechanisms,” 2012, Environmental Toxicology and Pharmacology 34.
276 Heu C, Berquand A, Elie-Caille C, Nicod L., “Glyphosate induced stiffening of HaCat keratinocytes, a

   Peak Force Tapping study in living cells,” 2012, J Struc Biol 178, pp. 1-7.
277 Id.

278 Brand, R. et al., “Transdermal absorption of the herbicide 2,4-dichlorophenoxyacetic acid is enhanced

   by both ethanol consumption and sunscreen application,” 2007, Food and Chemical Toxicology,
   Volume 45, Issue 1, pp. 93-97.
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
     Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 127 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 126

enhanced the penetration rates of solvents from complex mixtures compared with the
single solvents.279

Water-in-oil emulsions, such as oily creams, retard water loss from the skin thereby
increasing hydration but also increasing the permeability of the skin. 280 Oil-in-water
emulsions (water-based creams) may donate water to the skin thereby increasing
hydration and also slightly increasing the skin’s permeability.281

Wester and Maibach (2015)282 reported on the absorption of a 1% glyphosate solution
from cotton cloth into and through human skin. Cotton cloth was dosed with a 1%
glyphosate solution and applied to the skin. It was found that 0.7 ± 0.3 % was absorbed
compared to 1.4 ± 0.2 % dose absorbed when the solution was dosed directly on the skin.
Allowing the cotton cloth to air dry for one day further reduced the absorption to 0.08 ±
0.01 %. However, after adding water to the dried cotton-glyphosate cloth, the absorption
increased to 0.4 ± 0.1 % indicating that water “activated” the glyphosate. The water was
acting as an external solvent and as such, increased the percutaneous absorption.

Ethanol is also well known as a topical penetration enhancer as it is frequently used in
transdermal drug delivery systems (patches). Bommannan, et al., (1991) 283 found that,
during in vivo studies with human skin, ethanol enters the skin and removes measurable
quantities of the lipid barrier material from the stratum corneum. This lipid extraction may
lower the skin barrier function and render the membrane more permeable which is the
most likely explanation for the effect of ethanol as a skin penetration enhancer.




279 Korinth G, Geh S, Schaller KH, Drexler H., “In vitro evaluation of the efficacy of skin barrier creams

   and protective gloves on percutaneous absorption of industrial solvents,” 2003, Int Arch Occup Environ
   Health, Vol. 76(5), pp. 382-6.
280 Smith, Eric and Maibach, Howard, eds., Percutaneous Penetration Enhancers (Boca Raton, FL:          CRC
   Press, 2015.
281 Smith, Eric and Maibach, Howard, eds., Percutaneous Penetration Enhancers (Boca Raton, FL:          CRC
   Press, 2015.
282 Wester, R. and Maibach, H. (2015). ‘Penetration enhancement by Skin Hydration’, in Smith, E. and

   Maibach, H. (eds.) Percutaneous Penetration Enhancers (Boca Raton, FL) CRC Press, 2015.
283 Bommannan D, Potts RO, Guy RH, “Examination of the effect of ethanol on human stratum-corneum

   in vivo using infrared-spectroscopy,” 1991, J Control Release, Vol. 16, pp. 299–304.
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 128 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 127

The mechanism by which ethanol facilitates permeation of a solute, such as glyphosate,
is referred to as the “'pull” (or “drag”) effect.284 Hand sanitizer use has become
widespread in the U.S. and typical hand sanitizers contain on average of 62% ethanol.

Thus, the use of creams and lotions to treat dry, cracking skin as well as the use of hand
sanitizers potentiate the dermal absorption of glyphosate among occupational
applicators.




284 Heard CM, Kung D, Thomas CP, “Skin penetration enhancement of mefenamic acid by ethanol and

  1,8-cineole can be explained by the “pull” effect,” 2006, Int J Pharm., Vol. 321, pp. 167–170.
                        REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 129 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 128

C. Toxicological Assessment of Glyphosate Exposures
(Systemic Exposure & Mechanism of NHL Induction)

Non-Hodgkin’s Lymphoma Latency Estimates
The term “latency” refers to the interval between initial exposure to a cancer-causing
chemical and when a physician initially diagnoses the cancer on the basis of objective
clinical evidence.

A chemical’s genotoxicity may lead to cancer causing mutations in cells; however, a
distinct amount of time elapses during which mutations and DNA damage accumulate in
cells before cancer becomes clinically evident. Additionally, a sufficient number of
doubling times are required. Latency refers to the time between initial exposure to a
cancer-causing chemical and when a physician initially diagnoses the cancer.

There is no single peer-reviewed, generally-recognized latency “threshold” for the more
than 60 subtypes of lymphoma (Morton, et al., 2014).285 Various sources cite latency
intervals ranging as high as 25 years or more. Most estimates are based upon absence
of information as opposed to hard evidence.

From the compilation of peer-reviewed latency estimates in Table 20, a surmised latency
interval of 0.4 to 25 years falls within the general estimates of the studies cited therein.
Although no single study is conclusive and future studies will undoubtedly clarify this
issue, the weight of evidence suggests that this range offers an acceptable degree of
scientific evidence.




285 Morton, et al., "Etiologic heterogeneity among non-Hodgkin lymphoma subtypes: the Inter-Lymph Non-

  Hodgkin Lymphoma Subtypes Project," August 2014, J Natl Cancer Inst Monogr. (48), pp. 130-44.
                         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 130 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 129

                                          Table 20
                    Compilation of Peer-Reviewed NHL Latency Estimates

 Study/Source               Summary of Findings                                                  Latency
 USEPA Glyphosate Issue     “Some have argued that the follow-up period (median=7 years)         1 to 25 yrs
 Paper: 57, 2016286         De Roos, et al. (2005) is not sufficiently long to account for the
                            latency of NHL (Portier, et al., 2016); however, the latency
                            period for NHL following environmental exposures is relatively
                            unknown and estimates have ranged from 1-25 years
                            (Fontana et al., 1998; Kato et al., 2005; Weisenburger, 1992).”
                            All of the preceding references are in USEPA Glyphosate
                            Issue Paper as cited.
 USEPA Glyphosate Issue     "Eriksson, et al., (2008) evaluated the impact of time since first     10 yrs
 Paper: September, 2016     exposure. This study found an increased effect estimate for
                            subjects with more than 10 years of glyphosate exposure prior
                            to diagnosis of NHL. This finding suggests a potential for a
                            longer latency for NHL than the follow-up period in De Roos,
                            et al. (2005)." All of the preceding references are in USEPA
                            Glyphosate Issue Paper as cited.
 USEPA Glyphosate Issue     "Two case-control studies evaluating the risk of NHL                   10 yrs
 Paper: September, 2016     (Eriksson, et al., 2008 and McDuffie, et al., 2001) observed
                            increased effect estimates in the highest exposure categories
                            analyzed. Eriksson, et al. (2008) found a greater effect
                            estimate for subjects with >10 days (based on the median days
                            of exposure among controls) and >10 years of exposure (for
                            latency analysis) when compared to subjects with =10 days
                            and 1-10 years of exposure, respectively; … however, given
                            the latency analysis of NHL was limited to Eriksson, et al.
                            (2008) and lack of NHL latency understanding in general,
                            further studies are needed to determine the true latency of
                            NHL. McDuffie, et al. (2001), stratifying based on the average
                            number of days per year of exposure, observed similar effect
                            estimates in the lower exposure category (>0 and =2
                            days/year) while a greater effect estimate was observed in the
                            highest exposure category (>2 days/year)."
 9-11   Monitoring   and    "A minimum latency period of 2 years has been reported for            0.4 to 2
 Treatment, World Trade     non-Hodgkin lymphoma (Bennett, et al. 1991) following                    yrs
 Center Health Program287   treatment of Hodgkin disease with chemotherapy and                   (minimum)
                            radiotherapy which is similar to the latency for secondary acute
                            leukemia (Nadler and Zurbenko 2013; Tucker et al. 1988)." All
                            of the preceding references are in 9-11 Monitoring report as
                            cited.




286 USEPA, "Glyphosate Issue Paper: Evaluation of Carcinogenic Potential," USEPA’s Office of Pesticide

  Programs, September 12, 2016, https://www.epa.gov/sites/production/files/2016-
  09/documents/glyphosate_issue_paper_evaluation_of_carcincogenic_potential.pdf
287 "Minimum Latency & Types or Categories of Cancer," World Trade Center Health Program, Revised:

  January 6, 2015, https://www.cdc.gov/wtc/pdfs/WTCHP-Minimum-Cancer-Latency-PP-01062015.pdf
                      REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 131 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 130

Summary of Objective Toxicological Factors
The generally-accepted, peer-reviewed toxicological literature is not based on
unsubstantiated, subjective opinions, but rather statistically significant data at the 95%
level of confidence. Expert opinions must always be based on objective, reliable evidence
without deviation from the methodology. The strands of evidence are never assumed to
stand by themselves in isolation but are viewed as pieces of a larger puzzle. Scientific
interpretation of the puzzle forms the basis of the investigative process in which each
piece is assessed on its merits. Only in this manner can a scientifically accurate and
reliable assessment be conducted.

Evidential Considerations

The following evidential factors are useful in formulating an objective toxicological
assessment of plaintiff with regard to Roundup exposures and his subsequent diagnosis
of non-Hodgkin’s lymphoma:

x   Chronic Glyphosate Exposure: Plaintiff’s conduct and clothing worn during spray
    applications are important in understanding the extent of exposure. Consideration of
    whether or not liquid Roundup has frequently come into contact with the forearms,
    hands, legs and feet is important. Additionally, the time between exposure and bathing
    with soap is important with respect to continued absorption especially if the plaintiff
    reported continuing to wear Roundup-contaminated clothing for extended periods.
    Thus, acute exposure doses periodically left on the skin for prolonged periods further
    enhance dermal absorption.

x   Dermal Absorption Rates Higher than Presented by Monsanto: As previously
    discussed in great detail, the correct dermal absorption rate for glyphosate ranges
    between 3% and 10% (as opposed to the defective values recently issued by
    Monsanto’s contractor, DTL Laboratory). Additionally, numerous other factors are
    known to increase skin absorption of glyphosate including (but not limited to) elevated
    temperatures, continuing to wear herbicide-soaked clothing and gloves, sweating
    (which contributes to increased skin absorption) as well as the various surfactants
    formulated in the actual Roundup products (as most of the dermal absorption studies
    were performed on pure glyphosate without the additives).
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 132 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 131

x    Lack of Personal Protective Gear (PPG): Whether the Plaintiff wore personal
     protective gear such as impermeable pants, boots, mask, chemically-resistant gloves,
     etc. should be assessed. Notably, Monsanto employees (in the previously referenced
     study) were protected with PPG in all exposed body areas during their own dermal
     exposure testing procedures, but consumers are not protected because the product
     label provides no such instructions.288 (Even though the Monsanto research study and
     report recommended multiple warnings with respect to PPG.)

x    Mechanism of Carcinogenicity: Plaintiff’s exposures are to Roundup product, not to
     glyphosate alone. Roundup and glyphosate have been demonstrated in numerous
     studies to repeatedly cause DNA damage with promotion by Roundup being more
     damaging than glyphosate alone. Genotoxicity is the first stage in cancer formation.
     Wozniak, et al.,289 and other studies as referenced in this report further demonstrated
     that Roundup, at a higher dose, was even able to impede the natural repair of
     damaged DNA.

     The George, et al., study290 documented cancer promotion at relatively low dermal
     exposure doses in mice. The dose levels, when converted to human doses, are
     reasonably similar to that sustained by applicators (when applying the HED factor and
     dermal absorption rate of 3%). More importantly, the test model employed DMBA (as
     found in cigarette smoke/tar). This primary carcinogen was dermally applied at low
     doses on the shaved skin of mice with no tumors produced unless glyphosate was
     also applied to the skin in which case 40% of the animals developed tumors (2.8
     tumors per animal). The mechanism of glyphosate carcinogenesis is important with
     respect to tumor promotion among                prior to the onset of his NHL. Tumor
     promotion is of special consideration with respect to smokers as the George study
     reveals substantial promotion (40% of the mice with tumors) with realistic
     concentrations of glyphosate compared to that of applicators using HED methodology.




288 Some later labels included recommendation of gloves during mixing.

289 Wozniak, E., et al., “The mechanism of DNA damage induced by Roundup 360 PLUS, glyphosate and

    AMPA in human peripheral blood mononuclear cells – genotoxic risk assessment,” 2018, Food and
    Chemical Toxicology, doi: 10.1016/j.fct.2018.07.035
290 George, J., et al., "Studies on glyphosate-induced carcinogenicity in mouse skin: A proteomic

    approach," 2010, Journal of Proteomics, Vol. 73, pg. 951 - 964
                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
      Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 133 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 132

x    Latency of non-Hodgkin’s Lymphoma: The compilation of peer-reviewed latency
     estimates presented herein (see Table 20) demonstrates latency intervals within a
     typical range of 0.4 to 25 years. Based upon the study findings, the weight of available
     evidence indicates that a minimum latency interval of 0.4 to 25 years is required and
     is scientifically reliable. Plaintiff’s clinical NHL diagnosis and latency are therefore
     within the expected latency range. It is noteworthy that studies by Eriksson, et al.,
     (2008) found an increased effect estimate for subjects with more than 10 years of
     glyphosate exposure prior to diagnosis of NHL, thus favoring a longer NHL latency
     interval. Mr. Alvarez’s 28 years (1986-2014) clearly exceeded the minimal latent
     period.

x    Scope of Exposure in Comparison to Epidemiological Studies: Mr. Alvarez’s
     exposure doses in units of duration and frequency were compared to the reference
     doses in six epidemiological studies. The studies included Eriksson, et al.291,
     McDuffie, et al.292, Leon, et al, 2019, 293 (study combining data from >300,000
     farmers or agricultural workers from France, Norway and the USA), the Agricultural
     Health Study (AHS), Pahwa, M. et al., 2019 294 and Zhang, L., et al (2019). 295 The
     Zhang, et al., study is a meta-analysis design that included the most recent update of
     the Agricultural Health Study cohort published in 2018 along with five case-control
     studies. Mr. Alvarez’s 546 exposure days is consistently in great excess of all
     threshold exposure doses reported within all of the dose-metric studies that revealed
     statistically significant increased rates of NHL.




291 Eriksson, M., et al., “Pesticide exposure as risk factor for non-Hodgkin lymphoma including

    histopathological subgroup analysis,” 2008, International Journal Cancer, Vol.123, pp. 1657 – 1663.
292 McDuffie H., et al., “Non-Hodgkin’s Lymphoma and Specific Pesticide Exposures in Men: Cross-

    Canada Study of Pesticides and Health,” 2001, Cancer Epidemiology, Biomarkers & Prevention,
    Vol.10, 1155 – 1163.
293 Leon, Maria, et al., “Pesticide use and risk of non-Hodgkin lymphoid malignancies in agricultural

    cohorts from France, Norway and the USA,“ 2019, International Journal of Epidemiology, pp. 1–17.
294 Pahwa, M. et al. Glyphosate use and associations with non-Hodgkin lymphoma major histological sub-

    types: findings from the North American Pooled Project. Scand J Work Environ Health, 2019 Jun 27.
    pii: 3830. doi:10.5271/sjweh.3830
295 Zhang et al., Exposure to Glyphosate-Based Herbicides and Risk for Non-Hodgkin Lymphoma: A

    Meta- Analysis and Supporting Evidence, Mutation Research-Reviews in Mutation Research (2019),
    https://doi.org/10.1016/j.mrrev.2019.02.001
                      REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 134 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 133

Summary and Conclusions
My toxicological assessment of the current matter includes assessment of the human
epidemiological studies discussed above, the dose/response (biological gradient),
strength of association, consistency and coherence of the six primary studies (and
numerous other mechanistic studies), various chemical formulants and additives found in
the Roundup product as well as experimental evidence including absorption, distribution
[i.e., measurement in bone marrow], metabolism and excretion (ADME) and the various
mechanisms of carcinogenesis (including genotoxicity, impairment of DNA repair
mechanisms and promotion). Additionally, I have focused on dermal absorption, the
manner and degree to which Roundup penetrates the skin, the lack of adequate PPE,
and additive toxicological effects of POEA and POEA derivatives used in the product.

Based on the findings of applicable studies as noted herein, it is my opinion, to reasonable
toxicological certainty, that on the basis of the sufficient dose-metric of 546 exposure
days, duration of 31 years, episodic exposures to Roundup consistent with substantial
dermal and systemic exposures, ruling out other potential exposures and based on similar
applicator studies and compared to the durations in the epidemiological studies, Mr.
Alvarez’s exposures to Roundup were a substantial contributing factor to his development
and subsequent diagnosis of non-Hodgkin’s lymphoma.



______________________________________
______________________________
William R. Sawyer, Ph.D., D-ABFM
Chief Toxicologist
                       REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 135 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 134

Appendix A: Documents
Materials Relied Upon List, December 12, 2019

    1.   (All previous deposition testimony, trial testimony, and reports given by Dr. Sawyer in
         Johnson v. Monsanto, Hall v. Monsanto, Stevick v. Monsanto, Pilliod v. Monsanto,
         Cazier v. Monsanto, Lamb/Cohen, et al. v. Monsanto, Adams, et al v. Monsanto,
         Winston, et al. v. Monsanto, Gordon v. Monsanto, Giglio v. Monsanto, Russo v.
         Monsanto, Harris/Hernandez v. Monsanto, Wade v. Monsanto, Caballero v. Monsanto
         and Dickey, et al., v. Monsanto, Kane, et al., v. Monsanto.)
    2.   A Wealth of Expertise, DTL Laboratory, http://www.dermaltechnology.com/about/
    3.   Abass, K., Turpeinen, M., and Pelkonen, O. "An evaluation of the cytochrome P450
         inhibition potential of selected pesticides in human hepatic microsomes," 2009,
         Journal of Environmental Science and Health Part B, Vol. 44(6).
    4.   Abd, et al., "Skin models for testing of transdermal drugs,” 2016, Clin Pharmacol.
         2016; Vol. 8, pp. 163-176.
    5.   Abstracts of the 55th Congress of the European Societies of Toxicology (EUROTOX
         2019) Toxicology – Science Providing Solutions. Helsinki, Finland, 8th – 11th of
         September, 2019
    6.   Abukari, “Pesticides Applicator Exposure Assessment: A Comparison between
         Modeling and Actual Measurement,” Journal of Environment and Earth Science, Vol.5,
         No.11, 2015
    7.   Acquavella JF, Alexander BH, Mandel JS, Gustin C, Baker B, et al., "Glyphosate
         biomonitoring for farmers and their families: results from the Farm Family Exposure
         Study," 2004, Environ Health Perspect 112, pp. 321-326.
    8.   Acquavella, et al. “Glyphosate epidemiology expert panel review: a weight of evidence
         systematic review of the relationship between glyphosate exposure and non-Hodgkin's
         lymphoma or multiple myeloma,” September 2016, Critical Rev. Toxicology, Vol. 46
         (1), pp. 28-43.
    9.   Aiassa, D. et al., “Evaluation of genetic damage in pesticides applicators from the
         province of Cordoba, Agentina,” 2019, Environmental Science and Pollution
         Research, Vol. 26(20), pp. 20981-20988. doi: 10.1007/s11356-019-05344-2. Epub
         2019 May 21.
    10. Alavanja, M., et al., "The Agricultural Health Study," 1996, Environmental Health
        Perspectives, Vol. 104 (4), pp.. 362 - 369. Retrieved from: https://aghealth.nih.gov/
    11. Anadón, A. et al., "Toxicokinetics of glyphosate and its metabolite aminomethyl
        phosphonic acid in rats," 2009, Toxicol Lett 190(1), pp. 91-95.
    12. Andreotti, G., et al., "Glyphosate Use and Cancer Incidence in the Agricultural Health
        Study," 2018, JNCI J Natl Cancer Inst., Vol. 110(5), doi: 10.1093/jnci/djx233.
    13. Annett R, Habibi HR, Hontela A., "Impact of glyphosate and glyphosate-based
        herbicides on the freshwater environment," 2014, J Appl Toxicol 34(5), pp. 458-479.
                       REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 136 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 135

    14. Benbrook C. “How did the US EPA and IARC reach diametrically opposed conclusions
        on the genotoxicity of glyphosate-based herbicides?” Environ Sci Eur (2019) Vol.
        31(2).
    15. Benbrook, C.M., "Trends in glyphosate herbicide use in the United States and
        globally," 2016 Environmental Sciences Europe. Vol. 28(3).
    16.            ., “MON 78294: An Applicator Exposure Study Conducted in Spain (Autumn
          2005) Using Biomonitoring,” 2007. Monsanto Company, Charles River Laboratories.
    17. Bolognesi, “The use of lymphocyte cytokinesis-block micronucleus assay for
        monitoring pesticide-exposed populations,” Mutation research 770 (2016) pp. 183-
        203.
    18. Bolognesi, C., et al., "Biomonitoring of genotoxic risk in agricultural workers from five
        Colombian regions: Association to occupational exposure to glyphosate," 2009,
        Journal of Toxicology and Environmental Health, Part A, Vol. 72, pp. 986 -997.
    19. Bolognesi, Claudia, et al., “Genotoxic activity of glyphosate and its technical
        formulation,” 1997, J. Agric. Food Chem. 45, pp. 1957-1962.
    20. Bommannan D, Potts RO, Guy RH, "Examination of the effect of ethanol on human
        stratum-corneum in vivo using infrared-spectroscopy," 1991, J Control Release, Vol.
        16, pp. 299-304.
   21. Bonassi, S., et al., “Are chromosome aberrations in circulating lymphocytes predictive
       of future cancer onset in humans? Preliminary results of an Italian cohort study,” 1995,
       Cancer Genet. Cytogenet, Vol. 79(2), pp. 133-135.
    22. Bond, C.; Hallman, A.; Buhl, K.; Stone, D. 2016, “Carbaryl General Fact Sheet;
        National Pesticide Information Center,” Oregon State University Extension Services.
        http://npic.orst.edu/factsheets/carbarylgen.html.
    23. Boocock, M. R., "Kinetics of 5-enolpyruvylshikimate-3-phosphate synthase inhibition
        by glyphosate," 1983, FEBS Letters 154, pg. 127-133.
    24. Brand, R. et al., "Transdermal absorption of the herbicide 2,4-dichlorophenoxyacetic
        acid is enhanced by both ethanol consumption and sunscreen application," 2007,
        Food and Chemical Toxicology, Volume 45, Issue 1, pg. 93-97.
    25. Brand, R.M. & Mueller, C., "Transdermal penetration of atrazine, alachlor, and
        trifluralin: effect of formulation," 2002, Toxicol Sci., Vol. 68(1), pg. 18-23.
    26. Brewster, D., Warren, J., Hopkins, W., "Metabolism of glyphosate in Sprague Dawley
        rats: Tissue distribution, identification and quantitation of glyphosate-derived materials
        following a single oral dose," 1991, Fundamental and Applied Toxicology, Vol. 17, pg.
        43-51.
    27. Briefing Note for IARC Scientific and Governing Council members, Prepared by the
        IARC Director, January 2018
    28. Bronaugh, R., H. Hood, M. Kraeling, and J. Yourick, "Determination of percutaneous
        absorption by In Vitro techniques," 1999, pg. 229-233 in Percutaneous Absorption, 3rd
        ed., R.L. Bronaugh and H.I. Maibach, eds. New York: Marcel Dekker, Inc.
    29. Burnett, P., Borders, J., Kush, J., "Report to Monsanto Company: Two year chronic
        oral toxicity study with CP-76100 in albino rats: IBT No. 8560-08924," (Unpublished
                        REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 137 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 136

          study sent to the U.S. EPA on June 24, 1982, under 524-308); prepared by Industrial
          Bio-Test Laboratories Inc.
    30. Bus, J., "The dose makes the poison: Key implications for mode of action
        (mechanistic) research in a 21st century toxicology paradigm," 2017, Current Opinion
        in Toxicology, 10.1016/j.cotox.2017.06.013
   31. Cai, W., et al., “Correlation between CYP1A1 polymorphisms and susceptibility to
       glyphosate-induced reduction of serum cholinesterase: A case-control study of a
       Chinese population.”
    32. Cao, L., et al., 2015, “Assessment of potential dermal and inhalation exposure of
        workers to the insecticide imidacloprid using whole-body dosimetry in China,” Journal
        of Environmental Sciences 27(2015)139-146.
    33. Carbaryl, National Pesticide Information Center, 2003.
        http://npic.orst.edu/factsheets/carbgen.pdf
    34. Chan, P. and Mahler, J., "Glyphosate (CAS No. 1071836) administered in dosed feed
        to F344/N rats and B6C3F1 mice," 1992, U.S. Department of Health and Human
        Services. NTP Technical Reports Series No. 16. NIH Publication 923135.
    35. Chevret, S., "Maximum Tolerable Dose," 2008, Wiley Stats Ref: Statistics Reference
        Online, DOI: 10.1002/9781118445112.stat07089
    36.                       , Confidential draft. "Clustering glyphosate formulations with regard
          to the testing for dermal uptake," 2001, (Tab 15; see also MONGLY01839476 for draft
          of this document.)
    37. Chruscielska, K., et al., "Glyphosate - Evaluation of chronic activity and possible far-
        reaching effects Pt. 1. Studies on chronic toxicity," 2000 Pestycydy Vol. 3-4 pg 11-20.
    38. Cigarette smoking and risk of non-Hodgkin lymphoma subtypes among women, British
        Journal of Cancer (2003) 89, 2087-2092.
   39. Clements, C., Ralph, S., and Petras, M., “Genotoxicity of select herbicides in Rana
       catesbeiana tadpoles using the alkaline single-cell gel DNA electrophoresis (Comet)
       assay,” 1997, Environmental and Molecular Mutagenesis, Vol. 29(3), pp. 277-288.
    40. Connolly, A. et al., Evaluating Glyphosate Exposure Routes and Their Contribution to
        Total Body Burden: A Study Among Amenity Horticulturalists, Annals of Work
        Exposures and Health wxy104 (2019).
    41. Connolly, A. et al., Exposure Assessment Using Human Biomonitoring for Glyphosate
        and Fluroxypyr Users in Amenity Horticulture, 220 Int’l J. Hygiene & Envtl. Health
        1064 (2017).
    42. Coronado, GD, et al., "Organophosphate pesticide exposure and work in pome fruit:
        Evidence for the take-home pesticide pathway," 2006, Environ Health Perspect 114
        (7), pg. 999-1006.
    43. Coronado, GD, Thompson, B, Strong, L, Griffith, WC, and Islas, I., "Agricultural task
        and exposure to organophosphate pesticides among farm workers," 2004, Environ
        Health Perspect 112, pg.142-147.
    44. Crump, K., "The linearized multi-stage model and the future of quantitative risk
        assessment," 1996, Hum Exp. Tox, Vol. 15(10), pg. 787 - 798.
                       REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 138 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 137

    45. Curwin, B.D. et al., "Urinary and hand wipe pesticide levels among farmers and non-
        farmers in Iowa," 2005, Journal of Exposure Analysis and Environmental
        Epidemiology, Vol. 15, pg. 500-508.
    46. Curwin, B.D. et al., “Urinary Pesticide Concentrations Among Children, Mothers and
        Fathers Living in Farm and Non-Farm Households in Iowa,” 2006. Annals of
        Occupational Hygiene, pg. 1-13.
   47. Daruich, J., Zirxitnik, F., and Gimenez, M., “Effect of the herbicide glyphosate on
       enzymatic activity in pregnant rats and their fetuses,” 2001, Environmental Research,
       Vol. 85 (3), pp. 226-231.
    48. De Almeida et al., “Moderate levels of glyphosate and its formulations vary in their
        cytotoxicity and genotoxicity in a whole blood model and in human cell lines with
        different estrogen receptor status,” October 2018, Biotech, Vol. 8(10).
    49. De Cock, J. et al., "Determinants of exposure to captan in fruit growing," 1998, Am Ind
        Hyg Assoc J 59, 1998a, pg. 166-172 and 1998b, pg. 158-165.
    50. De Roos, A., et al., "Cancer Incidence among Glyphosate-Exposed Pesticide
        Applicators in the Agricultural Health Study," 2005. Environmental Health
        Perspectives, Vol. 113(1), pg. 49 - 54.
    51. De Roos, A., et al., "Integrative assessment of multiple pesticides as risk factors for
        non-Hodgkin’s lymphoma among men," 2003, Occup Environ Med, Vol.60
    52. Defarge, N. E., "Co-formulants in glyphosate-based herbicides disrupt aromatase
        activity in human cells below toxic levels, 2016, Int J Environ Res Public Health, Vol.
        13(3, pg. 264.
    53. Defense expert depositions (Boyd, Gates, Phalen, Duncavage, Hanson, Mahnken,
        Monsanto’s Disclosure of Expert Testimony that is not Case Specific, Monsanto’s
        Supplemental Disclosure of Expert Testimony, Monsanto’s Amended Disclosure of
        Expert Testimony)
    54. DEFRA UK Amateur use study 2002 available at
        http://randd.defra.gov.uk/Default.aspx?Menu=Menu&Module=More&Location=None&
        Completed=0&ProjectID=9499#Description
    55. Deposition of Robert Fisher, M.D., Ph.D., dated December 17, 2018
    56. Dermal absorption of pesticides - evaluation of variability and prevention, 2009,
        Danish Environmental Protection Agency. Pesticides Research No. 124, 13.1.
    57. Dermal Absorption: Position Papers from the North American Free Trade Agreement
        (NAFTA) Technical Working Group (TWG)
    58. Diamond, G., Durkin, P., "Effects of surfactants on the toxicity of glyphosate with
        specific reference to RODEO," 1997, Syracuse Research Corporation, SERA TR 97-
        206-1b.
    59. Dose-Response Assessment," n.d., Tox Tutor, U.S. National Library of Medicine,
        National Institute of Health, Retrieved from: https://toxtutor.nlm.nih.gov/06-003.html
    60. Drexler, Skin protection and percutaneous absorption of chemical hazards. Received:
        15 January 2002 / Accepted: 21 August 2002 / Published online: 22 May 2003.
                      REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 139 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 138

    61. DTL, "360 g/L glyphosate in vitro absorption of glyphosate through human epidermis.”
        (MON 52276)"
    62. DTL, "360 g/L Glyphosate SL Formulation (MON 76258) - In vitro Absorption through
        Human Dermatomed Skin using [14C]-Glyphosate"
    63. DTL, "450 g/L glyphosate in vitro absorption of glyphosate through human epidermis."
        (MON79545)
    64. DTL, "480 g/L glyphosate in vitro absorption of glyphosate through human epidermis"
        (MON79351)"Petition, Missouri Circuuit Court, 21st Judicial Circuit, St. Louis Co.
    65. DTL, "500 g/L Glyphosate SL Formulation - In vitro Absorption through Human
        Dermatomed Skin using [14C]-Glyphosate," (MON 76952)
    66. DTL, "72 g/L Glyphosate Gel Formulation - In Vitro Absorption through Human
        Dermatomed Skin using [14C]-Glyphosate" (MON 76829)
    67. DTL, "72 g/L Glyphosate Gel Formulation (MON 76258) - In vitro Absorption through
        Human Dermatomed Skin using [14C]-Glyphosate"
    68. Duforestel, M., et al., “Glyphosate primes mammary cells for tumorigenesis by
        reprogramming the epigenome in a TET3-depdendent manner,” 2019, Front. Genet.,
        Vol. 10, pg. 885.
    69. Duke, S. S., Encyclopedia of Agrochemicals, 2003, John Wiley & Sons.
    70. EC. 2016. Glyphosate. European Commission - Fact Sheet FAQs: Glyphosate.
        Brussels. June 29th. http://europa.eu/rapid/pressrelease_MEMO-16-2012_en.htm
    71. Email from              Syngenta Ltd., January 20, 2009, CC:                   ,
        Monsanto
    72. Environmental Health Criteria, 242 Dermal Exposure IOMC Inter-Organization
        Programme for the Sound Management of Chemicals, EPA-HQ-2016-
        01043?_0000255-257
   73. EPA 40 CFR Ch. I (7–1–11 Edition), § 170.240 “Personal protective equipment.”
    74. Eriksson, M., et al., "Pesticide exposure as risk factor for non-Hodgkin lymphoma
        including histopathological subgroup analysis," 2008, International Journal Cancer,
        Vol.123, pp. 1657 - 1663.
    75. Evaluation of carcinogenic potential of the herbicide glyphosate, drawing on tumor
        incidence data from fourteen chronic/carcinogenicity rodent studies.
    76. Evaluation of Glyphosate Use And The Risks Of Non-Hodgkin Lymphoma Major
        Histological Sub-Types In The North American Pooled Project (Napp).
    77. Expression of Concern, Critical Reviews in Toxicology, 2018: DOI:
        10.1080/10408444.2018.1522786
    78. Farrer P, & Falck M., "Toxic glyphosate herbicides fly under the EU’s regulatory
        radar," 2014, Pesticides News 96, pg. 1-4.
    79. Feldmann, et al., Evaluation of Occupational Glyphosate Exposures among
        Employees Applying Herbicides at a National Park, 2017
                        REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 140 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 139

    80. FIFRA SAP, "A Set of scientific issues being considered by the Environmental
        Protection Agency regarding: EPA’s evaluation of the carcinogenic potential of
        glyphosate," 2016, FIFRA Scientific Advisory Panel Meeting Minutes and Final Report
        No. 2017-01.
    81. Final Statement of Reasons Title 27, California Code of Regulations Section 25705(B)
        Specific Regulatory Levels Posing No Significant Risk No Significant Risk Level:
        Glyphosate
    82. Franke, A.C., et al., “Spray drift from knapsack sprayers,” January 2010, Plant
        Research International B.V., Wageningen, Note 658.
    83. Franz TJ., "Percutaneous absorption. On the relevance of in vitro data," 1975, J Invest
        Dermatol. 64, pg. 190-5.
    84. Frasch, H.F. et al., "Analysis of finite dose dermal absorption data: Implications for
        dermal exposure assessment," 2014, J Expo Sci Environ Epidemiol, 24(1), pg. 65-73.
    85. From an internal Monsanto report, Surfactant Issue Analysis, Issue: Increasing public
        attention to the POEA (Polyoxyethlene alkylamine) surfactant component of
        glyphosate formulations in connection with claims of adverse impact to aquatic life
        (recently, amphibians) and human health (in vitro (cell culture) toxicity tests).
        MONGLY01700591
    86. Gasnier, C., et al., "Glyphosate-based herbicides are toxic and endocrine disruptors in
        human cell lines," 2009, Toxicology, Vol. 262, pg. 184 -191.
    87. George, J., et al., "Studies on glyphosate-induced carcinogenicity in mouse skin: A
        proteomic approach," 2010, Journal of Proteomics, Vol. 73, pg. 951 - 964.
    88. Giesey, J. P., Dobson, S., & Solomon, K. R., "Ecotoxicological risk assessment for
        Roundup herbicide," 2000, Rev. Environ. Contam. Toxicol. 167, pg. 35-120.
   89. Glusczak, L., et al., “Effect of Glyphosate Herbicide on Acetylcholinesterase Activity
       and Metabolic and Hematological Parameters in Piava (Leporinus obtusidens),” 2005,
       Ecotoxicology and Environmental Safety, Vol. 65, pg. 237-241.
    90. Glyphosate in German adults - Time trend (2001 to 2015) of human exposure to a
        widely used herbicide; Conrad, International Journal of Hygiene and Environmental
        Health 220 (2017) S-16
    91. Glyphosate Stewardship, Epidemiology, and the Farm Family Exposure Study,
        MONGLY00905651
    92. Glyphosate Technical Fact Sheet, National Pesticide Information Center,
        http://npic.orst.edu/factsheets/archive/glyphotech.html
    93.                                                     , "Evaluation of carcinogenic potential
          of the herbicide glyphosate drawing on tumor incidence data from fourteen
          chronic/carcinogenicity rodent studies, et al.," 2015, Critical Reviews in Toxicology,
          Vol. 45(3), pg. 185 - 208.
    94. Gueguen, Y. et al., "Cytochromes P450: xenobiotic metabolism, regulation and clinical
        importance," 2006, Ann Biol Clin (Paris) 64, pg. 535-548.
                       REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 141 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 140

    95. Guidance document on work-sharing in the northern zone in the authorisation of plant
        protection products, May 2017 available at https://eng.mst.dk/media/186988/northern-
        zone-guidance-document-version-6-may-2017_links-updated.pdf
    96. Guidance Notes on Dermal Absorption, OECD Environment, Health and Safety
        Publications, Series on Testing and Assessment No. 156. ENV/JM/MONO(2011)36.
    97. Guidance on the assessment of exposure of operators, workers, residents and
        bystanders in risk assessment for plant protection products2014
    98. Gupta, R. et al., 2013, "Agricultural Chemicals", Haschek and Rousseaux’s Handbook
        of Toxicologic Pathology, Third Edition. http://dx.doi.org/10.1016/B978-0-12-415759-
        0.00042-X
    99. Haefs R. et al., "Studies on a new group of biodegradable surfactants for glyphosate,"
        2002, Pest Manag. Sci. 58, pg. 825-833.
   100. Hagmar, Lars, et al., “Chromosomal aberrations in lymphocytes predict human cancer:
        A report from the European study group on cytogenetic biomarkers and health
        (ESCH),” September 15, 1998, Cancer Research Vol. 58, pp. 4117-4121.
    101. Hardell, L., et al., "Exposure to Pesticides as Risk Factor for Non-Hodgkin’s
         Lymphoma and Hairy Cell Leukemia: Pooled Analysis of Two Swedish Case-control
         Studies," 2002, Leukemia and Lymphoma, Vol. 43(5), pp. 1043 - 1049.
    102. Heard CM, Kung D, Thomas CP, "Skin penetration enhancement of mefenamic acid
         by ethanol and 1,8-cineole can be explained by the "pull" effect," 2006, Int J Pharm.,
         Vol. 321, pg. 167-170.
    103. Herrinton, L. and Friedman, G., “Cigarette smoking and risk of NHL subtypes,” 1998,
         “Cancer Epidemiology, Biomarkers and Prevention Vol. 7, pp. 25-28.
    104. Heu C, Berquand A, Elie-Caille C, Nicod L., "Glyphosate-induced stiffening of HaCat
         keratinocytes, a Peak Force Tapping study in living cells," 2012, J Struc Biol 178, pg.
         1-7.
    105. Heu, C., et al., "A step further toward glyphosate-induced epidermal cell death:
         Involvement of mitochondrial and oxidative mechanisms," 2012, Environmental
         Toxicology and Pharmacology 34.
    106. Hietanen, E., Linnainmaa, K., and Vainio, H., “Effects of phenoxyherbicides and
         glyphosate on the hepatic and intestinal biotransformation activities in the rat,” 1983,
         Acta Pharmacologica et Toxicologica, vol. 53, no. 2, pp. 103-112.
   107. Hietanen, E., Linnainmaa, K., and Vainio, H., “Effects of phenoxyherbicides and
        glyphosate on the hepatic and intestinal biotransformation activities in the rat,” 1983,
        Acta Pharmacologica et Toxicologica, vol. 53, no. 2, pp. 103-112.
    108. Hollander, H., & Amrhein, N., "The site of the inhibition of the shikimate pathway by
         glyphosate," 1980, Plant Physiol 66(5), pg. 823-829.
   109. Holmgaard, R., Nielsen, JB, “Dermal absorption of pesticides – evaluation of variability
        and prevention,” 2008, Environmental Medicine Institute of Public Health, University of
        Southern Denmark. No. 124-2009.
                       REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 142 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 141

    110. Hotchkiss, SA, et al., "Percutaneous absorption of 4,4'-methylene-bis (2-chloroaniline)
         and 4,4'-methylenedianiline through rate and human skin in vitro," March, 1993,
         Toxicology In Vitro, Volume 7(2), pg. 141-148.
    111. Hua, et al., Study of the effect of occupational exposure to glyphosate on hepatorenal
         function. 2017 Jul 6, Vol. 51 (7):615-620. doi: 10.3760/cma.j.issn.0253-
         9624.2017.07.008.
    112. Hyland, C. and Ouahiba Laribi, Q., "Review of take-home pesticide exposure pathway
         in children living in agricultural areas," 2017, Environmental Research. Volume 156,
         pg. 559-570.)
    113. IARC, "IARC Monographs Volume 112: Evaluation of five organophosphate
         insecticides and herbicides," 2015, International Agency for research on cancer, World
         Health organization Retrieved from: https://www.iarc.fr/en/media-
         centre/iarcnews/pdf/MonographVolume112.pdf
    114. Illyassou, K., et al., "Risk Assessment for Small Farmers Exposed to Plant Protection
         Products in the Niger River Valley," 2017, Comm. Appl. Biol. Sci.
   115. Ingaramo, P., et al. “Acute uterine effects and long-term reproductive alterations in
        postnatally exposed female rats to a mixture of commercial formulations of endosulfan
        and glyphosate,” 2019, Food and Chemical Toxicology, Vol. 134 110832.
    116. Initial Statement of Reasons Title 27, California Code of Regulations Proposed
         Amendment To: Section 25705(B) Specific Regulatory Levels Posing No Significant
         Risk Glyphosate Safe Drinking Water and Toxic Enforcement Act of 1986 Proposition
         65.
    117. Interactions between glyphosate and calcium salts found in water are the primary
         reason for adding AMS to the spray tank.
         http://www.weeds.iastate.edu/mgmt/2001/glyphosateformulations.htm
    118. Jaehwan, S., "Comparison of international guidelines of dermal absorption tests used
         in Pesticides Exposure Assessment for Operators," 2014, Toxicol Res 4, pg. 251-260.
    119. Jaworski, E. G., "Mode of action of N-phosphonomethylglycine. Inhibition of aromatic
         amino acid biosynthesis," 1972, J. Agric. Food Chem. 20 (6), pg. 1195-1198.
    120. Johnson, et al., Operator exposure when applying Amenity herbicides, Ann. Occup.
         Hyg., Vol. 49, No. 1, pp. 25-32, 2005
    121. Jung, E, and Maibach, H., "Animal models for percutaneous absorption," 2014, in
         Shah, V., Maibach, H., and Jenner, J. eds. Topical Drug Bioavailability,
         Bioequivalence, and Penetration, 2nd ed. New York: Springer, pg. 21-40.
   122. Kale, P., Petty Jr., B., S. Walker, et al., “Mutagenicity testing of nine herbicides and
        pesticides currently used in agriculture,” 1995, Environmental and Molecular
        Mutagenesis, Vol. 25(2), pp. 148-153.
    123. Kang, JF, et al., “Study on mutagenesis induced by glyphosate in mice,” 2008,
         Carcinogenesis, Teratogenesis & Mutagenesis, Vol. 20(3), pp. 227-320.
   124. Karzi, V., et al., “In vivo evaluation of glyphosate genotoxicity,” 2019, Toxicology
        Letters.
                        REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 143 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 142

    125. Kezic, S. & Nielsen, J.B, "Absorption of chemicals through compromised skin," 2009,
         International Archives of Occupational and Environmental Health, Vol. 82(6), pg. 677-
         88.
    126. Kim YH, Hong JR, Gil HW, Song HY, Hong SY, "Mixtures of glyphosate and surfactant
         TN20 accelerate cell death via mitochondrial damage-induced apoptosis and
         necrosis," 2013, Toxicol In Vitro 27(1), pg.191-197.
    127. Kladt, C., et al., “Evaluation on the reliability of the permeability coefficient (Kp) to
         assess the percutaneous penetration property of chemicals on the basis of Flynn’s
         dataset,” 2018, International Archives of Occupational and Environmental Health.
         https://doi.org/10.1007/s00420-018-1296-5.
    128. Korinth G, Geh S, Schaller KH, Drexler H., "In vitro evaluation of the efficacy of skin
         barrier creams and protective gloves on percutaneous absorption of industrial
         solvents," 2003, Int Arch Occup Environ Health, Vol. 76(5), pg. 382-6.
    129. Korinth G, Goen T, Schaller KH, & Drexler H., "Discrepancies between different rat
         models for the assessment of percutaneous penetration of hazardous substances,"
         2007a, Archives of Toxicology 81, pg. 833-840.
   130. Kwiatkowska, M., et al., “The effect of glyphosate, its metabolites and impurities on
        erythrocyte acetylcholinesterase activity,”2014, Environmental Toxicology and
        Pharmacology, Vol. 37(3), pp. 1101 -1108. doi: 10.1016/j.etap.2014.04.008
    131. Lankas, G., "A lifetime study of glyphosate in rats," 1981, Report No. 77-2062
         prepared by Bio Dynamics, Inc. in U.S. EPA, "Glyphosate issue paper," 2016 and
         reported in Greim, et al., 2015.
   132. Larsen, KE, et al., “The herbicide glyphosate is a weak inhibitor of acetylcholinesterase
        in rats,” 2016, Environmental Toxicology and Pharmacology,
        doi.org/10.1016/j.etap.2016.05.012.
    133. Lavy, et al., 1992, “Conifer Nursery Worker Exposure to Glyphosate,” Arch. Environ.
         Contam. Toxicol. 22, 6-13 (1992).
    134. Lawson, A., et al., "Three Methods to Assess Levels of Farmers’ Exposure to
         Pesticides in the Urban and Peri-urban Areas of Northern Benin," 2017, Tunisian Plant
         Protection Journal, Vol.12, pp. 91-108.
    135. Lebailly, P, et al., “Urine mutagenicity and lymphocyte DNA damage in fruit growers
         occupationally exposed to the fungicide captan,” 2003, Occup Environ Med, Vol. 60,
         pp.910-917.
    136. Lee, et al., “Polycyclic aromatic hydrocarbons present in cigarette smoke cause bone
         loss in an ovariectomized rat model,” 2002, Bone, June 30(6):917-23.
    137. Leon et al., “Pesticide use and risk of non-Hodgkin lymphoid malignancies in
         agricultural cohorts from France, Norway and the USA: a pooled analysis from the
         AGRICOH consortium,” International Journal of Epidemiology, 2019, 1-17
    138. Lesmes-Fabian, C., Garcia-Santos, G., Leuenberger, F., Nuyttens, D., & Binder, C. R,
         "Dermal exposure assessment of pesticide use: The case of sprayers in potato farms
         in the Colombian highlands," 2012, Science of the Total Environment, 430, pg. 202-
         208.
                       REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 144 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 143

    139. Letter dated December 10, 2019 to Attorney Jerry Kristal regarding Domina, et al., v.
         Monsanto Company.
    140. Lioi, M.B., et al., “Cytogenetic Damage and Induction of Pro-Oxidant State in Human
         Lymphocytes Exposed In Vitro to Glyphosate, Vinclozolin, Atrazine and DPX-E9636,”
         1998, Environmental and Molecular Mutagenesis, Vol. 32, pg. 39–46.
    141. Lioi, M.B., et al., “Genotoxicity and oxidative stress induced by pesticide exposure in
         bovine lymphocyte cultures in vitro,” 1998, Mutation Research, Vol. 403, pp. 13–20.
    142. Long-term animal studies at or near the maximum tolerated dose level (MTD) are
         used to ensure an adequate power for the detection of carcinogenic activity, in U.S.
         EPA, "Guidelines for carcinogen risk assessment," EPA/630/R-00/004, September
         1986, pp. 5.
    143. Lymphoma incidence patterns by WHO subtype in the United States, 1992-2001
         Lindsay. M. Morton. From the Division of Cancer Epidemiology and Genetics,
         National Cancer Institute, National Institutes of Health (NIH), Department of Health
         and Human Services (DHHS), Rockville, MD; and Department of Pathology and
         Microbiology, University of Nebraska Medical Center, Omaha.
    144. Machado-Neto, J. et al., “Safety of Working Conditions of Glyphosate Applicators on
         Eucalyptus Forests Using Knapsack and Tractor Powered Sprayers,” 64 Bull. Environ.
         Contam. Toxicol. 309 (2000).
    145. Mahajan, Rajeev, et al. “Carbaryl Exposure and Incident Cancer in the Agricultural
         Health Study,” 2007, International Journal of Cancer, Vol. 121, no. 8, pp. 1799–1805,
         doi:10.1002/ijc.22836.
    146. Maibach, H.I., "(a) Elimination of 14C-glyphosate in Rhesus monkeys following a
         single parenteral dose, (b) Percutaneous absorption of 14C-glyphosate in Roundup
         formulation in Rhesus monkeys following a single topical dose," 1983, Unpublished
         report No. MA-81-349, from University of California, School of Medicine, San
         Francisco, California, USA. Submitted to WHO by Monsanto Int. Services SA,
         Brussels, Belgium.
    147. Malachowski, MJ, "Health Effects of Toxic Substances," 1999, Second Edition, 0-
         86587-649-5.
    148. Marques, A., et al., “Progression of DNA damage induced by a glyphosate-based
         herbicide in fish (Anguilla anguilla) upon exposure and post-exposure periods--insights
         into the mechanisms of genotoxicity and DNA repair,” Comp Biochem Physiol C
         Toxicol Pharmacol. 2014 Nov; 166:126-33. doi: 10.1016/j.cbpc.2014.07.009. Epub
         2014 Aug 9.
    149. Martini, C. et al., "Glyphosate-based herbicides with different adjuvants are more
         potent inhibitors of 3T3-L1 fibroblast proliferation and differentiation to adipocytes than
         glyphosate alone," 2016, Comparative Clinical Pathology, Volume 25, Issue 3, pg.
         607-613.
    150. Material Safety Data Sheet: Scott’s Liquid Turf Builder Lawn Food. The Scotts
         Company, 2015.
         https://www.scottsmsds.com/?product_name=turf+builder&upc=&sku=&regulati
         on_number=&search_submit=Search
                       REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 145 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 144

    151. Material Safety Data Sheet: Sevin Brand 4F Carbaryl Insecticide. Bayer CropScience,
         2002.
    152. McDuffie H., et al., "Non-Hodgkin’s Lymphoma and Specific Pesticide Exposures in
         Men: Cross-Canada Study of Pesticides and Health," 2001, Cancer Epidemiology,
         Biomarkers & Prevention, Vol.10, 1155 - 1163.
   153. Menendez-Helman, R. et al., “Glyphosate as an Acetylcholinesterase Inhibitor in
        Cnesterodon decemmaculatus,” 2011, Bull Environ Contam Toxicol, Volume 88, pp. 6-
        9.
    154. Mesange, R., et al., 2012, Glyphosate Exposure in a Farmer's Family, Journal of
         Environmental Protection, 2012, Vol. 3, pp. 1001-1003.
    155. Mesnage, R., Bernay, B., and Séralini, G.E., "Ethoxylated adjuvants of glyphosate-
         based herbicides are active principles of human cell toxicity," 2012, Toxicology 313(2-
         3), pp. 122-8.
    156. Messager, et al., “Assessment of skin viability: Is it necessary to use different
         methodologies?” Skin Research and Technology, December, 2003, Vol. 9, pp. 321–
         330.
   157. Michel, S., Busato, F., Genuneit, J., Pekkanen, J., Dalphin, J.-C., Riedler, J., et al.
        (2013). Farm exposure and time trends in early childhood may influence DNA
        methylation in genes related to asthma and allergy. Allergy 68, pp. 355–364.
   158. Milic, M., et al., “Oxidative stress, cholinesterase activity, and DNA damage in the liver,
        whole blood, and plasma of Wistar rats following a 28-day exposure to glyphosate,”
        2018, Arh Hig Rada Toksikol, Vol. 69, pp. 154 – 168.
    159. Minimum Latency & Types or Categories of Cancer, World Trade Center Health
         Program, Revised: January 6, 2015, https://www.cdc.gov/wtc/pdfs/WTCHP-Minimum-
         Cancer-Latency-PP-01062015.pdf
   160. Modesto, K., Martinez, C., et al., “Effects of Roundup Transorb on Fish: Hematology,
        Antioxidant Defenses and Acetylcholinesterase Activity,” 2010, Chemosphere, pg. 781-
        787.
    161. Monsanto correspondence dated January 28, 2015 from Heydens, W. to
         discussing impurities in glyphosate products.
    162. Monsanto Document MONGLY00052410
    163. Monsanto Document MONGLY00223577
    164. Monsanto Document MONGLY00301671
    165. Monsanto Document MONGLY00302620
    166. Monsanto Document MONGLY00302676
    167. Monsanto Document MONGLY00303109
    168. Monsanto Document MONGLY00324238
    169. Monsanto Document MONGLY00329945
    170. Monsanto Document MONGLY00358401
    171. Monsanto Document MONGLY00360482
                      REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 146 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 145

    172. Monsanto Document MONGLY00407261
    173. Monsanto Document MONGLY00407266
    174. Monsanto Document MONGLY00430366
    175. Monsanto Document MONGLY00519009
    176. Monsanto Document MONGLY00582206
    177. Monsanto Document MONGLY00813893
    178. Monsanto Document MONGLY00888353
    179. Monsanto Document MONGLY00888421
    180. Monsanto Document MONGLY00922458
    181. Monsanto Document MONGLY00982099
    182. Monsanto Document MONGLY00982100
    183. Monsanto Document MONGLY00990361
    184. Monsanto Document MONGLY01051709
    185. Monsanto Document MONGLY01075506 Glyphosate MON 76473 Document MIII -
         Tier II, Summary and hazard assessment, Section 3," 2010, Toxicological studies
         (annex III, Point 7), Monsanto Company.
    186. Monsanto Document MONGLY01131945
    187. Monsanto Document MONGLY01160109
    188. Monsanto Document MONGLY01275627
    189. Monsanto Document MONGLY01284534
    190. Monsanto Document MONGLY01320467
    191. Monsanto Document MONGLY01330783
    192. Monsanto Document MONGLY01343387
    193. Monsanto Document MONGLY01377220
    194. Monsanto Document MONGLY01526082
    195. Monsanto Document MONGLY01526625
    196. Monsanto Document MONGLY01700591
    197. Monsanto Document MONGLY01742771
    198. Monsanto Document MONGLY01745304
    199. Monsanto Document MONGLY01832749
    200. Monsanto Document MONGLY01851796
    201. Monsanto Document MONGLY01851797
    202. Monsanto Document MONGLY02136009
    203. Monsanto Document MONGLY02136019
                     REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 147 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 146

    204. Monsanto Document MONGLY02142251
    205. Monsanto Document MONGLY02155826
    206. Monsanto Document MONGLY02155827
    207. Monsanto Document MONGLY02155829
    208. Monsanto Document MONGLY02155830
    209. Monsanto Document MONGLY02155831
    210. Monsanto Document MONGLY02159396
    211. Monsanto Document MONGLY02221147
    212. Monsanto Document MONGLY02246760
    213. Monsanto Document MONGLY02285700
    214. Monsanto Document MONGLY02343101
    215. Monsanto Document MONGLY02431080
    216. Monsanto Document MONGLY02590292
    217. Monsanto Document MONGLY02802216
    218. Monsanto Document MONGLY02804480
    219. Monsanto Document MONGLY02817577
    220. Monsanto Document MONGLY02908721
    221. Monsanto Document MONGLY03133015
    222. Monsanto Document MONGLY03498538
    223. Monsanto Document MONGLY03577254
    224. Monsanto Document MONGLY03664157
    225. Monsanto Document MONGLY03735338
    226. Monsanto Document MONGLY03737014
    227. Monsanto Document MONGLY03738295
    228. Monsanto Document MONGLY03909609
    229. Monsanto Document MONGLY04107779
    230. Monsanto Document MONGLY04268319
    231. Monsanto Document MONGLY04272196
    232. Monsanto Document MONGLY04275275
    233. Monsanto Document MONGLY04275303
    234. Monsanto Document MONGLY05508247
    235. Monsanto Document MONGLY05744041
    236. Monsanto Document MONGLY05744080
    237. Monsanto Document MONGLY05744120
                      REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 148 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 147

    238. Monsanto Document MONGLY05795088
    239. Monsanto Document MONGLY06293737
    240. Monsanto Document MONGLY06388557
    241. Monsanto Document MONGLY06390127
    242. Monsanto Document MONGLY06398326
    243. Monsanto Document MONGLY06401072
    244. Monsanto Document MONGLY06403283
    245. Monsanto Document MONGLY06409924
    246. Monsanto Document MONGLY06424476
    247. Monsanto Document MONGLY06509236, “Operator exposure assessment for MON
         2139 UK - Case"
    248. Monsanto Document MONGLY06513290
    249. Monsanto Document MONGLY06653096
    250. Monsanto Document MONGLY06722561
    251. Monsanto Document MONGLY06722565
    252. Monsanto Document MONGLY06731019
    253. Monsanto Document MONGLY06758730
    254. Monsanto Document MONGLY06878230
    255. Monsanto Document MONGLY07080361
    256. Monsanto Document MONGLY07617889
    257. Monsanto Document MONGLY08857831
    258. Monsanto email (Tab 21) from                      on 3/29/2002 to            et al.
    259. Monsanto response to the concern of the Slovenian authorities on the composition of
         the Plant Protection Product MON 79376 (360 g/ 1 glyphosate) and the surfactant
         MON 59117 (CAS n ° 68478- 96-6). MONGLY02817577
    260. Monsanto, 1990 in Diamond, G., Durkin, P., "Effects of surfactants on the toxicity of
         glyphosate with specific reference to RODEO," 1997, Syracuse Research Corporation,
         SERA TR 97-206-1b.
    261. Morton, et al., "Etiologic heterogeneity among non-Hodgkin lymphoma subtypes: the
         Inter-Lymph Non-Hodgkin Lymphoma Subtypes Project," August 2014, J Natl Cancer
         Inst Monogr. (48), pg. 130-44.
    262. Mullin CA, Fine JD, Reynolds RD, Frazier MT, "Toxicological risks of agrochemical
         spray adjuvants: organosilicone surfactants may not be safe," 2016, Front Public
         Health, 4:92.
   263. Mužinić, V. & D. Želježić, “Effect of glyphosate at low concentrations on chromosome
        mis-segregation and aneuploidy induction in human peripheral blood lymphocytes in
                       REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 149 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 148

        vitro,” Poster 06-072, 55th Congress of the European Societies of Toxicology,
        September 8-11, 2019, Helsinki, Finland.
    264. Myers, et al. Concerns over use of glyphosate-based herbicides and risks associated
         with exposures: a consensus statement. Myers et al. Environmental Health (2016) 1
         5:19
    265. Nair AB, Jacob S., “A simple practice guide for dose conversion between animals and
         humans,” 2016, J Basic Clin Pharma, Vol. 7, pp. 27-31.
    266. National Toxicology Program, "Listing criteria," 2016, Report on Carcinogens, Public
         Health, U.S. Department of Health and Human Services, Retrieved from:
         https://ntp.niehs.nih.gov/pubhealth/roc/criteria/index.html
    267. Navarro, Claudia D.C. and Claudia B.R. Martinez, “Effects of the Surfactant
         Polyoxyethylene Amine (POEA) on Genotoxic, Biochemical and Physiological
         Parameters of the Freshwater Teleost Prochilodus Lineatus.” Comparative
         Biochemistry and Physiology Part C: Toxicology & Pharmacology, vol. 165, June
         2014, pp. 83–90., doi:10.1016/j.cbpc.2014.06.003.
   268. NCI, "Maximum Tolerated Dose," n.d., NCI Dictionary of Cancer Terms, National
        Cancer Institute, National Institute of Health. Retrieved July, 6, 2017 from:
        https://www.cancer.gov/publications/dictionaries/cancer-terms?cdrid=546597
   269. Nielsen, J. et al., "Defense against dermal exposures is only skin deep: significantly
        increased penetration through slightly damaged skin," 2007, Arch Dermatol Res, Vol.
        299, pg. 423-431.
   270. Nielsen, J., et al., The Usual Suspects - Influence of Physicochemical Properties on
        Lag Time, Skin Deposition, and Percutaneous Penetration of Nine Model Compounds,
        72 Journal of Toxicology and Environmental Health, Part A 315 (2009).
   271. Niemann, Lars, et al., “A critical review of glyphosate findings in human urine samples
        and comparison with the exposure of operators and consumers,” 2015, Journal für
        Verbraucherschutz und Lebensmittelsicherheit, Vol 10, Issue 1, pp 3-12.
   272. Nobels, I. et al., "Toxicity ranking and toxic mode of action evaluation of commonly
        used agricultural adjuvants on the basis of bacterial gene expression profiles," 2013,
        PLoS ONE 6, pg. 264.
   273. Nobels, I., et al., “Toxicity ranking and toxic mode of action evaluation of commonly
        used agricultural adjuvants on the basis of bacterial gene expression profiles,”
        November 2011, PLos One, Vol. 6(11); e24139. doi:10.1371/journal.pone. 0024139.
   274. NZ Parliament. 2016. Written questions 10151, 10153, 10154. Steffan Browning to the
        Minister for the Environment. New Zealand Parliament Paremata Aotearoa, Wellington.
        https://www.parliament.nz/en/pb/order-paper-questions/ written-
        questions/?criteria.Keyword=glyphosate&criteria.
        Timeframe=&criteria.DateFrom=&criteria.DateTo=&criteria. ParliamentNumber=-
        1&criteria.ParliamentNumber=-1&criteria.
        MemberOfParliament=&criteria.Portfolio=Environment
   275. OECD Guidance notes on dermal absorption, Draft, October 22, 2010.
                       REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 150 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 149

   276. OECD in Bus, J., "The dose makes the poison: Key implications for mode of action
        (mechanistic) research in a 21st century toxicology paradigm," 2017, Current Opinion
        in Toxicology, 10.1016/j.cotox.2017.06.013.
   277. OECD, "Guidance document for the conduct of skin absorption studies," 2004a, Paris.
        28, pg.1-31.
   278. OECD/OCDE 427, "Guidelines for the testing of chemicals. Skin absorption in vivo
        Method," Adopted: 13 April 2004.
   279. OEHHA - Glyphosate General Fact Sheet - https://www.p65warnings.ca.gov/fact-
        sheets/glyphosate
   280. Operator Exposure Guidance for Amateur (Home Garden) Pesticides, available at
        http://www.hse.gov.uk/pesticides/topics/pesticide-approvals/pesticides-
        registration/data-requirements-handbook/operator-exposure.htm
   281. Oregon OSHA Technical Manual (circa 1996) unless otherwise stated within the
        ''Chapter Revision Information,” located at the beginning of each chapter.
   282. Pahwa, M. et al. “Glyphosate use and associations with non-Hodgkin lymphoma major
        histological sub-types: findings from the North American Pooled Project,” Scand J
        Work Environ Health, 2019 Jun 27. pii: 3830. doi:10.5271/sjweh.3830
   283. Pavkov, K., Wyand, "Two year chronic toxicity and oncogenicity dietary study with SC-
        0224 in mice," 1987, Stauffer Chemical Company.
   284. Paz-y-Miño, C., et al., "Evaluation of DNA damage in an Ecuadorian population
        exposed to glyphosate," 2007, Genetics and Molecular Biology, 30(2).
   285. Peixoto, Francisco. “Comparative Effects of the Roundup and Glyphosate on
        Mitochondrial Oxidative Phosphorylation.” Chemosphere, Vol. 61, no. 8, 2005, pp.
        1115–1122., doi:10.1016/j.chemosphere.2005.03.044.
   286. Peluso, M., et al, "32P-postlabeling detection of DNA adducts in mice treated with
        herbicide roundup," 1998, Environmental and Molecular Mutagenesis. Vol. 31(1), pp.
        55 -59. DOI: 10.1002/(SICI)1098-2280(1998)31:1<55::AID-EM8>3.0.CO;2-A
   287. Pesticide Action Network (PAN). http://pan-international.org/wp-
        content/uploads/Glyphosate-monograph.pdf
   288. Pesticide Safety Education Program, "Agricultural Spray Adjuvants,"
        http://psep.cce.cornell.edu/facts-slides-self/facts/gen-peapp-adjuvants.aspx
   289. Prasad, S., et al., “Clastogenic effects of glyphosate in bone marrow cells of Swiss albino
        mice,” 2009, Hindawi Publishing Corporation’s Journal of Toxicology, Article ID 308985.
   290. Product formulation data provided by Monsanto in response to Interrogatory demand;
        only selected years were received; no product formulation data was provided for EPA
        registration years 1993, 1994, 1997, 1999, 2001, 2003-2008 or 2010-to present. In re:
        Roundup Products Liability Litigation, Case No. 16-MD-02741: Defendant Monsanto
        Company’s November 9, 2018 Response to Plaintiffs’ Request for Formulation
        Information for Group One Plaintiffs (Updated November 13, 2018)
   291. R. Belle, J. Marc, J. Morales, P. Cormier & 0. Mulner-Lorillon (2012): Letter to the
        Editor: Toxicity of Roundup and Glyphosate, Journal of Toxicology and Environmental
        Health, Part B: Critical Reviews, 15:4, 233-237
                        REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 151 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 150

   292. Report of Dr. Phalen
   293. Request for the evaluation of the toxicological assessment of the co-formulant POE-
        tallowamine," European Food Safety Administration, October, 2015.
   294. Richard, S. et al., "Differential effects of glyphosate and Roundup on human placental
        cells and aromatase," 2005, Environ Health Perspect, 113(6), pg. 716-20.
   295. Risk Assessment Methodology for Hazardous Substances, New Zealand UK POEM
        Model 2018-Draft for consultation
   296. Roberts, MS et al, “Factors affecting the formation of a skin reservoir for topically
        applied solutes,” 2004, Skin Pharmacol Physiol, Vol. 17, pp. 3-16.
   297. Roundup® Manufacturer Safety Data Sheet (MSDS)
   298. Rozman, KK and Klaassen CD., "Absorption, distribution and excretion of toxicants," in
        Cassarett & Doull's Toxicology, The Basic Science of Poisons. 5th edition. 1996.
        McGraw-Hill.
   299. Safety Data Sheet: Bayer Advanced Home Pest Control Indoor & Outdoor Insect Killer,
        Bayer Environmental Science, 2015.
   300. Safety Data Sheet: Bio-advanced 24-Hour Grub Killer Plus. SBM Life Science Corp,
        2017.
   301. Safety Data Sheet: Roundup PRO Concentrate Herbicide, Monsanto Company, 2015.
   302. Safety Data Sheet: Roundup Ready-to-Use Extended Control Weed & Grass Killer
        Plus Weed Preventer II. Monsanto Company, 2015.
   303. Safety Data Sheet: Roundup Ready-to-Use Extended Control Weed & Grass Killer
        Plus Weed Preventer II. Monsanto Company, 2015. https://images.homedepot-
        static.com/catalog/pdfImages/d4/d4a9d465-5ffe-4833-89ff-c14740061f36.pdf
   304. Safety Data Sheet: Roundup Ready-to-Use Weed & Grass Killer III. Monsanto
        Company, 2015. https://images.homedepot-
        static.com/catalog/pdfImages/57/57329e78-932a-405e-9fde-526f73dec714.pdf
   305. Safety Data Sheet: Sevin Brand 85 S Carbaryl Insecticide. Bayer Environmental
        Science, 2017.
   306. Samsel, A. and Seneff, S., "Glyphosate's suppression of cytochrome P450 enzymes
        and amino acid biosynthesis by the gut microbiome: Pathways to modern diseases,"
        2013, Entropy (15), pg. 1416-1463.
   307. Sandrini, J., et al., “Effects of glyphosate on cholinesterase activity of the mussel Perna
        perna and the fish Danio rerio and Jenynsia multidentata: In vitro studies,” 2013,
        Aquatic Toxicology, pp. 171-173.
   308. Sartorelli, et al, 1997.
   309. Sawada, Y., Nagai, Y., Ueyama, M., and Yamarnoto, I., "Probable toxicity of surface
        active agent in commercial herbicide containing glyphosate," 1988, Lancet 1 (8580),
        pp. 29.
                       REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 152 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 151

   310. Schönbrunn, E. et al., "Interaction of the herbicide glyphosate with its target enzyme 5-
        enolpyruvylshikimate 3-phosphate synthase in atomic detail," 2001, Proc Natl Acad Sci
        USA Feb 13; 98(4), pp. 1376-1380.
   311. Schönbrunn, E. et al., “Interaction of the herbicide glyphosate with its target enzyme 5-
        enolpyruvylshikimate 3-phosphate synthase in atomic detail,” 2001, Proc Natl Acad Sci
        USA Feb 13; 98(4), pp. 1376–1380.
   312. Simcox, N.J., et al., "Farmworker exposure to organophosphorus pesticide residues
        during apple thinning in central Washington State," 1999, Am Ind Hyg Assoc J 60, pp.
        752-761.
   313. Smith, Eric and Maibach, Howard, eds., “Percutaneous Penetration Enhancers,” Boca
        Raton, FL: CRC Press, 2015.
   314. Solomon, K., "Glyphosate in the general population and in applicators: a critical review
        of studies on exposures," 2016, Critical Reviews in Toxicology, 46(1), pg. 21-27.
   315. Soosten, “Excretion pathways and ruminal disappearance of glyphosate and its
        degradation product aminomethylphosphonic acid in dairy cows,” J. Dairy Sco.
        99:5318-5324
   316. Sritana, N., Suriyo, T., Kanitwithayanun, J., Somgvasin, B.H., Thiantanawat, A.,
        Satayavivad, J., “Glyphosate induces growth of estrogen receptor alpha positive
        cholangiocarcinoma cells via non-genomic estrogen receptor/ERK1/2 signaling
        pathway,” Food and Chemical Toxicology (2018), doi: 10.1016/j.fct.2018.06.014.
   317. Stagnaro, E., et al., “NHL and type of tobacco smoke,” 2004, Cancer Epidemiology,
        Biomarkers & Prevention, Vol. 13(3), pp. 431-437.
   318. Stout, L., Ruecker, P., "Chronic study of glyphosate administered in feed to albino
        rats," 1990.
   319. Stur, E., et al., “Glyphosate-based herbicides at low doses affect canonical pathways in
        estrogen positive and negative breast cancer cell lines,” 2019, PLoS One, Vol. 14(7):
        e0219610. Published online 2019 Jul 11. doi: 10.1371/journal.pone.0219610
   320. Suarez-Larios, K., et al., "Screening of pesticides with the potential of inducing DSB
        and successive recombinational repair," 2017, Journal of Toxicology. Volume 2017.
   321. Sugimoto, K., "Eighteen month oral oncogenicity study in mice," 1997, The Institute of
        Environmental Toxicology, Tokyo, Japan in "Tier II summaries for glyphosate
        carcinogenicity studies from Greim, et al., 2015," as Arysta Life Sciences, 1997a.
   322. Summary and written calculations (PDF) regarding Prasad, S., et al., “Clastogenic
        effects of glyphosate in bone marrow cells of Swiss albino mice,” 2009.
   323. Surfactant Toxicology,                   Toxicology, Europe/Africa
   324. Sweden’s Working Hours Act (1982:673) Sweden Working Hours Act
        link: https://www.government.se/49d4f9/contentassets/1b29fd35b2544f13875137beab
        80911a/1982673-working-hours-act.pdf
   325. Taborelli, et al., “The dose-response relationship between tobacco smoking and the
        risk of lymphoma: a case-control study”, 2017, BMC Cancer, Vol. 17, pgs. 421-430.
                        REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 153 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 152

   326. Tarazona, et al., "Glyphosate toxicity and carcinogenicity: a review of the scientific
        basis of the European Union assessment and its differences with IARC," National
        Institutes of Health, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5515989/
   327. Thongprakaisang, S., et al., "Glyphosate induces human breast cancer cells growth via
        estrogen receptors," 2013, Food and Chemical Toxicology, doi:
        http://dx.doi.org/10.1016/j.fct.2013.05.057
   328. Tier II summaries for glyphosate carcinogenicity studies from Greim, et al., 2015
        paper," Unpublished data.
   329. TNO Study (MON 0319)
   330. TNO Study: van Burgsteden, “In vitro percutaneous absorption study [14C]-glyphosate
        using viable rat skin membranes” (MON 35012)
   331. Trainor, Risk assessment for acute toxicity from sheep ectoparasite treatments,
        including organophosphates (OPs) used in plunge dipping, 2002 available at
        http://www.hse.gov.uk/research/hsl_pdf/2002/hsl02-26.pdf
   332. Treffel, P. & Gabrad, B., "Skin penetration and sun protection factor of ultraviolet filters
        from two vehicle," 1996, Pharmaceut Res, Vol. 13, pg. 770-774.
   333. Tupker, R. et al., "Susceptibility to irritants: role of barrier function, skin dryness and
        history of atopic dermatitis," 1990, BJD. Volume 123, Issue 2, pg. 199-205.
   334. U.K. Health and Safety Executive, HSE, "Operator Exposure,"2016, Data requirements
        handbook, Retrieved from: http://www.hse.gov.uk/pesticides/topics/pesticide-
        approvals/pesticides-registration/data-requirements-handbook/operator-exposure.htm
   335. U.S. EPA, "Dermal exposure assessment: A summary of EPA approaches,"
        September 2007. United States Environmental Protection Agency, National Center for
        Environmental Assessment Office of Research and Development, EPA/600/R-07/040F
   336. U.S. EPA, "Exposures Factors Handbook: Chapter 8 - Body Weight Studies," 2011,
        U.S. Environmental Protection Agency.
   337. U.S. EPA, "Guidelines for Carcinogen Risk Assessment," 2005, EPA/630/P-03/001F,
        Risk Assessment Forum, US Environmental Protection Agency, Washington, DC.
   338. U.S. EPA, "Recommended use of body weight 3/4 as the default method in derivation
        of the oral reference dose," 2011, (EPA/100/R11/0001), Office of the Science Advisor,
        Risk Assessment Forum, US Environmental Protection Agency, Washington, DC.
   339. U.S. EPA, "Registration eligibility decision-facts: Glyphosate," 1993 United States
        Environmental Protection Agency, Prevention, Pesticides and Toxic Substances
        (7508W), EPA-738-F-93-011.
   340. U.S. EPA, "Risk Assessment Methodology for Hazardous Substances: How to assess
        the risk, cost and benefit of new hazardous substances for use in New Zealand," 2018,
        Environmental Protection Authority.
   341. U.S. EPA, Office of Pesticide Programs, "Glyphosate issue paper: Evaluation of
        carcinogenic potential," 2016, United States Environmental Protection Agency.
   342. U.S. EPA, OPP Memorandum June 2, 2010. "Review of Triple Pack dermal absorption
        studies for Maxim Quattro."
                       REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 154 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 153

   343. U.S. EPA, OPPTS 870.7600, "Health effects test guidelines dermal penetration,"
        August 1998, pg. 4.
   344. UK POEM calculations in preparation of meeting Spanish competent authorities."
        MONGLY01275627
   345. US Environmental Protection Agency, “Quick Acting Weed Killer Concentrate
        Registration.” 2017.
   346. US EPA Application for Pesticide: MON 65005 Herbicide. Monsanto Company, 1995.
        https://assets.greenbook.net/M65304.pdf
   347. USFDA, “Guidance for Industry: Estimating the Maximum Safe Starting Dose in Adult
        Healthy Volunteers,” 2005, Rockville, MD: US Food and Drug Administration.
   348. Van Hemmen, 1992 in Machado-Neto, et al., “Safety of Working Conditions of
        Glyphosate Applicators on Eucalyptus Forests Using Knapsack and Tractor Powered
        Sprayers,” 2000, Bull. Environ. Contam. Toxicol. , Vol. 64, pp. 309-315.
   349. Van Ravenzwaay, B. and Leibold, E., "A comparison between in vitro rat and human
        and in vivo rat skin absorption studies," 2004, Toxicol In Vitro., Vol. 18(2), pg. 219-25.
   350. Van Smeden, J. and Bouwstra, J.A., "Stratum corneum lipids: Their role for the skin
        barrier function in healthy subjects and atopic dermatitis patients," 2016, Curr Prob.
        Dermatol 49, pg. 8-26.
   351. Vazquez, M, et al., “Association between Cancer and Environmental Exposure to
        Glyphosate,” 2017, International Journal of Clinical Medicine, Vol. 8, pp. 73-85.
   352. Vigfusson, N., Vyse, E., “The effect of the pesticides, Dexon, Captan and Roundup on
        sister-chromatid exchanges in human lymphocytes in vitro,” 1980, Mutat Res, 79, pp.
        53–57.
   353. Walsh, L., et al., “Roundup Inhibits Steroidogenesis by Disrupting Steroidogenic Acute
        Regulatory (StAR) Protein Expression,” 2000, Environmental Health Perspectives, Vol.
        108(8), pp. 769-776.
   354. Wang, L., et al., “Glyphosate induces benign monoclonal gammopathy and promotes
        multiple myeloma progression in mice,” 2019, Journal of Hematology & Oncology, Vol.
        12, pp.70.
   355. Watts MA, "The poisoning of New Zealand,"1994, AIT Press, Auckland. From Pesticide
        Action Network (PAN). http://pan-international.org/wp-content/uploads/Glyphosate-
        monograph.pdf
   356. Wester, R. et al., "Glyphosate skin binding, absorption, residual tissue distribution and
        skin decontamination, 1991, Fundamental and Applied Toxicology 16, pg. 725-732.
   357. Wester, R., et al., “Human Cadaver Skin Viability for In Vitro Percutaneous Absorption:
        Storage and Detrimental Effects of Heat-Separation and Freezing heating loses
        viability,” Pharmaceutical Research, Vol. 15, No. 1, 1998.
   358. Wester, R., et al., “In Vitro Percutaneous Absorption of Model Compounds Glyphosate
        and Malathion from Cotton Fabric into and through Human Skin,” 34 Food and
        Chemical Toxicology 731 (1996)
   359. WHO, “Field Surveys of Exposure to Pesticides,” 1975, Pesticide Development and
        Safe Use Unit, Division of Vector Biology and Control, WHO Headquarters, Geneva.
                       REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
    Case 3:16-md-02741-VC Document 8573-5 Filed 12/27/19 Page 155 of 155

Alvarez et. al., vs. Monsanto
December 12, 2019
Page 154

   360. Williams, A.., "Transdermal and dermal drug delivery: From theory to clinical practice,"
        2003, London, Pharmaceutical Press.
   361. Williams, et al. (2012): “Developmental and Reproductive Outcomes in Humans and
        Animals After Glyphosate Exposure: A Critical Analysis,” Journal of Toxicology and
        Environmental Health, Part B: Critical Reviews, 15:1, 39-96.
   362. Williams, G. et al., “Safety evaluation and risk assessment of the herbicide Roundup
        and its active ingredient, glyphosate, for humans," 2000, Regulatory Toxicology and
        Pharmacology, Vol.31, pg. 117-165.
   363. Wood, E., Dunster, J., Watson, P., and Brooks, P., (2009a) "Glyphosate technical:
        Dietary combined chronic toxicity/Carcinogenicity study in the rat," 2009a, Harlan
        Laboratories Limited, Page 156 of 227 Shardlow Business Park, Shardlow, Derbyshire
        DE72 2GD, UK. Study No. 2060-012. April, 23, 2009. MRID 49957404. From
        "Glyphosate issue paper: Evaluation of carcinogenic potential," U.S. EPA’s Office of
        Pesticide Programs, September 12, 2016.
   364. Wood, E., Dunster, J., Watson, P., and Brooks, P., (2009b) "Glyphosate technical:
        Dietary carcinogenicity study in the mouse," 2009b, Harlan Laboratories Limited,
        Shardlow Business Park, Shardlow, Derbyshire DE72 2GD, UK. Study No. 2060-011.
        April, 22, 2009. MRID 49957402. From "Glyphosate issue paper: Evaluation of
        carcinogenic potential," U.S. EPA’s Office of Pesticide Programs September 12, 2016.
   365. Wozniak, E., et al., "The mechanism of DNA damage induced by Roundup 360 PLUS,
        glyphosate and AMPA in human peripheral blood mononuclear cells - genotoxic risk
        assessment," 2018, Food and Chemical Toxicology, doi: 10.1016/j.fct.2018.07.035
   366. Wumbei, A., et al., “Pesticides use and exposure among yam farmers in the Nanumba
        traditional area of Ghana,” 2019, Environmental Monitoring Assessment, 191:307, DOI:
        10.1007/s10661-019-7449-5
   367. Zendzian, R.P., "Dermal absorption of pesticides in the rat," 2000, AIHAJ, Vol. 61(4),
        pg. 473-83.
   368. Zhang, et al., “Exposure to Glyphosate-Based Herbicides and Risk for Non-Hodgkin
        Lymphoma: A Meta- Analysis and Supporting Evidence,” Mutation Research-Reviews
        in Mutation Research (2019), https://doi.org/10.1016/j.mrrev.2019.02.001
New Materials Relied on Specific to Alvarez
   369. Alvarez Second Amended PFS, Jamie Alvarez deposition, Clayton Smith,, MD,
        deposition, aerial photos of properties, expert report of Charalambos Andreadis, MD.,
        and expert report of Clayton Smith, MD.
   370. Roundup Pro Concentrate product label, 2006.
